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                     EXHIBIT 1
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                                                 Office of Judicial Records
                                                     01 APR 2020 01:04 pm
                                                         A. SILIGRINI




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                     EXHIBIT 2
Case 2:22-cv-02389-JHS Document 1-1 Filed 06/17/22 Page 13 of 415




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                                                     04 JUN 2020 07:35 pm
                                                           M. RUSSO




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                                                               Case ID: 200302766
   Case 2:22-cv-02389-JHS Document 1-1 Filed 06/17/22 Page 27 of 415




                                                           Filed and Attested by the
                                                          Office of Judicial Records
                        CERTIFICATE OF SERVICE                04 JUN 2020 07:35 pm
                                                                    M. RUSSO
       I certify that on June 4, 2020, I caused a true and correct copy of the
foregoing First Amended Complaint to be served upon Defendant’s counsel of
record, Leslie M. Greenspan, Esquire, by first class mail, postage prepaid, at
the following address:


      Leslie M. Greenspan, Esquire
      TUCKER LAW GROUP
      Ten Penn Center
      1801 Market Street, Suite 2500
      Philadelphia PA 19103

      and:

      By e-mail attachment sent to lgreenspan@tlgattorneys.com


                                                   /s/E. Daniel Larkin
                                                   E. Daniel Larkin
                                                   742 S. Latches Lane
                                                   Merion PA 19066
                                                   610.660.5201




                                                                         Case ID: 200302766
Case 2:22-cv-02389-JHS Document 1-1 Filed 06/17/22 Page 28 of 415




                     EXHIBIT 3
      Case 2:22-cv-02389-JHS Document 1-1 Filed 06/17/22 Page 29 of 415




                                                           Filed and Attested by the
              In the Court of Common Pleas of Philadelphia County
                                                          Office of Judicial Records
                        Commonwealth of Pennsylvania          07 AUG 2020 12:43 am
                                                                      M. RUSSO
April Ploeger
505 S. 42nd St., Apt. 1F
Philadelphia, PA 19104
             Plaintiff,
                  v.                                      March Term 2020
                                                          Case No.: 2766
Trustees of the University of Pennsylvania,
d.b.a. The University of Pennsylvania,
a Pennsylvania nonprofit corporation
University of Pennsylvania
Philadelphia PA 19104.
             Defendant
                              NOTICE TO DEFEND

You have been sued in court. If you wish to defend against the claims set forth in
the following pages, you must take action within twenty (20) days after this
Complaint and notice are served, by entering a written appearance personally or by
attorney and filing in writing with the court your defenses or objections to the
claims set forth against you. You are warned that if you fail to do so the case may
proceed without you and a judgment may be entered against you by the court
without further notice for any money claimed in the Complaint or for any other
claim or relief requested by the plaintiff. You may lose money or property or other
rights important to you.

YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU
DO NOT HAVE A LAWYER, GO TO OR TELEPHONE THE OFFICE SET
FORTH BELOW. THIS OFFICE CAN PROVIDE YOU WITH INFORMATION
ABOUT HIRING A LAWYER.




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IF YOU CANNOT AFFORD TO HIRE A LAWYER, THIS OFFICE MAY BE
ABLE TO PROVIDE YOU WITH INFORMATION ABOUT AGENCIES THAT
MAY OFFER LEGAL SERVICES TO ELIGIBLE PERSONS AT A REDUCED
FEE OR NO FEE.
                    Philadelphia Bar Association
               Lawyer Referral and Information Service
                        One Reading Center
                       Philadelphia PA 19107
                     Telephone: (215) 238-1701

                                      AVISO


       Le han demando a usted en la corte. Si usted quiere defenderse de estas
demandas expuestas e las paginas siguentes, usted tiene veinte dias de plazo al partir
de la fecha de la demanda y la notificacion. Hace falta ascentar una comparencia
escrita o en persona o con un abogado y entregar a la corte en forma escrita sus
defensas o sus objeciones a las demandas en contra de su persona. Sea avisado que
si usted no de defiende, la corte tomara medidas y puede continuar la demanda en
contra suya sin previo aviso o notificacion. Ademas, la corte puede decidir a favor
del demandante y requiere que usted cumpla con todas las provisiones de esta
demanda. Usted puede perder dinero o sus propiedades u otros derechos importantes
para usted.

     LLEVE ESTA DEMANDA A UN ABOGADO IMMEDIATAMENTE,
SI NO TIENE ABOGADO O SI NO TIENE EL DINERO SUFICIENTE DE
PAGAR TAL SERVICIO, VAYA EN PERSONA O LLAME POR
TELEFONO A LA OFICINA CUYA DIRECCION DE ENCUENTRA
ESCRITA ABAJO PARA AVERIGUAR DONDE SE PUEDE CONSEGUIR
ASISTENCIA LEGAL.

                    Asociacion De Licenciados De Filadelfia
                  Servicio De Referencia E Informacion Legal
                              One Reading Center
                         Filadelfia, Pennsylvania 19107
                            Telefono: (215) 238-1701




                                                                              Case ID: 200302766
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                       SECOND AMENDED COMPLAINT

                                        Parties

1. Plaintiff herein is April Ploeger (“Ploeger”), an adult individual currently residing

at 505 S. 42nd St., Apt. 1F, Philadelphia, PA 19104.

2. Defendants herein are the Trustees of the University of Pennsylvania, d.b.a. The

University of Pennsylvania (hereafter, “the University”), a Pennsylvania nonprofit

corporation with an address at University of Pennsylvania, Philadelphia PA 19104.

                                Causes of Action Pled

3. This is an action for damages brought under the common law of contract

controlling in Pennsylvania or, in the alternative, under the doctrine of equitable

estoppel.

                    Allegations upon which the Complaint rests

4.

      a. Ploeger has suffered financial harm, caused by the University’s material

breaches of its contractual obligations to Ploeger, both through actions and failures

to act, including those set forth in this Amended Complaint.

      b. She has paid money to, and incurred debt owed to, the University in reliance

upon and in payment for the University’s promise of services to her.



                                           1.



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5.

      a. When Ploeger began here search for a college or university to attend she

did so in the context of a superior academic record and precarious health.

      b. Her health concerns included several autoimmune disorders and severe

depression and anxiety

      c. It was, therefore, both realistic to consider highly selective universities and

essential that she choose a school that provided outstanding, compassionate, student

health care.

6.

      a. Ploeger learned that the University’s Counseling and Psychological

Services (“CAPS”) provided free counseling to students.

      b. She also learned that the University’s Student Health Service (“SHS”)

provided physical healthcare to the University’s students; unlike CAPS, there is a

fee for SHS, paid by obligatory insurance coverage, but the University offered

Ploeger a grant to pay for the insurance premiums.

7. She learned of these benefits by:

      a. reading the University’s own proclamations on its website; and




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      b. by a reaffirmation given to her in a phone conversation with University

officials serving in what Ploeger recalls was referred to as the “College office;” and

      c. by being told, by the University’s “College office,” that the University’s

health services were not only free, they were very good.

8 The University’s provision of these healthcare services, and its official’s

reaffirming them, was:

      a. “one of the top reasons” Ploeger chose to enroll in the University; and

      b. the reason she chose the University rather than Dartmouth.

9. Thus convinced, and motivated by the benefit of the health services promised her

should she reroll at the University, Ploeger applied for admission to the University

as a full-time, undergraduate student for Fall Semester, 2006.

10. Her application was accepted, and she entered her freshman year.

11. Her ill-health, however, compelled her to request, and the University granted, a

leave of absence for what would have been her first two semesters at the University

(i.e., Fall 2006; Spring 2007).

12. She returned to the University for the Fall 2007 semester, expecting then to begin

her undergraduate work.




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13. Upon her return Ploeger quickly realized that she would be unable to pursue her

studies    without   the University’s   granting   her   reasonable modifications

(“Modifications”) in policies, practices, or procedures governing, inter alia, the

places in which, and the amount of time during which, academic work could be

completed at the University.

14. Not knowing the process governing requests for Modifications at the University.

Ploeger sought and was granted a second leave of absence, to run through the Fall

2007 and Spring 2008 semesters, during which time she undertook to learn, and did

learn, the process governing requests for Modifications at the University.

15. Upon resumption of her studies at the University in Fall Semester 2008, she

sought and was granted Modifications from the University’s policies to enable her

to proceed with her studies.

16. The Modifications granted for Fall Semester 2008 permitted Ploeger to complete

that semester.

17.

      a. Beneficial as the Modifications were, Ploeger’s health nonetheless did not

permit her to continue in Spring 2009, but compelled her to request a leave of

absence.



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      b. The University granted that request.

18. Each semester through and including Spring 2015, Ploeger requested

Modifications, and they were granted to her upon request through the actions of Dr.

William Alexander (“Alexander”), at times relevant to this action Director of the

University’s CAPS.

19. Despite the benefit provided by the Modifications, and despite the University’s

proclaimed devotion to caring for the mental and physical health of its students,

Ploeger’s mental and physical health in fact continued to deteriorate because of

improper treatment and actual cruelty at the hands of CAPS.

20.

      a. In 2008 Ploeger showed Dr. Alexander where she had cut herself along her

left arm and one of her wrists in an attempt to self-harm and attempt suicide.

      b. Dr. Alexander told Ploeger to go home and “put a band aid on it.”

21. In 2015 Dr. Alexander threatened Ploeger after she made it known that after she

had tried to overdose and told Dr. Alexander what she had done, in hopes of being

admitted to the University’s mental health center, Dr. Alexander instead gave her

more of the same pills on which she had overdosed the night before.




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22.

      a. In 2008 Ploeger sought out a radiologist at the University, Dr. Deborah

Niles, complaining of intense pain in her back.

      b. Dr. Niles took x-rays of Ploeger’s back.

      c. Instead of telling Ploeger -- as Ploeger was told by another doctor years

later -- that the x-ray showed several compression fractures, Dr. Niles permitted

Ploeger to believe that her pain was just a generalized problem.

23.

      a. In 2007 Ploeger went to a counselor at CAPS and told the counselor that

she, Ploeger, was suicidal.

      b. The counselor in reply told Ploeger to “do what you have to do, I don’t have

time for this.”

24. Rather than providing the superior health care of which the University boasted,

Dr. Alexander’s social behavior toward Ploeger materially harmed her already

fragile mental health.

25. When Ploeger sought refuge from the distress of these actions by speaking of

them in 2015 to Dr. Max King, Vice Provost for University Life and University

President Dr. Amy Guttman, she was rebuffed and told by phone that she would be

arrested if she addressed these issues with President Guttman again or attempted to

                                         6.



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say anything to anyone about Dr. Alexander’s behavior.

26. Also in 2015, when Ploeger was meeting in the office of the Vice Provost for

University Life the University police gained access to Ploeger’s apartment and left

it ransacked.

27.

      a. In 2016, on her attempt to resume studies at the University, Ploeger brought

notes from three medical professionals, including a psychologist and a psychiatrist,

all speaking of Ploeger’s need for Modifications.

      b. Rather than granting Ploeger the Modifications she sought upon her request

and the support of medical professionals, as had been done in the past, she was told

that she would have to meet with counsellors at CAPS.

      c. She asked leave to bring an advocate with her, and was refused.

28.

      a. Unable to gain the accommodations she sought, and had always in the past

been granted, Ploeger was not able to complete her midterms.

      b. That in turn forced her to drop the semester.

      c. That in turn destroyed her mental health and left her destitute and homeless.




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29. Ploeger will testify that had she known the truth, rather than simply the claims

presented, of CAPS she would, without question, have chosen to attend a different

university.

30.
      a. Ploeger’s education at the University has been and continues to be
disrupted.
      b. That disruption alone would and does create an increasingly grave burden

      upon Ploeger.

31. She is in increasingly grave financial distress.

32. Her health, already needful of care before these actions and inactions by the

University, has suffered and continues to suffer increasingly from the latter.

33.

      a. She feels, for the reasons and under the circumstances alleged above, worse

than abandoned by the University.

      b. She feels utterly rebuffed by and denied the special services within the

University that the University presents to the public and presented to Ploeger as

supported by the premier health facilities at the University and specifically at the

service of the University’s students.




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                                   CONCLUSION

34.

      a. In short, material terms of the contractual provisions (the “Contractual

Provisions”) offered to Ploeger by the University, provisions of the utmost necessity

to Ploeger and ones that she accepted by her enrollment at the University, have been

breached and remain in breach.

      b. The terms alleged by Ploeger to have been breached are set forth by the

University on its website and are cited to with specificity at Exhibit “A” to the First

Amended Complaint and are incorporated herein as if set forth in full.

35. That breach, in all its manifestations, is the material cause of the distress –

financial, physical, educational – in which she has for long been placed by the

University and in which she now remains.

36. The allegations set forth in Paragraphs 1 through 35 above are incorporated in

this Paragraph 36 as if set forth herein in full.

37.

      a. The allegations set forth in Paragraph 36 state a claim for breach of contract

or in the alternative for equitable relief under the doctrine of estoppel.

      b. That breach, and the damage it has caused and is causing, continues through

the present.

                                            9



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                              DEMAND FOR RELIEF

38. WHEREFORE, for the reasons and under the circumstances set forth above,

Ploeger with respect for the Court and in reliance upon the law and facts demands

of the Court a trial on the merits of this matter and will at the end of such trail seek

an order in favor of Plaintiff and against Defendant; money damages in an amount

in excess of the jurisdictional amount and in such specific amount as the Court finds

just under applicable law applied to the evidence of record; and such further relief

as the Court may determine to be just.

                                               /s/ E. Daniel Larkin
                                               E. Daniel Larkin,
                                               Counsel for Plaintiff
                                               PA Atty. ID 32395
                                               742 S. Latches Lane
                                               Merion Station PA 19066
                                               610.660.5201 (ph.)
                                               610.660.5940 (fax)
                                               dan@danlarkinlaw.com

Tendered August 7, 2020, at c. 12:15 a.m.




                                          10



                                                                                Case ID: 200302766
      Case 2:22-cv-02389-JHS Document 1-1 Filed 06/17/22 Page 41 of 415




                        CERTIFICATE OF COMPLIANCE

I certify that this filing complies with the provisions of the Public Access Policy of

the Unified Judicial System of Pennsylvania, Case Records of the Appellate and

Trial Courts that require filing confidential information and documents differently

than non-confidential information and documents.

                                       /s/E. Daniel Larkin
                                       E. Daniel Larkin
                                       742 S. Latches Lane
                                       Merion PA 19066
                                       610.660.5201




                                                                              Case ID: 200302766
       Case 2:22-cv-02389-JHS Document 1-1 Filed 06/17/22 Page 42 of 415




                           CERTIFICATE OF SERVICE

I certify that on August 7, 2020, at c. 12:15 a.m., I caused a true and correct copy of

the foregoing Second Amended Complaint to be served upon Defendant’s counsel

of record, Leslie M. Greenspan, Esquire, by first class mail, postage prepaid, at the

following address:

                            Leslie M. Greenspan, Esquire
                              TUCKER LAW GROUP
                                   Ten Penn Center
                           1801 Market Street, Suite 2500
                               Philadelphia PA 19103
and:

By e-mail attachment sent to lgreenspan@tlgattorneys.com

                                        /s/E. Daniel Larkin
                                        E. Daniel Larkin




                                                                               Case ID: 200302766
Case 2:22-cv-02389-JHS Document 1-1 Filed 06/17/22 Page 43 of 415




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                                                 Office of Judicial Records
                                                     07 AUG 2020 12:43 am
                                                           M. RUSSO




                                                               Case ID: 200302766
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                     EXHIBIT 4
      Case 2:22-cv-02389-JHS Document 1-1 Filed 06/17/22 Page 45 of 415




                                                           Filed and Attested by the
              In the Court of Common Pleas of Philadelphia County
                                                          Office of Judicial Records
                        Commonwealth of Pennsylvania          15 SEP 2020 11:47 pm
                                                                    A. SILIGRINI
April Ploeger
505 S. 42nd St., Apt. 1F
Philadelphia, PA 19104
             Plaintiff,
                  v.                                      March Term 2020
                                                          Case No.: 2766
Trustees of the University of Pennsylvania,
d.b.a. The University of Pennsylvania,
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University of Pennsylvania
Philadelphia PA 19104.
             Defendant
                              NOTICE TO DEFEND

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Complaint and notice are served, by entering a written appearance personally or by
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YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU
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                                                                           Case ID: 200302766
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IF YOU CANNOT AFFORD TO HIRE A LAWYER, THIS OFFICE MAY BE
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FEE OR NO FEE.
                    Philadelphia Bar Association
               Lawyer Referral and Information Service
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                     Telephone: (215) 238-1701

                                      AVISO

       Le han demando a usted en la corte. Si usted quiere defenderse de estas
demandas expuestas e las paginas siguentes, usted tiene veinte dias de plazo al partir
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escrita o en persona o con un abogado y entregar a la corte en forma escrita sus
defensas o sus objeciones a las demandas en contra de su persona. Sea avisado que
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contra suya sin previo aviso o notificacion. Ademas, la corte puede decidir a favor
del demandante y requiere que usted cumpla con todas las provisiones de esta
demanda. Usted puede perder dinero o sus propiedades u otros derechos importantes
para usted.
     LLEVE ESTA DEMANDA A UN ABOGADO IMMEDIATAMENTE,
SI NO TIENE ABOGADO O SI NO TIENE EL DINERO SUFICIENTE DE
PAGAR TAL SERVICIO, VAYA EN PERSONA O LLAME POR
TELEFONO A LA OFICINA CUYA DIRECCION DE ENCUENTRA
ESCRITA ABAJO PARA AVERIGUAR DONDE SE PUEDE CONSEGUIR
ASISTENCIA LEGAL.
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                  Servicio De Referencia E Informacion Legal
                              One Reading Center
                         Filadelfia, Pennsylvania 19107
                            Telefono: (215) 238-1701




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                         THIRD AMENDED COMPLAINT

                                        Parties

1. Plaintiff herein is April Ploeger (“Ploeger”), an adult individual currently residing

at 505 S. 42nd St., Apt. 1F, Philadelphia, PA 19104.

2. Defendants herein are the Trustees of the University of Pennsylvania, d.b.a. The

University of Pennsylvania (hereafter, “the University” or “Penn”), a Pennsylvania

nonprofit corporation with an address at University of Pennsylvania, Philadelphia

PA 19104.

                                Causes of Action Pled

3. This is an action in two counts for damages brought under the common law of

contract controlling in Pennsylvania (Count 1.) or, in the alternative, under the

doctrine of equitable estoppel (Count 2.)

                Factual Allegations upon which the Complaint Rests

Count 1.

4.

      a. Ploeger began her search for a college or university to attend in the context

of a superior academic record and precarious health.




                                            1.



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      b. Her health concerns included several autoimmune disorders and severe

depression and anxiety.

      c. It was, therefore, both realistic for her to consider highly selective

universities and essential that she choose a school that both offered and provided

outstanding, compassionate, student health care.

5.

      a. Ploeger’s quest for a university offering outstanding, compassionate,

student health care brought the University’s offering to her attention.

      b. Ploeger learned that the University’s Counseling and Psychological

Services (“CAPS”) provided free counseling to students.

      c. She also learned that the University’s Student Health Service (“SHS”)

provided physical healthcare to the University’s students; unlike CAPS, there is a

fee for SHS, paid by obligatory insurance coverage, but the University offered

Ploeger a grant to pay for the insurance premiums.

6. She learned of these benefits by:

      a. reading the University’s own proclamations on its website;

      b. by a reaffirmation of those proclamations given to her in a phone

conversation with University officials serving in what Ploeger recalls was referred

then referred to as the “College office;” and

                                          2.



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        c. by being told, by the University’s “College office,” that the University’s

health services were not only free, they were very good.

7 The University’s provision of these healthcare services, and its officials’

reaffirming them, was:

        a. “one of the top reasons” Ploeger chose to enroll in the University; and

        b. the reason she chose the University rather than Dartmouth.

8. Motivated by the benefit of the health services promised her by the University

should she enroll at Penn, Ploeger applied for admission to the University as a full-

time, undergraduate student for Fall Semester, 2006.

9. Her application was accepted, and she expected to begin her freshman year in Fall

2006.

10. Her ill-health, however, compelled her to request, and the University granted, a

leave of absence for what would have been her first two semesters at the University

(i.e., Fall 2006; Spring 2007).

11. She returned to the University for the Fall 2007 semester, expecting then to begin

her undergraduate work.




                                           3.



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12. Upon her return Ploeger quickly realized that she would be unable to pursue her

studies   without   the University’s    granting   her   reasonable modifications

(“Modifications”) in policies, practices, or procedures governing, inter alia, the

places in which, and the amount of time during which, academic work could be

completed at the University.

13. Not knowing the process governing requests for Modifications at the University.

Ploeger sought and was granted a second leave of absence, to run through the Fall

2007 and Spring 2008 semesters, during which time she undertook to learn, and did

learn, the process governing requests for Modifications at the University.

14. Upon resumption of her studies at the University in Fall Semester 2008, she

sought and was granted Modifications from the University’s policies to enable her

to proceed with her studies.

15. The Modifications granted for Fall Semester 2008 permitted Ploeger to complete

that semester.

16.

      a. The Modifications continued to be beneficial for Ploeger, but her health did

not permit her to continue in Spring 2009.

      b. She was compelled her to request a leave of absence.

      c. The University granted that request.

                                         4.



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17.

      a. Ploeger requested Modifications for each semester through and including

Spring 2015.

      b. Her requests were uncontested, and granted to her upon request through the

actions of Dr. William Alexander (“Alexander”), at times relevant to this action

Director of the University’s CAPS.

18. Despite the benefit provided by the Modifications, and despite the University’s

proclaimed devotion to caring for the mental and physical health of its students,

Ploeger’s mental and physical health in fact continued to deteriorate because of

improper treatment and actual cruelty at the hands of the University’s health

services.

19.

      a. In 2008 Ploeger showed Dr. Alexander cuts that she had inflicted along her

left arm and on one of her wrists in an attempt to self-harm and attempt suicide.

      b. Her hope, having survived, had been to be admitted to Hall Mercer, a

      mental health care clinic.

      c. Dr. Alexander instead gave her a prescription for the same pills on which

      she had overdosed the night before and told Ploeger to go home and “put a

      band aid on it.”

                                         5.



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      d. In addition to the harm done to her by Alexander’s response to her physical

and mental health needs, Ploeger was caused deep distress by his pursuit of personal

intimacy with her.

20.

       a. Ploeger subsequently disclosed Dr. Alexander’s response to her physical

and mental health needs, the circumstances in which that response had been made,

and the distress caused her by Alexander’s pursuit of personal intimacy with her.

      b. In 2015 Dr. Alexander threatened Ploeger with retribution for that

disclosure.

      c. Rather than providing the superior health care offered by the University as

a material inducement to her enrollment at the University, Dr. Alexander’s conduct

toward Ploeger materially harmed her already fragile mental health.

21.

      a. In 2008, suffering from intense pain in her back, Ploeger sought out Dr.

Deborah Niles, a doctor at the University’s Student Health Services.

      b. Dr. Niles wrote orders for x-rays of Ploeger’s back.

      c.

              i. Dr. Niles did not tell Ploeger -- as Ploeger was told by another doctor

years later -- that the x-ray showed several compression fractures.

                                           6.



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             ii. Rather, Dr. Niles permitted Ploeger to believe that her pain was just

a generalized problem.

22.

      a. In 2007 Ploeger called a counselor at CAPS’ afterhours service and told the

      counselor that she, Ploeger, was suicidal.

      b. The counselor in reply told Ploeger to “do what you have to do, I don’t have

time for this.”

23.

      a. In 2015 Ploeger sought refuge from the distress of these actions by speaking

of them to Dr. Max King, Vice Provost for University Life, as well as to University

President Dr. Amy Guttman.

      b. The University’s response was to rebuff her, telling her by phone that she

would be arrested if she addressed these issues with President Guttman again or

attempted to say anything to anyone about Dr. Alexander’s behavior.


24. Also in 2015, while Ploeger was meeting with the Vice Provost for University

Life in the Vice Provost’s office, the University police gained access to Ploeger’s

apartment without Ploeger’s permission or prior knowledge and left the apartment

ransacked.


                                         7.



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25.

      a. In 2016 Ploeger sought to resume her studies at the University, and sought

the same Modifications that had been granted to her in the past.

      b. In support of her request, Ploeger brought notes from three medical

professionals, including a psychologist and a psychiatrist, all speaking of Ploeger’s

need for Modifications.

      c. On prior occasions tendering such support sufficient to gain Ploeger the

Modifications she sought.

      d. In 2016 she was told that she would have to meet with counsellors at SDS.

26.

      a. Ploeger’s experiences with SDS in the Spring of 2015 made her feel unsafe

about such a meeting, and she asked leave to bring an advocate with her.

      b. Her request was refused.

27.

      a. When exam dates approached Ploeger felt a desperate need for

Modifications.

      b. Impelled by her desperation, she made numerous calls to SDS to state that

she would meet with them under any terms just to gain the same Modifications she

had always had in the past.

                                         8.



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      c. Her calls were ignored by SDS.

28.

      a. Unable to gain the Modifications she sought, and had always in the past

been granted, Ploeger was not able to complete her midterms.

      b. That in turn forced her to drop the semester.

      c. That in turn destroyed her mental health and left her destitute and homeless.

29. Ploeger will testify that had she known how she brutally different her treatment

by CAPS and SDS would be from the claims set forth in the University’s offer

tendered to entice her enrollment, she would, without question, have chosen to attend

a different university.

30.

      a. Ploeger’s education at the University has been and continues to be disrupted

by the breaches cited above of the University’s contractual obligations.

      b. That disruption alone would and does create an increasingly grave burden

      upon Ploeger.

31. She is also in increasingly grave financial distress.

32. Her health, already needful of care before these actions and inactions by the

University, has suffered and continues to suffer increasingly from the latter.



                                          9.



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33.

      a. She feels, for the reasons and under the circumstances alleged above, worse

than abandoned by the University.

      b. She feels utterly rebuffed by and denied the special services within the

University that the University presents to the public and presented to Ploeger as

supported by the premier health facilities at the University and specifically at the

service of the University’s students.

34. Ploeger incorporates the allegations set forth in Paragraphs 4 through 33 in this

Paragraph 34.

35. The allegations set forth by incorporation in Paragraph 34 state a claim for breach

of contract.

Count 2.

36. The allegations of fact set forth by incorporation in Paragraph 34 above are set

forth by incorporation in this Paragraph 36.

37. The allegations of fact set forth by incorporation in Paragraph 36 above state, in

the alternative, a breach under the equitable doctrine of estoppel.




                                         10.



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                                 CONCLUSION

38.

      a. By 2017 Ploeger despaired of her ability to persuade the University to

provide the benefits whose offer to her had induced her to enroll at Penn.

      b. She therefore engaged the undersigned as legal counsel, with the mutual

understanding that every effort would be obtain for Ploeger, without litigation, the

support that she had been offered prior to, and whose offer induced, her enrollment

at the University.

      c. Those efforts having failed to achieve their desired end, this litigation

followed.

39. The material terms of the contractual provisions (the “Contractual Provisions”)

offered to Ploeger by the University and by Ploeger accepted through her enrollment,

including the promise of skilled, compassionate health set forth in Exhibit A and of

the utmost necessity to Ploeger, have been breached and remain in breach.

40. That breach, in all its manifestations, is the material cause of the distress –

financial, physical, educational – in which she has for long been placed by the

University and in which she now remains.




                                        11.



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                              DEMAND FOR RELIEF

41. WHEREFORE, for the reasons and under the circumstances set forth above,

Ploeger with respect for the Court and in reliance upon the law and facts demands

of the Court a trial on the merits of this matter and will at the end of such trial seek

an order in favor of Plaintiff and against Defendant; money damages in an amount

in excess of the jurisdictional amount and in such specific amount as the Court finds

just under applicable law applied to the evidence of record; and such further relief

as the Court may determine to be just.

                                               /s/ E. Daniel Larkin
                                               E. Daniel Larkin,
                                               Counsel for Plaintiff
                                               PA Atty. ID 32395
                                               742 S. Latches Lane
                                               Merion Station PA 19066
                                               610.660.5201 (ph.)
                                               610.660.5940 (fax)
                                               dan@danlarkinlaw.com

Tendered September 15, 2020




                                          12




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                          Exhibit “A”




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                                 VERIFICATION
      The undersigned, April Ploeger, affirms and verifies that she is the Plaintiff
named in the foregoing Third Amended Complaint filed on her behalf with this
Verification in the matter known as Ploeger v. Trustees of the University of
Pennsylvania, d.b.a University of Pennsylvania (Philadelphia Court of Common
Pleas); that she has read the foregoing Third Amended Complaint; that she is
familiar, through personal knowledge or through information and belief, as pled with
specificity in the foregoing Third Amended Complaint, with the facts averred
therein; and that all factual averments in such Third Amended Complaint are true
and correct to the best of her knowledge, information or belief, as specified in the
Amended Complaint.

      The undersigned makes this statement subject to the penalties provided by 18
Pa.C.S. Section 4904 relating to unsworn falsification to authorities.


                                                     April Ploeger
                                           Plaintiff in the matter referred to above


Dated: September 15, 2020




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                        CERTIFICATE OF COMPLIANCE

I certify that this filing complies with the provisions of the Public Access Policy of

the Unified Judicial System of Pennsylvania, Case Records of the Appellate and

Trial Courts that require filing confidential information and documents differently

than non-confidential information and documents.

                                       /s/E. Daniel Larkin
                                       E. Daniel Larkin
                                       742 S. Latches Lane
                                       Merion PA 19066
                                       610.660.5201




                                                                              Case ID: 200302766
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                           CERTIFICATE OF SERVICE

I certify that on September 15, 2020, I caused a true and correct copy of the foregoing

Third Amended Complaint to be served upon Defendant’s counsel of record, Leslie

M. Greenspan, Esquire, by the Court’s civil e-service

and:

By e-mail attachment sent to lgreenspan@tlgattorneys.com

                                        /s/E. Daniel Larkin
                                        E. Daniel Larkin




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                     EXHIBIT 5
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 1
                  IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
 2                                                          Filed and Attested by the
                           FIRST JUDICIAL DISTRICT OF      Office  of Judicial Records
                                                        PENNSYLVANIA
                                                               08 JUN 2022 07:17 am
 3                                                                   I. LOWELL
                                     TRIAL DIVISION- CIVIL
 4
     APRIL PLOEGER,                           Case No. 200302766
 5
     Plaintiff,
 6                                            FOURTH AMENDED COMPLAINT
                     vs.
                                              IN CIVIL ACTION BY CONSENT
 7   TRUSTEES OF THE UNIVERSITY OF            PURSUANT TO PA.R.CIV.P. 1033(a)
     PENNSYLVANIA,
 8                                            Filed on behalf of:
     Defendant.                               Plaintiff, April Ploeger
 9
                                              Filed by:
10                                            THE TRIAL LAW FIRM, LLC
                                              Mart Harris, Esquire
11                                            Pa. Id. No. 319504
                                              428 Forbes Avenue, Suite 1700
12                                            Pittsburgh Pennsylvania, 15219
                                              412.588.0030 (p)
13                                            412.265.6505 (f)
                                              MH@TLawF.com
14
                                              JURY TRIAL DEMANDED
15

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                                                                           Case ID: 200302766
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 1                IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY

 2                         FIRST JUDICIAL DISTRICT OF PENNSYLVANIA

 3                                     TRIAL DIVISION- CIVIL

 4   APRIL PLOEGER,                                 Case No. 200302766

 5   Plaintiff,

                     vs.                            FOURTH AMENDED COMPLAINT
 6                                                  IN CIVIL ACTION BY CONSENT
     TRUSTEES OF THE UNIVERSITY OF                  PURSUANT TO PA.R.CIV.P. 1033(a)
 7   PENNSYLVANIA,
 8   Defendant.

 9                                       NOTICE TO DEFEND

10            You have been sued in court. If you wish to defend against the claims set forth in the
     following pages, you must take action within twenty (20) days after this Complaint and Notice are
11   served, by entering a written appearance personally or by attorney and filing in writing with the
     Court your defenses or objections to the claims set forth against you. You are warned that if you
12   fail to do so the Case may proceed without you and a judgment may be entered against you by the
     Court without further notice for any money claimed in the Complaint or for any claim or relief
13   requested by the Plaintiff. You may lose money or property or other rights important to you.

14        YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU
     DO NOT HAVE A LAWYER, GO TO OR TELEPHONE THE OFFICE SET FORTH
15   BELOW. THIS OFFICE CAN PROVIDE YOU WITH INFORMATION ABOUT
     HIRING A LAWYER.
16
                            PHILADELPHIA BAR ASSOCIATION
17                     LAWYER REFERRAL AND INFORMATION SERVICE
                                1101 Market Street, 11th Floor
18                             Philadelphia, Pennsylvania 19107
                                        (215) 238-6333
19

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21

22

23

24

25

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                                                                                     Case ID: 200302766
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 1                IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY

 2                         FIRST JUDICIAL DISTRICT OF PENNSYLVANIA

 3                                    TRIAL DIVISION- CIVIL

 4   APRIL PLOEGER,                                 Case No. 200302766

 5   Plaintiff,

                     vs.                            FOURTH AMENDED COMPLAINT
 6                                                  IN CIVIL ACTION BY CONSENT
     TRUSTEES OF THE UNIVERSITY OF                  PURSUANT TO PA.R.CIV.P. 1033(a)
 7   PENNSYLVANIA,
 8   Defendant.

 9                                               AVISO

10        Le han demandado a usted en la corte. Si usted quiere defenderse de estas demandas
     expuestas en las paginas siguientes, usted tiene veinte (20) dias de plazo al partir de la fecha
11    de la demanda y la notificacion. Hace falta ascentar una comparencia escrita o en persona
      o con un abogado y entregar a la corte en forma escrita sus defensas o sus objeciones a las
12   demandas en contra de su persona. Sea avisado que si usted no se defiende, la corte tomara
         medidas y puede continuar la demanda en contra suya sin previo aviso o notificacion.
13     Ademas, la corte puede decider a favor del demandante y requiere que usted cumpla con
        todas las provisiones de esta demanda. Usted puede perder dinero o sus propiedades u
14   otros derechos importantes para usted. Lleve esta demanda a un abogado immediatamente.
      Si no tiene abogado o si no tiene el dinero suficiente de pagar tal servicio. Vaya en persona
15     o llame por telefono a la oficina cuya direccion se encuentra escrita abajo para averiguar
                                donde se puede conseguir asistencia legal.
16
                                      Asociacion De Licenciados
17                              De Filadelfia Servicio De Referencia E
                                          Informacion Legal
18                              1101 Market St., 11th Piso Filadelfia,
                                         Pennsylvania 19107
19                                          (215) 238-6333

20

21

22

23

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26
                                                                                     Case ID: 200302766
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 1                                FOURTH AMENDED COMPLAINT

 2           NOW COMES the Plaintiff, April Ploeger, by and through The Trial Law Firm, LLC

 3   and files the within Fourth Amended Complaint in Civil Action, and in support thereof avers

 4   that:

 5   Parties, Jurisdiction, and Venue

 6           1.     The Plaintiff is APRIL PLOEGER (“PLOEGER”). PLOEGER is an adult

 7   female individual with an address of 505 S. 42nd Street, Apartment 1F, Philadelphia

 8   Pennsylvania, 19104.

 9           2.     The Defendant is the TRUSTEES OF THE UNIVERSITY OF

10   PENNSYLVANIA (“PENN”). PENN is a private university of higher learning, located in

11   Philadelphia Pennsylvania.

12           3.     Personal jurisdiction over PLOEGER exists, by consent of PLOEGER.

13           4.     Personal jurisdiction over PENN exists pursuant to 42 Pa.C.S. § 5301, et seq.,

14   because it is domiciled and does continuous business in the Commonwealth.

15           5.     This action is brought pursuant to the Pennsylvania Commonlaw, therefore the

16   Pennsylvania Courts of Common Pleas have original subject matter jurisdiction pursuant to 42

17   Pa.C.S. § 931(a).

18           6.     The acts and/or omissions complained of in this lawsuit occurred in and around

19   Philadelphia, Pennsylvania. Therefore, pursuant to 42 Pa.C.S. § 931(c), venue is proper in the

20   Court of Common Pleas of Philadelphia County, First Judicial District of Pennsylvania.

21   Background Facts- Ploeger’s Enrollment and Initial Attendance

22           7.     All other paragraphs of this lawsuit are incorporated.

23           8.     PLOEGER suffers from auto-immune disease, depression, and anxiety.

24           9.     These conditions, of which she has a record, severely impair her activities of daily

25   living, including but not limited to, proper functioning of her immune system.

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 1          10.     In or around 2006, PLOEGER decided to attend college at PENN instead of

 2   Dartmouth College.

 3          11.     PLOEGER chose PENN over Dartmouth College due to PENN’s emphasis on

 4   student health and wellness, and specifically its statement that PENN’s health services were

 5   “free” and “very good” as well as similar statements made by PENN to PLOEGER regarding the

 6   superiority of their student health services.

 7          12.     PENN awarded PLOEGER a scholarship which covered a substantial amount of

 8   education expenses.

 9          13.     PLOEGER made her conditions known to PENN, through its’ “Disability

10   Services” (“SDS”) department, which granted her accommodation in the form of a leave of

11   absence for her conditions in Fall 2006 and Spring 2007.

12          14.     In Fall 2007, PLOEGER made an additional accommodation request for a leave

13   of absence, which was granted for Fall 2007 and Spring 2008.

14          15.     In Spring 2009, PLOEGER made an additional accommodation request for, inter

15   alia, testing modifications which was granted.

16   Background Facts- Penn’s Initial Discrimination, Assault, and Retaliation

17          16.     All other paragraphs of this lawsuit are incorporated.

18          17.     PLOEGER attempted to utilize PENN’s health and/or disability services, by way

19   of her seeking mental health treatment through PENN. In response, PENN employee Dr. William

20   Alexander (“ALEXANDER”) was assigned to PLOEGER for mental health care.

21          18.     On numerous occasions, ALEXANDER made his sexual interest in PLOEGER

22   known to PLOEGER. PLOEGER informed ALEXANDER that his interest was not reciprocated.

23   On at least one occasion, ALEXANDER touched PLOEGER’s body in the context of his

24   previously stated sexual interest in her.

25

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 1             19.   In 2009, due in part to ALEXANDER’s continued inappropriate attempts to

 2   sexually engage with his own patient, which he knew PLOEGER did not want, PLOEGER,

 3   unsuccessfully attempted suicide, by cutting her arms and wrists.

 4             20.   When ALEXANDER learned of PLOEGER’s suicide attempt, instead of

 5   providing counseling services, ALEXANDER told PLOEGER to “go home and put a band-aid

 6   on it.”

 7             21.   PLOEGER contacted PENN’s “Counseling and Psychological Services”

 8   (“CAPS”) department.

 9             22.   ALEXANDER was at the time, the Interim Director of CAPS.

10             23.   PENN refused to provide services to PLOEGER.

11             24.   In Spring 2009, PLOEGER had to request a leave of absence as an

12   accommodation, which was again granted by PENN.

13             25.   PLOEGER needed a leave of absence as an accommodation at that time, because

14   ALEXANDER, though thoroughly rebuffed by PLOEGER, continuously pursued a sexual

15   relationship with PLOEGER, and sexually battered her in his office during a “counseling”

16   session.

17             26.   ALEXANDER handled PLOEGER’s accommodation requests, and from Fall

18   2009 through Spring 2015 PLOEGER made accommodation requests, which PENN granted.

19             27.   In or around 2015, PLOEGER reported ALEXANDER’s inappropriate behavior

20   to PENN, including that in response to her 2015 suicide attempt via overdosing on pills,

21   ALEXANDER caused PLOEGER to be issued her another pill prescription instead of sending

22   her for further mental health treatment or otherwise providing same to her.

23             28.   Almost immediately after PLOEGER reported ALEXANDER to PENN,

24   ALEXANDER threatened PLOEGER because she reported his sexual and medical misconduct.

25

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 1          29.     PLOEGER further reported ALEXANDER to his supervisor, PENN employee

 2   Dr. Max King (“KING”), as well as Dr. Amy Guttman, PENN’s University President

 3   (“GUTTMAN”).

 4          30.     Almost immediately after PLOEGER reported ALEXANDER to KING and

 5   GUTTMAN, PLOEGER was informed by PENN that she would be arrested if she continued to

 6   make reports about ALEXANDER.

 7          31.     PLOEGER continued to pursue her rights to a learning environment free from

 8   sexual harassment and assault, as well as proper medical treatment, and insisted on having a

 9   meeting with PENN administrators to discuss her concerns about ALEXANDER.

10          32.     She was eventually able to meet with Hikaru Kozuma (“KOZUMA”) as well as

11   another unidentified female.

12          33.     During PLOEGER’s meeting with KOZUMA, during which PLOEGER was

13   threatened for complaining about ALEXANDER, PENN’s police department left their

14   jurisdiction (PENN’s campus) and traveled to PLOEGER’s off-campus and non-PENN affiliated

15   apartment.

16          34.     While at PLOEGER’s apartment, PENN’s police officers ransacked the

17   apartment. Immediately before the raid, PLOEGER had numerous items in her possession (by

18   way of their being kept in her apartment), specifically, the prescription for pills that

19   ALEXANDER sent her away with ad discussed supra, and an itemized list of grievances against

20   PENN. Immediately after the raid, those items were gone.

21          35.     Shortly before the Spring 2016 semester, PLOEGER sought to return to PENN

22   and finish her studies.

23          36.     In accordance with this plan, she sought the same accommodations which had

24   been granted in Fall 2008 and each time they were requested through the Spring 2015 semester.

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 1          37.     PLOEGER supported her request, with three medical opinions including a

 2   psychologist and a psychiatrist. In the past, she had only used one opinion, ALEXANDER’s.

 3          38.     Instead of granting the accommodations as it had in the past, based on

 4   PLOEGER’s medical opinions, PENN informed PLOEGER that in order to gain the sought-after

 5   accommodations, she would have to meet with SDS.

 6          39.     PLOEGER, terrified due to her previous meeting with PENN (during which she

 7   was threatened and PENN’s police ransacked her apartment without jurisdiction or probable

 8   cause, and in retaliation for her report against ALEXANDER) PLOEGER requested that she be

 9   allowed to bring an advocate/witness to the meeting.

10          40.     PENN refused PLOEGER’s request to have an advocate/witness present in the

11   meeting.

12          41.     PLOEGER declined a meeting with PENN under those conditions, specifically

13   that she could not have an advocate/witness present, and in response, PENN refused to grant her

14   requested accommodation, despite having granted the identical accommodation in the past

15   without the requirement to have a meeting at all.

16          42.     As the semester went on, PLOEGER, who had been denied her requested

17   accommodations grew desperate; she knew she needed the accommodations in order to be able

18   to access PENN’s educational programs.

19          43.     PLOEGER therefore made numerous calls to PENN’s SDS to meet “under any

20   terms” in order to gain the modifications that had been granted prior to her report about

21   ALEXANDER, but denied after her report about ALEXANDER.

22          44.     SDS did not return PLOEGER’s calls or otherwise offer any kind of assistance

23   to, inter alia, engage in the interactive process.

24          45.     Due to PENN’s refusal to communicate with PLOEGER regarding her requested

25   accommodations, even though she had acquiesced to PENN’s demand that she meet with SDS

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 1   and without an advocate/witness, PLOEGER dropped the semester since, without her requested

 2   accommodations she could not sit for her mid-terms, thus PLOEGER would have failed same.

 3          46.     In 2017, PLOEGER hired a lawyer to try to entice PENN to follow the law and

 4   cease retaliating against her.

 5          47.     On or about April 17, 2017, PLOEGER’s lawyer sent a letter to PENN

 6   stating, inter alia, that PLOEGER had a “dispute with [PENN]” which “arises from [PENN]’s

 7   Spring Semester 2016 rejection of [PLOEGER]’s request for accommodations for her medically

 8   diagnosed mental health disabilities. Accommodations for the same disability had been granted

 9   for prior semesters.”

10          48.     PLOEGER’s lawyer had numerous phone conferences with various PENN

11   officials, during which he, upon information and belief, further referenced PLOEGER’s denied

12   accommodations, as well as ALEXANDER’s predatory sexual behaviors as described in this

13   lawsuit.

14          49.     PLOEGER re-enrolled at PENN for the Spring 2018 semester. To re-enroll,

15   PLOEGER had to provide PENN with a “return from leave” letter. PENN accepted PLOEGER’s

16   letter and re-enrollment, but confronted her with a several hundred dollar fee (which had not

17   been demanded when she had previously returned from leave), and fearful of further retaliation,

18   PLOEGER did not sign up for classes.

19          50.     PLOEGER applied to be re-enrolled at PENN for the Fall 2018 semester, but

20   PENN, outright rejected PLOEGER’s re-enrollment despite that it was identical to her previous

21   re-enrollment paperwork which had been previously approved a few months earlier.

22   Facts of the Case

23          51.     All other paragraphs of this lawsuit are incorporated.

24          52.     PENN continued to stall and delay private discussions with PLOEGER’s lawyer,

25   and on April 1, 2020, PLOEGER filed a lawsuit against PENN.

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 1           53.      In her lawsuit (and subsequent amendments thereto), PLOEGER alleged, inter

 2   alia:

 3                 a. PENN sent her home with the pills she just tried to kill herself with

 4                 b. PENN threatened PLOEGER in response to her report against ALEXANDER;

 5                 c. PENN sent the police to PLOEGER’s apartment in response to her report against

 6                    ALEXANDER;

 7                 d. PENN refused to honor her accommodations or even engage in the interactive

 8                    process after she reported ALEXANDER; and

 9                 e. ALEXANDER caused PLOEGER distress by pursuing intimate contact with her,

10                    which she reported to ALEXANDER and higher authorities.

11           54.      When PLOEGER provided PENN with the same “return from leave” letter just

12   prior to the Fall 2021 semester (after suing PENN), PENN blocked the re-enrollment unless

13   PLOEGER paid thousands of dollars (as opposed to the hundreds of dollars demanded prior to

14   the filing of a lawsuit yet after the privately communicated protected activity, as compared to

15   after the public protected activity of a lawsuit in open court).

16           55.      PENN continues to block PLOEGER’s re-enrollment unless PLOEGER pays

17   thousands of dollars, which was only demanded after PLOEGER sued PENN, when prior to the

18   suit, PENN only demanded hundreds of dollars.

19           56.      These causes of action follow:

20                                                 COUNT I

21       (Incorporated and Clarified from PLOEGER’s September 15, 2020 Third Amended

22                                                Complaint)

23                             Pennsylvania Commonlaw Breach of Contract

24           57.      All other paragraphs of this lawsuit are incorporated.

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 1          58.      PLOEGER also incorporates ¶¶ 4-35 and 39-41 of her September 15, 2020

 2   Amended Complaint docketed in this case on September 16, 2020 at 9:28p.m., as subject to the

 3   Court’s November 24, 2020 Order, docketed in this case on November 24, 2020 at 4:10p.m.

 4   Said Amended Complaint ¶¶ 4-35 and 39-41 were Answered by PENN, subject to the

 5   November 24, 2020 Order on January 28, 2021 and docketed in this case on January 29, 2021

 6   at 11:29a.m.

 7          59.      A contract exists in this case, pursuant to PENN’s statements, accepted by

 8   PLOEGER, that PENN would provide PLOEGER with “free” and “very good” healthcare.

 9   Additionally, PENN promised, and PLOEGER accepted that PENN would provide:

10                a. “confidential free professional mental healthcare”;

11                b. “a core [PENN] priority” to “emphasize holistic health that considers safety,

12                   happiness, mental health, resilience, and financial well-being”;

13                c. “a dedicated team” that “is committed to the health and well-being of

14                   [PLOEGER], and providing safe, accessible, cost-effective, culturally-sensitive,

15                   and [PLOEGER]-focused care”;

16                d. “state-of-the-art medical and counseling centers” which are designed to

17                   “provide high-quality, compassionat (sic) care for [PLOEGER] during [her]

18                   academic journey”; and

19                e. “The bottom line? You [PLOEGER] are not alone. And there is hope.”

20          60.      PENN breached its promises to PLOEGER by:

21                a. ALEXANDER’s ignoring and mocking PLOEGER’s suicide attempts;

22                b. ALEXANDER trying to cause PLOEGER’s suicide;

23                c. PENN enabling ALEXANDER and covering for his behaviors towards

24                   PLOEGER;

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 1                d. PENN leaving PLOEGER under ALEXANDER’s control when she had already

 2                   reported ALEXANDER to PENN instead of providing the promised and

 3                   accepted “community of care.”

 4          61.      As a direct and proximate cause of PENN’s breaches as described in the

 5   previous two (2) paragraphs of this lawsuit, PLOEGER suffered injuries and is entitled to

 6   damages as follows:

 7                a. PENN’s promise to provide cost-effective (free) healthcare that emphasized

 8                   PLOEGER’s financial well-being was breached when PENN charged

 9                   PLOEGER for student health insurance premiums and interest for such times

10                   that PLOEGER was on a leave of absence in the amount as of May 12, 2022 of

11                   approximately $13,000.00;

12                b. PENN’s promise to provide free and very good healthcare was breached on

13                   numerous occasions when ALEXANDER behaved towards PLOEGER as

14                   described throughout this Lawsuit, and also when PENN refused to control

15                   ALEXANDER and/or otherwise cease ALEXANDER’s access to and control

16                   over PLOEGER, causing PLOEGER to take numerous leaves of absence,

17                   directly and proximately resulting in PLOEGER’s delay to enter her career field

18                   of actuarial mathematics, resulting in approximately $1,540,000.00 in lost

19                   wages.

20                c. PENN’s broken promises to PLOEGER have resulted in severe emotional

21                   distress for which PLOEGER treated and is treating. A mental health

22                   professional persisted in the sexual pursuit of his patient rather than providing

23                   the ”free” and “very good” healthcare promised by his employer, PENN,

24                   therefore, damages for said distress (to be determined by a jury) are available

25                   pursuant to, inter alia, Rittenhouse Regency Affiliates v. Passen, 482 A.2d

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 1                   1042, 1043 (Pa. Super. 1984)(“[ an exception to the general rule barring

 2                   emotional distress damages in a breach of contract action] occurs where the

 3                   breach is of such type that serious emotional disturbance is a particularly likely

 4                   result.”).

 5          WHEREFORE, the Plaintiff, APRIL PLOEGER, respectfully requests judgment be

 6   entered in her favor, and that damages be assessed as follows:

 7                a. $13,000.00 in payments and interest charged to PLOEGER for student health

 8                   insurance while she was on a leave of absence;

 9                b. $400,000.00 to cover tuition;

10                c. $1,540,000.00 in lost wage damages; and

11                d. Non-economic compensatory damages to be determined by the fact-finder at

12                   trial.

13                                               COUNT II

14                            (Dismissed pursuant to Preliminary Objections)

15                                               COUNT III

16                                        (First Amended Count)

17                            42 U.S.C. § 12182(A)(ii)- Failure to Accommodate

18          62.      All other paragraphs of this lawsuit are incorporated.

19          63.      PLOEGER put PENN on notice of her needs for accommodation as

20   demonstrated in ¶¶ 42-45 of this lawsuit.

21          64.      PENN denied PLOEGER’s requested accommodations as demonstrated in ¶¶

22   54-55 of this lawsuit.

23          65.      As a direct and proximate result of the denial of accommodations, despite notice

24   as demonstrated in ¶¶ 42-45 of this lawsuit, PLOEGER has been unable to receive

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 1   accommodations, and is therefore denied her rights under the ADA, and she is therefore

 2   entitled to injunctive relief as follows:

 3                 a. PENN must process and re-enroll PLOEGER for classes;

 4                 b. PENN must allow PLOEGER an advocate in any meetings with PENN related

 5                     to requests for accommodations;

 6                 c. PENN is prohibited from directing or otherwise allowing ALEXANDER to

 7                     participate in or otherwise influence any of PENN’s interactions with

 8                     PLOEGER; and

 9                 d. PENN must grant, at least, the accommodations that it has granted to

10                     PLOEGER in the past.

11                 e. PENN must pay PLOEGER’s reasonable attorney fees.

12                                                COUNT IV

13                                        (Second Amended Count)

14                 42 U.S.C. § 12182(A)(iii)- Failure to Engage in the Interactive Process

15           66.       All other paragraphs of this lawsuit are incorporated.

16           67.       PENN was on notice that PLOEGER required PENN to take steps as may have

17   been necessary to ensure that she was not excluded, denied services, or otherwise treated

18   differently related to PENN’s services as demonstrated in ¶¶ 42-45 of this lawsuit.

19           68.       Despite being on notice, PENN did not take any such steps as demonstrated in

20   ¶¶ 54-55 of this lawsuit.

21           69.       Alternatively, despite being on notice, PENN took only pretextual steps to

22   accommodate PLOEGER.

23           70.       As a direct and proximate result of PENN’s lack of action, despite notice as

24   demonstrated in ¶¶ 42-45 of this lawsuit, PLOEGER has been unable to receive

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 1   accommodations, and is therefore denied her rights under the ADA, and she is therefore

 2   entitled to injunctive relief as follows:

 3                 a. PENN must process and re-enroll PLOEGER for classes;

 4                 b. PENN must allow PLOEGER an advocate in any meetings with PENN related

 5                    to requests for accommodations;

 6                 c. PENN is prohibited from directing or otherwise allowing ALEXANDER to

 7                    participate in or otherwise influence any of PENN’s interactions with

 8                    PLOEGER; and

 9                 d. PENN must grant, at least, the accommodations that it has granted to

10                    PLOEGER in the past.

11                 e. PENN must pay PLOEGER’s reasonable attorney fees.

12                                                COUNT V

13                                        (Third Amended Count)

14                                     42 U.S.C. § 12203- Retaliation

15           71.      All other paragraphs of this lawsuit are incorporated.

16           72.      PLOEGER is a qualified individual under the Americans with Disabilities Act

17   as demonstrated in ¶¶ 8-9 of this lawsuit.

18           73.      PENN is a recipient of federal funds.

19           74.      PLOEGER engaged in protected activity as demonstrated in ¶¶ 13-15, 17, 21,

20   24, 26, 29, 31-33, 35-37, 39, 41, 43, 45, 47-50, 52-54 of this lawsuit.

21           75.      PLOEGER suffered adverse actions as demonstrated in ¶¶ 54-55 of this lawsuit.

22           76.      The adverse actions are causally connected to the protected activity as

23   demonstrated in ¶¶ 20, 22-23, 25-28, 30, 33-34, 36-41, 43-45, 47-50, 52, 54-55 of this lawsuit

24   which show an unduly suggestive temporal proximity and a pattern of antagonism between the

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 1   various instances of protected activity and the adverse actions identified in the previous

 2   paragraph of this lawsuit.

 3          77.     As a direct and proximate result of the adverse actions, PLOEGER was injured

 4   and is therefore entitled to nominal damages, as well as non-economic compensatory damages

 5   for emotional distress, humiliation, embarrassment, pain and suffering, and loss of enjoyment

 6   of life to be determined by a jury at trial, and reasonable attorney fees and costs.

 7                                              COUNT VI

 8                                       (Fourth Amended Count)

 9                                   20 U.S.C. § 1681(a)- Retaliation

10          78.     All other paragraphs of this lawsuit are incorporated.

11          79.     PLOEGER engaged in protected activity as demonstrated in ¶¶ 18, 27, 29, 31-

12   33, 47-48, 52-53 of this lawsuit.

13          80.     PLOEGER suffered adverse actions as demonstrated in ¶¶ 54-55 of this lawsuit.

14          81.     The adverse actions are causally connected to the protected activity as

15   demonstrated in ¶¶ 20-23, 26, 28, 30, 33-38, 40-41, 43-45, and 49-50 of this lawsuit which

16   show an unduly suggestive temporal proximity and a pattern of antagonism between the

17   various instances of protected activity and the adverse actions identified in the previous

18   paragraph of this lawsuit.

19          82.     As a direct and proximate result of the adverse actions, PLOEGER was injured

20   and is therefore entitled to nominal damages, as well as non-economic compensatory damages

21   for emotional distress, humiliation, embarrassment, pain and suffering, and loss of enjoyment

22   of life to be determined by a jury at trial and reasonable attorney fees and costs.

23                                              COUNT VII

24                                       (Fifth Amended Count)

25                         Pennsylvania Commonlaw Negligent Supervision

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 1           83.      All other paragraphs of this lawsuit are incorporated.

 2           84.      PENN has a duty and responsibility of care to, inter alia, PLOEGER, to

 3   reasonably supervise its employees to ensure that the performance of its employees’ duties are

 4   completed without violating the contractual and/or civil rights of, inter alia, PLOEGER.

 5           85.      PENN breached its duty and responsibility of care by allowing its employees to

 6   breach contracts, discriminate and retaliate against PLOEGER as demonstrated in Counts I and

 7   III-VI of this lawsuit.

 8           86.      As a direct and proximate result of PENN’s breach, PLOEGER was injured as

 9   follows:

10                 a. PLOEGER was billed for student health insurance premiums and interest for

11                    such times that PLOEGER was on a leave of absence in the amount as of May

12                    19, 2022 of approximately $16,000.00;

13                 b. Lost wages due to delay in graduation and entry into the workforce resulting in

14                    approximately $1,540,000.00 in lost wages; and

15                 c. Non-economic compensatory damages to be determined by the fact-finder at

16                    trial for emotional distress, humiliation, embarrassment, pain and suffering, and

17                    loss of enjoyment of life.

18                                                 COUNT VIII

19                                        (Sixth Amended Count)

20                                Pennsylvania Commonlaw Recklessness

21           87.      All other paragraphs of this lawsuit are incorporated.

22           88.      PENN’s recklessness in supervising it’s employees is demonstrated in ¶¶ 49-50,

23   54-55 which demonstrate that despite being on notice that its employees were being accused of

24   discriminating and retaliating against PLOEGER, PENN’s steps, if any, taken were insufficient

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 1   to prevent its employees from continuing to discriminate and retaliate against PLOEGER as

 2   demonstrated in ¶¶ 54-55 of this lawsuit.

 3          89.      As a direct and proximate result of PENN’s recklessness, PLOEGER was

 4   injured and is therefore entitled to damages as follows:

 5                a. PLOEGER was billed for student health insurance premiums and interest for

 6                   such times that PLOEGER was on a leave of absence in the amount as of May

 7                   12, 2022 of approximately $13,000.00;

 8                b. Lost wages due to delay in graduation and entry into the workforce resulting in

 9                   approximately $1,540,000.00 in lost wages;

10                c. Non-economic compensatory damages to be determined by the fact-finder at

11                   trial for emotional distress, humiliation, embarrassment, pain and suffering, and

12                   loss of enjoyment of life; and

13                d. Punitive damages to be determined by the fact-finder at trial to punish PENN

14                   for its actions and/or inactions towards PLOEGER, as well as to dissuade

15                   similarly situated entities from acting in a similar manner towards others.

16          WHEREFORE, Plaintiff respectfully requests Judgment against Defendant, jointly and

17   severally where appropriate, to include both economic and non-economic compensatory

18   damages to include emotional damages, humiliation, embarrassment, pain and suffering, and

19   loss of enjoyment of life, as well as punitive damages, attorney’s fees, and cost of suit as

20   requested in the above Counts.

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                                                                                         Case ID: 200302766
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 1   Respectfully submitted on June 6, 2022

 2                                            THE TRIAL LAW FIRM, LLC

 3
                                       By:    ________________________
 4
                                              Mart Harris, Esquire
                                              Pa. Id. No. 319504
 5
                                              428 Forbes Avenue, Suite 1700
                                              Pittsburgh PA 15219
 6
                                              412.588.0030 (p)
                                              412.265.6505 (f)
 7
                                              MH@TLawF.com
                                              Trial Lawyer for April Ploeger
 8

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                                                                               Case ID: 200302766
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 1                                          CERTIFICATE

 2          The undersigned hereby certifies that the within complies with the Public Access Policy

 3   of the Unified Judicial System of Pennsylvania: Case Records of the Appellate and Trial

 4   Courts regarding confidential information and documents.

 5          The undersigned further certifies that the within has been served on counsel for the

 6   Defendant by way of electronic service through the e-filing system, and electronic mail.

 7   Dated this 6th day of June 2022

 8

 9                                                     THE TRIAL LAW FIRM, LLC

10                                                     _____________________________
                                                       Mart Harris, Esquire
11                                                     Trial Lawyers for April Ploeger

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                     EXHIBIT 6
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From:             Mart Harris <mh@tlawf.com>
Sent:             Thursday, May 19, 2022 3:12 PM
To:               Leslie Greenspan
Subject:          Ploeger v. Penn (200302766)
Attachments:      DRAFT Amended Complaint for Meet and Confer.pdf


Hi Leslie,

In advance of our discussion tomorrow, here is a draft of the proposed amended
complaint.

Thanks,


‐‐
Mart Harris, Esquire

THE TRIAL LAW FIRM, LLC
The Pittsburgher
428 Forbes Avenue, Suite 1700
Pittsburgh Pennsylvania 15219
412.588.0030 (p)
412.265.6505 (f)




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 1
                  IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
 2
                           FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
 3
                                    TRIAL DIVISION- CIVIL
 4
     APRIL PLOEGER,                          Case No. 200302766
 5
     Plaintiff,
 6                   vs.                     AMENDED COMPLAINT IN CIVIL
                                             ACTION
 7   TRUSTEES OF THE UNIVERSITY OF
     PENNSYLVANIA,                           Filed on behalf of:
 8                                           Plaintiff, April Ploeger
     Defendant.
 9                                           Filed by:
                                             THE TRIAL LAW FIRM, LLC
10                                           Mart Harris, Esquire
                                             Pa. Id. No. 319504
11                                           428 Forbes Avenue, Suite 1700
                                             Pittsburgh Pennsylvania, 15219
12                                           412.588.0030 (p)
                                             412.265.6505 (f)
13                                           MH@TLawF.com

14                                           JURY TRIAL DEMANDED

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 1                IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY

 2                         FIRST JUDICIAL DISTRICT OF PENNSYLVANIA

 3                                     TRIAL DIVISION- CIVIL

 4   APRIL PLOEGER,                                 Case No. 200302766

 5   Plaintiff,

                     vs.                            AMENDED COMPLAINT IN CIVIL
 6                                                  ACTION
     TRUSTEES OF THE UNIVERSITY OF
 7   PENNSYLVANIA,
 8   Defendant.

 9                                       NOTICE TO DEFEND

10            You have been sued in court. If you wish to defend against the claims set forth in the
     following pages, you must take action within twenty (20) days after this Complaint and Notice are
11   served, by entering a written appearance personally or by attorney and filing in writing with the
     Court your defenses or objections to the claims set forth against you. You are warned that if you
12   fail to do so the Case may proceed without you and a judgment may be entered against you by the
     Court without further notice for any money claimed in the Complaint or for any claim or relief
13   requested by the Plaintiff. You may lose money or property or other rights important to you.

14        YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU
     DO NOT HAVE A LAWYER, GO TO OR TELEPHONE THE OFFICE SET FORTH
15   BELOW. THIS OFFICE CAN PROVIDE YOU WITH INFORMATION ABOUT
     HIRING A LAWYER.
16
                            PHILADELPHIA BAR ASSOCIATION
17                     LAWYER REFERRAL AND INFORMATION SERVICE
                                1101 Market Street, 11th Floor
18                             Philadelphia, Pennsylvania 19107
                                        (215) 238-6333
19

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 1                IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY

 2                         FIRST JUDICIAL DISTRICT OF PENNSYLVANIA

 3                                    TRIAL DIVISION- CIVIL

 4   APRIL PLOEGER,                                 Case No. 200302766

 5   Plaintiff,

                     vs.                            AMENDED COMPLAINT IN CIVIL
 6                                                  ACTION
     TRUSTEES OF THE UNIVERSITY OF
 7   PENNSYLVANIA,
 8   Defendant.

 9                                               AVISO

10        Le han demandado a usted en la corte. Si usted quiere defenderse de estas demandas
     expuestas en las paginas siguientes, usted tiene veinte (20) dias de plazo al partir de la fecha
11    de la demanda y la notificacion. Hace falta ascentar una comparencia escrita o en persona
      o con un abogado y entregar a la corte en forma escrita sus defensas o sus objeciones a las
12   demandas en contra de su persona. Sea avisado que si usted no se defiende, la corte tomara
         medidas y puede continuar la demanda en contra suya sin previo aviso o notificacion.
13     Ademas, la corte puede decider a favor del demandante y requiere que usted cumpla con
        todas las provisiones de esta demanda. Usted puede perder dinero o sus propiedades u
14   otros derechos importantes para usted. Lleve esta demanda a un abogado immediatamente.
      Si no tiene abogado o si no tiene el dinero suficiente de pagar tal servicio. Vaya en persona
15     o llame por telefono a la oficina cuya direccion se encuentra escrita abajo para averiguar
                                donde se puede conseguir asistencia legal.
16
                                      Asociacion De Licenciados
17                              De Filadelfia Servicio De Referencia E
                                          Informacion Legal
18                              1101 Market St., 11th Piso Filadelfia,
                                         Pennsylvania 19107
19                                          (215) 238-6333

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     Case 2:22-cv-02389-JHS Document 1-1 Filed 06/17/22 Page 90 of 415


 1                                           COMPLAINT

 2          NOW COMES the Plaintiff, April Ploeger, by and through The Trial Law Firm, LLC

 3   and files the within Amended Complaint in Civil Action, and in support thereof avers that:

 4   Parties, Jurisdiction, and Venue

 5          1.      The Plaintiff is APRIL PLOEGER (“PLOEGER”). PLOEGER is an adult

 6   female individual with an address of 505 S. 42nd Street, Apartment 1F, Philadelphia

 7   Pennsylvania, 19104.

 8          2.      The Defendant is the TRUSTEES OF THE UNIVERSITY OF

 9   PENNSYLVANIA (“PENN”). PENN is a private university of higher learning, located in

10   Philadelphia Pennsylvania.

11          3.      Personal jurisdiction over PLOEGER exists, by consent of PLOEGER.

12          4.      Personal jurisdiction over PENN exists pursuant to 42 Pa.C.S. § 5301, et seq.,

13   because it is domiciled and does continuous business in the Commonwealth.

14          5.      This action is brought pursuant to the Pennsylvania Commonlaw, therefore the

15   Pennsylvania Courts of Common Pleas have original subject matter jurisdiction pursuant to 42

16   Pa.C.S. § 931(a).

17          6.      The acts and/or omissions complained of in this lawsuit occurred in and around

18   Philadelphia, Pennsylvania. Therefore, pursuant to 42 Pa.C.S. § 931(c), venue is proper in the

19   Court of Common Pleas of Philadelphia County, First Judicial District of Pennsylvania.

20   Background Facts- Ploeger’s Enrollment and Initial Attendance

21          7.      All other paragraphs of this lawsuit are incorporated.

22          8.      PLOEGER suffers from auto-immune disease, depression, and anxiety.

23          9.      These conditions, of which she has a record, severely impair her activities of daily

24   living, including but not limited to, proper functioning of her immune system.

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 1          10.     In or around 2006, PLOEGER decided to attend college at PENN instead of

 2   Dartmouth College.

 3          11.     PLOEGER chose PENN over Dartmouth College due to PENN’s emphasis on

 4   student health and wellness, and specifically its statement that PENN’s health services were

 5   “free” and “very good” as well as similar statements made by PENN to PLOEGER regarding the

 6   superiority of their student health services.

 7          12.     PENN awarded PLOEGER a scholarship which covered a substantial amount of

 8   education expenses.

 9          13.     PLOEGER made her conditions known to PENN, through its’ “Disability

10   Services” (“SDS”) department, which granted her accommodation in the form of a leave of

11   absence for her conditions in Fall 2006 and Spring 2007.

12          14.     In Fall 2007, PLOEGER made an additional accommodation request for a leave

13   of absence, which was granted for Fall 2007 and Spring 2008.

14          15.     In Spring 2009, PLOEGER made an additional accommodation request for, inter

15   alia, testing modifications which was granted.

16   Background Facts- Penn’s Initial Discrimination, Assault, and Retaliation

17          16.     All other paragraphs of this lawsuit are incorporated.

18          17.     PLOEGER attempted to utilize PENN’s health and/or disability services, by way

19   of her seeking mental health treatment through PENN. In response, PENN employee Dr. William

20   Alexander (“ALEXANDER”) was assigned to PLOEGER for mental health care.

21          18.     On numerous occasions, ALEXANDER made his sexual interest in PLOEGER

22   known to PLOEGER. PLOEGER informed ALEXANDER that his interest was not reciprocated.

23   On at least one occasion, ALEXANDER touched PLOEGER’s body in the context of his

24   previously stated sexual interest in her.

25

26
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 1             19.   In 2009, due in part to ALEXANDER’s continued inappropriate attempts to

 2   sexually engage with his own patient, which he knew PLOEGER did not want, PLOEGER,

 3   unsuccessfully attempted suicide, by cutting her arms and wrists.

 4             20.   When ALEXANDER learned of PLOEGER’s suicide attempt, instead of

 5   providing counseling services, ALEXANDER told PLOEGER to “go home and put a band-aid

 6   on it.”

 7             21.   PLOEGER contacted PENN’s “Counseling and Psychological Services”

 8   (“CAPS”) department.

 9             22.   ALEXANDER was at the time, the Interim Director of CAPS.

10             23.   PENN refused to provide services to PLOEGER.

11             24.   In Spring 2009, PLOEGER had to request a leave of absence as an

12   accommodation, which was again granted by PENN.

13             25.   PLOEGER needed a leave of absence as an accommodation at that time, because

14   ALEXANDER, though thoroughly rebuffed by PLOEGER, continuously pursued a sexual

15   relationship with PLOEGER, and sexually battered her in his office during a “counseling”

16   session.

17             26.   ALEXANDER handled PLOEGER’s accommodation requests, and from Fall

18   2009 through Spring 2015 PLOEGER made accommodation requests, which PENN granted.

19             27.   In or around 2015, PLOEGER reported ALEXANDER’s inappropriate behavior

20   to PENN, including that in response to her 2015 suicide attempt via overdosing on pills,

21   ALEXANDER caused PLOEGER to be issued her another pill prescription instead of sending

22   her for further mental health treatment or otherwise providing same to her.

23             28.   Almost immediately after PLOEGER reported ALEXANDER to PENN,

24   ALEXANDER threatened PLOEGER because she reported his sexual and medical misconduct.

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 1          29.     PLOEGER further reported ALEXANDER to his supervisor, PENN employee

 2   Dr. Max King (“KING”), as well as Dr. Amy Guttman, PENN’s University President

 3   (“GUTTMAN”).

 4          30.     Almost immediately after PLOEGER reported ALEXANDER to KING and

 5   GUTTMAN, PLOEGER was informed by PENN that she would be arrested if she continued to

 6   make reports about ALEXANDER.

 7          31.     PLOEGER continued to pursue her rights to a learning environment free from

 8   sexual harassment and assault, as well as proper medical treatment, and insisted on having a

 9   meeting with PENN administrators to discuss her concerns about ALEXANDER.

10          32.     She was eventually able to meet with Hikaru Kozuma (“KOZUMA”) as well as

11   another unidentified female.

12          33.     During PLOEGER’s meeting with KOZUMA, during which PLOEGER was

13   threatened for complaining about ALEXANDER, PENN’s police department left their

14   jurisdiction (PENN’s campus) and traveled to PLOEGER’s off-campus and non-PENN affiliated

15   apartment.

16          34.     While at PLOEGER’s apartment, PENN’s police officers ransacked the

17   apartment. Immediately before the raid, PLOEGER had numerous items in her possession (by

18   way of their being kept in her apartment), specifically, the prescription for pills that

19   ALEXANDER sent her away with ad discussed supra, and an itemized list of grievances against

20   PENN. Immediately after the raid, those items were gone.

21          35.     Shortly before the Spring 2016 semester, PLOEGER sought to return to PENN

22   and finish her studies.

23          36.     In accordance with this plan, she sought the same accommodations which had

24   been granted in Fall 2008 and each time they were requested through the Spring 2015 semester.

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 1          37.     PLOEGER supported her request, with three medical opinions including a

 2   psychologist and a psychiatrist. In the past, she had only used one opinion, ALEXANDER’s.

 3          38.     Instead of granting the accommodations as it had in the past, based on

 4   PLOEGER’s medical opinions, PENN informed PLOEGER that in order to gain the sought-after

 5   accommodations, she would have to meet with SDS.

 6          39.     PLOEGER, terrified due to her previous meeting with PENN (during which she

 7   was threatened and PENN’s police ransacked her apartment without jurisdiction or probable

 8   cause, and in retaliation for her report against ALEXANDER) PLOEGER requested that she be

 9   allowed to bring an advocate/witness to the meeting.

10          40.     PENN refused PLOEGER’s request to have an advocate/witness present in the

11   meeting.

12          41.     PLOEGER declined a meeting with PENN under those conditions, specifically

13   that she could not have an advocate/witness present, and in response, PENN refused to grant her

14   requested accommodation, despite having granted the identical accommodation in the past

15   without the requirement to have a meeting at all.

16          42.     As the semester went on, PLOEGER, who had been denied her requested

17   accommodations grew desperate; she knew she needed the accommodations in order to be able

18   to access PENN’s educational programs.

19          43.     PLOEGER therefore made numerous calls to PENN’s SDS to meet “under any

20   terms” in order to gain the modifications that had been granted prior to her report about

21   ALEXANDER, but denied after her report about ALEXANDER.

22          44.     SDS did not return PLOEGER’s calls or otherwise offer any kind of assistance

23   to, inter alia, engage in the interactive process.

24          45.     Due to PENN’s refusal to communicate with PLOEGER regarding her requested

25   accommodations, even though she had acquiesced to PENN’s demand that she meet with SDS

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 1   and without an advocate/witness, PLOEGER dropped the semester since, without her requested

 2   accommodations she could not sit for her mid-terms, thus PLOEGER would have failed same.

 3          46.     In 2017, PLOEGER hired a lawyer to try to entice PENN to follow the law and

 4   cease retaliating against her.

 5          47.     On or about April 17, 2017, PLOEGER’s lawyer sent a letter to PENN

 6   stating, inter alia, that PLOEGER had a “dispute with [PENN]” which “arises from [PENN]’s

 7   Spring Semester 2016 rejection of [PLOEGER]’s request for accommodations for her medically

 8   diagnosed mental health disabilities. Accommodations for the same disability had been granted

 9   for prior semesters.”

10          48.     PLOEGER’s lawyer had numerous phone conferences with various PENN

11   officials, during which he, upon information and belief, further referenced PLOEGER’s denied

12   accommodations, as well as ALEXANDER’s predatory sexual behaviors as described in this

13   lawsuit.

14          49.     PLOEGER re-enrolled at PENN for the Spring 2018 semester. To re-enroll,

15   PLOEGER had to provide PENN with a “return from leave” letter. PENN accepted PLOEGER’s

16   letter and re-enrollment, but confronted her with a several hundred dollar fee (which had not

17   been demanded when she had previously returned from leave), and fearful of further retaliation,

18   PLOEGER did not sign up for classes.

19          50.     PLOEGER applied to be re-enrolled at PENN for the Fall 2018 semester, but

20   PENN, outright rejected PLOEGER’s re-enrollment despite that it was identical to her previous

21   re-enrollment paperwork which had been previously approved a few months earlier.

22   Facts of the Case

23          51.     All other paragraphs of this lawsuit are incorporated.

24          52.     PENN continued to stall and delay private discussions with PLOEGER’s lawyer,

25   and on April 1, 2020, PLOEGER filed a lawsuit against PENN.

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 1           53.      In her lawsuit (and subsequent amendments thereto), PLOEGER alleged, inter

 2   alia:

 3                 a. PENN sent her home with the pills she just tried to kill herself with

 4                 b. PENN threatened PLOEGER in response to her report against ALEXANDER;

 5                 c. PENN sent the police to PLOEGER’s apartment in response to her report against

 6                    ALEXANDER;

 7                 d. PENN refused to honor her accommodations or even engage in the interactive

 8                    process after she reported ALEXANDER; and

 9                 e. ALEXANDER caused PLOEGER distress by pursuing intimate contact with her,

10                    which she reported to ALEXANDER and higher authorities.

11           54.      When PLOEGER provided PENN with the same “return from leave” letter just

12   prior to the Fall 2021 semester (after suing PENN), PENN blocked the re-enrollment unless

13   PLOEGER paid thousands of dollars (as opposed to the hundreds of dollars demanded prior to

14   the filing of a lawsuit yet after the privately communicated protected activity, as compared to

15   after the public protected activity of a lawsuit in open court).

16           55.      PENN continues to block PLOEGER’s re-enrollment unless PLOEGER pays

17   thousands of dollars, which was only demanded after PLOEGER sued PENN, when prior to the

18   suit, PENN only demanded hundreds of dollars.

19           56.      These causes of action follow:

20                                                 COUNT I

21       (Incorporated and Clarified from PLOEGER’s September 15, 2020 Third Amended

22                                                Complaint)

23                             Pennsylvania Commonlaw Breach of Contract

24           57.      All other paragraphs of this lawsuit are incorporated.

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 1          58.      PLOEGER also incorporates ¶¶ 4-35 and 39-41 of her September 15, 2020

 2   Amended Complaint docketed in this case on September 16, 2020 at 9:28p.m., as subject to the

 3   Court’s November 24, 2020 Order, docketed in this case on November 24, 2020 at 4:10p.m.

 4   Said Amended Complaint ¶¶ 4-35 and 39-41 were Answered by PENN, subject to the

 5   November 24, 2020 Order on January 28, 2021 and docketed in this case on January 29, 2021

 6   at 11:29a.m.

 7          59.      A contract exists in this case, pursuant to PENN’s statements, accepted by

 8   PLOEGER, that PENN would provide PLOEGER with “free” and “very good” healthcare.

 9   Additionally, PENN promised, and PLOEGER accepted that PENN would provide:

10                a. “confidential free professional mental healthcare”;

11                b. “a core [PENN] priority” to “emphasize holistic health that considers safety,

12                   happiness, mental health, resilience, and financial well-being”;

13                c. “a dedicated team” that “is committed to the health and well-being of

14                   [PLOEGER], and providing safe, accessible, cost-effective, culturally-sensitive,

15                   and [PLOEGER]-focused care”;

16                d. “state-of-the-art medical and counseling centers” which are designed to

17                   “provide high-quality, compassionat (sic) care for [PLOEGER] during [her]

18                   academic journey”; and

19                e. “The bottom line? You [PLOEGER] are not alone. And there is hope.”

20          60.      PENN breached its promises to PLOEGER by:

21                a. ALEXANDER’s ignoring and mocking PLOEGER’s suicide attempts;

22                b. ALEXANDER trying to cause PLOEGER’s suicide;

23                c. PENN enabling ALEXANDER and covering for his behaviors towards

24                   PLOEGER;

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 1                d. PENN leaving PLOEGER under ALEXANDER’s control when she had already

 2                   reported ALEXANDER to PENN instead of providing the promised and

 3                   accepted “community of care.”

 4          61.      As a direct and proximate cause of PENN’s breaches as described in the

 5   previous two (2) paragraphs of this lawsuit, PLOEGER suffered injuries and is entitled to

 6   damages as follows:

 7                a. PENN’s promise to provide cost-effective (free) healthcare that emphasized

 8                   PLOEGER’s financial well-being was breached when PENN charged

 9                   PLOEGER for student health insurance premiums and interest for such times

10                   that PLOEGER was on a leave of absence in the amount as of May 12, 2022 of

11                   approximately $13,000.00;

12                b. PENN’s promise to provide free and very good healthcare was breached on

13                   numerous occasions when ALEXANDER behaved towards PLOEGER as

14                   described throughout this Lawsuit, and also when PENN refused to control

15                   ALEXANDER and/or otherwise cease ALEXANDER’s access to and control

16                   over PLOEGER, causing PLOEGER to take numerous leaves of absence,

17                   directly and proximately resulting in PLOEGER’s delay to enter her career field

18                   of actuarial mathematics, resulting in approximately $1,540,000.00 in lost

19                   wages.

20                c. PENN’s broken promises to PLOEGER have resulted in severe emotional

21                   distress for which PLOEGER treated and is treating. A mental health

22                   professional persisted in the sexual pursuit of his patient rather than providing

23                   the ”free” and “very good” healthcare promised by his employer, PENN,

24                   therefore, damages for said distress (to be determined by a jury) are available

25                   pursuant to, inter alia, Rittenhouse Regency Affiliates v. Passen, 482 A.2d

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 1                   1042, 1043 (Pa. Super. 1984)(“[ an exception to the general rule barring

 2                   emotional distress damages in a breach of contract action] occurs where the

 3                   breach is of such type that serious emotional disturbance is a particularly likely

 4                   result.”).

 5          WHEREFORE, the Plaintiff, APRIL PLOEGER, respectfully requests judgment be

 6   entered in her favor, and that damages be assessed as follows:

 7                a. $13,000.00 in payments and interest charged to PLOEGER for student health

 8                   insurance while she was on a leave of absence;

 9                b. $400,000.00 to cover tuition;

10                c. $1,540,000.00 in lost wage damages; and

11                d. Non-economic compensatory damages to be determined by the fact-finder at

12                   trial.

13                                               COUNT II

14                            (Dismissed pursuant to Preliminary Objections)

15                                               COUNT III

16                                        (First Amended Count)

17                            42 U.S.C. § 12182(A)(ii)- Failure to Accommodate

18          62.      All other paragraphs of this lawsuit are incorporated.

19          63.      PLOEGER put PENN on notice of her needs for accommodation as

20   demonstrated in ¶¶ 42-45 of this lawsuit.

21          64.      PENN denied PLOEGER’s requested accommodations as demonstrated in ¶¶

22   54-55 of this lawsuit.

23          65.      As a direct and proximate result of the denial of accommodations, despite notice

24   as demonstrated in ¶¶ 42-45 of this lawsuit, PLOEGER has been unable to receive

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 1   accommodations, and is therefore denied her rights under the ADA, and she is therefore

 2   entitled to injunctive relief as follows:

 3                 a. PENN must process and re-enroll PLOEGER for classes;

 4                 b. PENN must allow PLOEGER an advocate in any meetings with PENN related

 5                     to requests for accommodations;

 6                 c. PENN is prohibited from directing or otherwise allowing ALEXANDER to

 7                     participate in or otherwise influence any of PENN’s interactions with

 8                     PLOEGER; and

 9                 d. PENN must grant, at least, the accommodations that it has granted to

10                     PLOEGER in the past.

11                 e. PENN must pay PLOEGER’s reasonable attorney fees.

12                                                COUNT IV

13                                        (Second Amended Count)

14                 42 U.S.C. § 12182(A)(iii)- Failure to Engage in the Interactive Process

15           66.       All other paragraphs of this lawsuit are incorporated.

16           67.       PENN was on notice that PLOEGER required PENN to take steps as may have

17   been necessary to ensure that she was not excluded, denied services, or otherwise treated

18   differently related to PENN’s services as demonstrated in ¶¶ 42-45 of this lawsuit.

19           68.       Despite being on notice, PENN did not take any such steps as demonstrated in

20   ¶¶ 54-55 of this lawsuit.

21           69.       Alternatively, despite being on notice, PENN took only pretextual steps to

22   accommodate PLOEGER.

23           70.       As a direct and proximate result of PENN’s lack of action, despite notice as

24   demonstrated in ¶¶ 42-45 of this lawsuit, PLOEGER has been unable to receive

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 1   accommodations, and is therefore denied her rights under the ADA, and she is therefore

 2   entitled to injunctive relief as follows:

 3                 a. PENN must process and re-enroll PLOEGER for classes;

 4                 b. PENN must allow PLOEGER an advocate in any meetings with PENN related

 5                    to requests for accommodations;

 6                 c. PENN is prohibited from directing or otherwise allowing ALEXANDER to

 7                    participate in or otherwise influence any of PENN’s interactions with

 8                    PLOEGER; and

 9                 d. PENN must grant, at least, the accommodations that it has granted to

10                    PLOEGER in the past.

11                 e. PENN must pay PLOEGER’s reasonable attorney fees.

12                                                COUNT V

13                                        (Third Amended Count)

14                                     42 U.S.C. § 12203- Retaliation

15           71.      All other paragraphs of this lawsuit are incorporated.

16           72.      PLOEGER is a qualified individual under the Americans with Disabilities Act

17   as demonstrated in ¶¶ 8-9 of this lawsuit.

18           73.      PENN is a recipient of federal funds.

19           74.      PLOEGER engaged in protected activity as demonstrated in ¶¶ 13-15, 17, 21,

20   24, 26, 29, 31-33, 35-37, 39, 41, 43, 45, 47-50, 52-54 of this lawsuit.

21           75.      PLOEGER suffered adverse actions as demonstrated in ¶¶ 54-55 of this lawsuit.

22           76.      The adverse actions are causally connected to the protected activity as

23   demonstrated in ¶¶ 20, 22-23, 25-28, 30, 33-34, 36-41, 43-45, 47-50, 52, 54-55 of this lawsuit

24   which show an unduly suggestive temporal proximity and a pattern of antagonism between the

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 1   various instances of protected activity and the adverse actions identified in the previous

 2   paragraph of this lawsuit.

 3          77.     As a direct and proximate result of the adverse actions, PLOEGER was injured

 4   and is therefore entitled to nominal damages, as well as non-economic compensatory damages

 5   for emotional distress, humiliation, embarrassment, pain and suffering, and loss of enjoyment

 6   of life to be determined by a jury at trial, and reasonable attorney fees and costs.

 7                                              COUNT VI

 8                                       (Fourth Amended Count)

 9                                   20 U.S.C. § 1681(a)- Retaliation

10          78.     All other paragraphs of this lawsuit are incorporated.

11          79.     PLOEGER engaged in protected activity as demonstrated in ¶¶ 18, 27, 29, 31-

12   33, 47-48, 52-53 of this lawsuit.

13          80.     PLOEGER suffered adverse actions as demonstrated in ¶¶ 54-55 of this lawsuit.

14          81.     The adverse actions are causally connected to the protected activity as

15   demonstrated in ¶¶ 20-23, 26, 28, 30, 33-38, 40-41, 43-45, and 49-50 of this lawsuit which

16   show an unduly suggestive temporal proximity and a pattern of antagonism between the

17   various instances of protected activity and the adverse actions identified in the previous

18   paragraph of this lawsuit.

19          82.     As a direct and proximate result of the adverse actions, PLOEGER was injured

20   and is therefore entitled to nominal damages, as well as non-economic compensatory damages

21   for emotional distress, humiliation, embarrassment, pain and suffering, and loss of enjoyment

22   of life to be determined by a jury at trial and reasonable attorney fees and costs.

23                                              COUNT VII

24                                       (Fifth Amended Count)

25                         Pennsylvania Commonlaw Negligent Supervision

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 1           83.      All other paragraphs of this lawsuit are incorporated.

 2           84.      PENN has a duty and responsibility of care to, inter alia, PLOEGER, to

 3   reasonably supervise its employees to ensure that the performance of its employees’ duties are

 4   completed without violating the contractual and/or civil rights of, inter alia, PLOEGER.

 5           85.      PENN breached its duty and responsibility of care by allowing its employees to

 6   breach contracts, discriminate and retaliate against PLOEGER as demonstrated in Counts I and

 7   III-VI of this lawsuit.

 8           86.      As a direct and proximate result of PENN’s breach, PLOEGER was injured as

 9   follows:

10                 a. PLOEGER was billed for student health insurance premiums and interest for

11                    such times that PLOEGER was on a leave of absence in the amount as of May

12                    19, 2022 of approximately $16,000.00;

13                 b. Lost wages due to delay in graduation and entry into the workforce resulting in

14                    approximately $1,540,000.00 in lost wages; and

15                 c. Non-economic compensatory damages to be determined by the fact-finder at

16                    trial for emotional distress, humiliation, embarrassment, pain and suffering, and

17                    loss of enjoyment of life.

18                                                 COUNT VIII

19                                        (Sixth Amended Count)

20                                Pennsylvania Commonlaw Recklessness

21           87.      All other paragraphs of this lawsuit are incorporated.

22           88.      PENN’s recklessness in supervising it’s employees is demonstrated in ¶¶ 49-50,

23   54-55 which demonstrate that despite being on notice that its employees were being accused of

24   discriminating and retaliating against PLOEGER, PENN’s steps, if any, taken were insufficient

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 1   to prevent its employees from continuing to discriminate and retaliate against PLOEGER as

 2   demonstrated in ¶¶ 54-55 of this lawsuit.

 3          89.      As a direct and proximate result of PENN’s recklessness, PLOEGER was

 4   injured and is therefore entitled to damages as follows:

 5                a. PLOEGER was billed for student health insurance premiums and interest for

 6                   such times that PLOEGER was on a leave of absence in the amount as of May

 7                   12, 2022 of approximately $13,000.00;

 8                b. Lost wages due to delay in graduation and entry into the workforce resulting in

 9                   approximately $1,540,000.00 in lost wages;

10                c. Non-economic compensatory damages to be determined by the fact-finder at

11                   trial for emotional distress, humiliation, embarrassment, pain and suffering, and

12                   loss of enjoyment of life; and

13                d. Punitive damages to be determined by the fact-finder at trial to punish PENN

14                   for its actions and/or inactions towards PLOEGER, as well as to dissuade

15                   similarly situated entities from acting in a similar manner towards others.

16          WHEREFORE, Plaintiff respectfully requests Judgment against Defendant, jointly and

17   severally where appropriate, to include both economic and non-economic compensatory

18   damages to include emotional damages, humiliation, embarrassment, pain and suffering, and

19   loss of enjoyment of life, as well as punitive damages, attorney’s fees, and cost of suit as

20   requested in the above Counts.

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 1   Respectfully submitted on May 20, 2022

 2                                            THE TRIAL LAW FIRM, LLC

 3
                                      By:     ________________________
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                      EXHIBIT 7
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Case 2:22-cv-02389-JHS Document 1-1 Filed 06/17/22 Page 108 of 415




                                                   Filed and Attested by the
                                                  Office of Judicial Records
                                                      01 APR 2020 01:04 pm
                                                          A. SILIGRINI




                                                                Case ID: 200302766
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                      EXHIBIT 8
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                                                             Filed and Attested by the
 April Ploeger,                              :              Office of Judicial Records
                                             :                  15 MAY 2020 08:32 am
                                                 PHILADELPHIA COUNTY
                                Plaintiff,   :   COURT OF COMMON PLEASM. RUSSO
                                             :
        v.                                   :   MARCH TERM 2020
                                             :
 Trustees of the University of Pennsylvania, :   No: 2766
 d/b/a The University of Pennsylvania,       :
                                             :
                                  Defendant. :


                                        ORDER

      AND NOW this _______ day of ____________2020, upon consideration of the

Preliminary Objections to Plaintiff’s Complaint filed by Defendant, The Trustees of the

University of Pennsylvania, and any response thereto, it is hereby ORDERED that the

Preliminary Objections are hereby SUSTAINED, and the Complaint is dismissed, with

prejudice.



                                         BY THE COURT:



                                         _________________________________
                                                                         J.




                                                                                Case ID: 200302766
                                                                              Control No.: 20051113
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                                                 Notice to Plead to the Plaintiff:

                                                 You are hereby notified to file a
                                                 response to the within Preliminary
                                                 Objections within twenty (20) days
                                                 from service hereof or a judgment
                                                 may be entered against you.

                                                 /s/ Leslie M. Greenspan
                                                 Leslie M. Greenspan, Esquire
                                                 Attorney for Defendant

 TUCKER LAW GROUP, LLC
 Joe H. Tucker, Jr., Esquire (#56617)           ATTORNEYS FOR DEFENDANT,
 Leslie Miller Greenspan, Esquire (#91639)      THE TRUSTEES OF THE UNIVERSITY
 Dimitrios Mavroudis, Esquire (#93773)          OF PENNSYLVANIA
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                                             :
 April Ploeger,                              :     PHILADELPHIA COUNTY
                                             :     COURT OF COMMON PLEAS
                                Plaintiff,   :
                                             :     MARCH TERM 2020
        v.                                   :
                                             :     No: 2766
 Trustees of the University of Pennsylvania, :
 d/b/a The University of Pennsylvania,       :
                                             :
                                  Defendant. :

      PRELIMINARY OBJECTIONS OF DEFENDANT, THE TRUSTEES OF THE
         UNIVERSITY OF PENNSYLVANIA, TO PLAINTIFF’S COMPLAINT

       Defendant, The Trustees of the University of Pennsylvania (“Penn” or the

“University”), by and through its counsel, hereby files Preliminary Objections to Plaintiff’s

Complaint pursuant to Pa.R.Civ.P. 1028(a)(2), and in support thereof, avers as follows:




                                                                                   Case ID: 200302766
                                                                                 Control No.: 20051113
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I.     Relevant Facts

       1.     Plaintiff, who was admitted as an undergraduate student at Penn in the

Fall of 2006, asserts a breach of contract claim against Penn. (Complaint, attached as

Exhibit 1 at ¶¶ 3, 5.)

       2.     Plaintiff alleges that her health compelled her to take multiple leaves of

absence from Penn between 2006 and 2016 and that Penn granted those requests for

leave. (Id. at ¶¶ 6, 9,12.)

       3.     Plaintiff also alleges that during the semesters she did attend college at

Penn, Penn granted her “reasonable modifications” of its policies, including the “places

in which, and the amount of time during which, academic work could be completed at

the University.” (Id. at ¶¶ 8, 10-11, 13.)

       4.     Plaintiff avers that in the Spring of 2015, she attempted to commit suicide

by overdose and reported that suicide attempt to the University’s Counseling and

Psychological Services office (“CAPS”). (Id. at ¶¶ 14-15.)

       5.     According to the Complaint, the response from CAPS was to release

Plaintiff and prescribe more of the same medications on which she had overdosed. (Id.

at ¶ 16.)

       6.     Plaintiff claims that when she tried to meet with the University’s top

officials about CAPS’ response, she was threatened with arrest, and University police

entered her apartment. (Id. at ¶¶ 17-21.)

       7.     When Plaintiff sought to resume her studies in the Spring of 2016, she

claims that the University’s Students with Disabilities Services office refused to meet

with her “under conditions providing for [Plaintiff’s] sense of security during such



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meetings” and did not grant her the modifications she previously had been granted. (Id.

at ¶¶ 23-24.)

       8.       As a result, Plaintiff was unable to complete the Spring 2016 semester

and took a leave of absence. (Id. at ¶¶¶ 25-26.)

       9.       In the Conclusion section of the Complaint, Plaintiff makes her first

mention of a contract by generically pleading that “a material term of the contractual

provisions offered to [Plaintiff], provisions of the utmost necessity to [Plaintiff] and ones

which she accepted by her enrollment at the University, have been breached and

remain in breach.” (Id. at ¶ 32.)

       10.      Plaintiff does not identify the contract allegedly breached, does not identify

the “contractual provisions” allegedly breached, and does not attach any contracts or

other documents to the Complaint.

II.    Preliminary Objection Pursuant to Pa.R.C.P.1028(a)(2) Because Plaintiff
       Violates Pa.R.Civ.P. 1019(h) and (i) By Failing to Identify or Attach the
       Alleged Contract at Issue.

       11.      Penn moves to dismiss Plaintiff’s Complaint pursuant to

Pa.R.Civ.P.1028(a)(2), which provides that a party may preliminarily object to a

complaint for "failure . . . to conform to law or rule of court. " Pa.R.Civ.P.1028(a)(2).

       12.      Rule 1019(h) requires that, when any claim is based upon an agreement,

the pleading must state specifically if the agreement is oral or written. Pa.R.C.P.

1019(h).

       13.      The Official Note to Rule 1019(h) confirms that “[i]f the agreement is in

writing, it must be attached to the pleading.” Id., Official Note.

       14.      Pennsylvania Rule of Civil Procedure 1019(i) further provides:



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              When any claim or defense is based upon a writing, the
              pleader shall attach a copy of the writing, or the material part
              thereof, but if the writing or copy is not accessible to the
              pleader, it is sufficient so to state, together with the reason,
              and to set forth the substance in writing.

Pa. R.C.P. No. 1019(i).

       15.    In her Complaint, Plaintiff makes a single passing reference to “contractual

provisions” that were allegedly breached, but does not identify what contract or

contractual provisions were allegedly breached, nor does Plaintiff attach any documents

to the Complaint or account for their absence or whereabouts, as required by the

Pennsylvania Rules of Civil Procedure. (Complaint at ¶ 32.)

       16.    Penn cannot be expected to defend this lawsuit without even the most

basic notice of the contract and contractual provisions Plaintiff claims were breached.

       17.    Thus, Plaintiff’s breach of contract claim should be dismissed for failure to

conform to Rules 1019(h) and (i). See Precision Towers, Inc. v. Nat-Com, Inc., No.

2143, 2002 Phila. Ct. Com. Pl. LEXIS 16, *16 (Phila. C.C.P. Sept. 23, 2002) (Cohen, G.,

J.) (sustaining preliminary objection and dismissing contract claim for failure to attach a

writing pursuant to Rule 1019(h)); Gemini Bakery Equip. v. Baktek, No. 3204, 2005

Phila. Ct. Com. Pl. LEXIS 121, *8-9 (Phila. C.C.P. Apr. 11, 2005) (Abramson, J.)

(same).




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      WHEREFORE, Defendant, The Trustees of the University of Pennsylvania,

respectfully requests the Court to sustain its Preliminary Objections and dismiss

Plaintiff’s Complaint with prejudice. A proposed order is attached.



                                         Respectfully submitted,

                                         TUCKER LAW GROUP, LLC

Date: May 15, 2020                       /s/ Leslie M. Greenspan
                                         Joe H. Tucker, Jr., Esquire
                                         Leslie M. Greenspan, Esquire
                                         Dimitrios Mavroudis, Esquire
                                         Ten Penn Center
                                         1801 Market Street, Suite 2500
                                         Philadelphia, PA 19103
                                         (215) 875-0609

                                         Attorneys for Defendant,
                                         The Trustees of the University of Pennsylvania




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                                                                                Case ID: 200302766
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      TUCKER LAW GROUP, LLC
      Joe H. Tucker, Jr., Esquire (#56617)            ATTORNEYS FOR DEFENDANT,
      Leslie Miller Greenspan, Esquire (#91639)       THE TRUSTEES OF THE UNIVERSITY
      Dimitrios Mavroudis, Esquire (#93773)           OF PENNSYLVANIA
      Ten Penn Center
      1801 Market Street, Suite 2500
      Philadelphia, PA 19103
      (215) 875-0609
      jtucker@tlgattorneys.com
      lgreenspan@tlgattorneys.com
      dmavroudis@tlgattorneys.com

                                                  :
      April Ploeger,                              :     PHILADELPHIA COUNTY
                                                  :     COURT OF COMMON PLEAS
                                     Plaintiff,   :
                                                  :     MARCH TERM 2020
             v.                                   :
                                                  :     No: 2766
      Trustees of the University of Pennsylvania, :
      d/b/a The University of Pennsylvania,       :
                                                  :
                                       Defendant. :

         MEMORANDUM OF LAW IN SUPPORT OF PRELIMINARY OBJECTIONS OF
          DEFENDANT, THE TRUSTEES OF THE UNIVERSITY OF PENNSYLVANIA,
                           TO PLAINTIFF’S COMPLAINT

            Defendant, The Trustees of the University of Pennsylvania (“Penn” or the

     “University”), by and through its counsel, hereby files its Memorandum of Law in support

     of its Preliminary Objections to Plaintiff’s Complaint pursuant to Pa.R.Civ.P. 1028(a)(2)

     because the Complaint violates the Pennsylvania Rules of Civil Procedure by failing to

     identify or attach any contract allegedly breached.

I.          MATTER BEFORE THE COURT

            Before the Court are Defendant’s Preliminary Objections to Plaintiff’s Complaint

     based on Plaintiff’s failure to identify in – or attach to – the Complaint any contract

     allegedly breached.




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 II.      STATEMENT OF ISSUES PRESENTED

          Whether this Court should dismiss, pursuant to Pa.R.Civ.P.1028(a)(2), Plaintiff’s

   breach of contract claim for failure to identify or attach the writing(s) upon which the

   alleged contract was based, in violation of Rules 1019(h) and (i)?

          Suggested Answer: Yes.

III.      STATEMENT OF FACTS

          Plaintiff, who was admitted as an undergraduate student at Penn in the Fall of

   2006, asserts a breach of contract claim against Penn. (Complaint, attached as Exhibit

   1 at ¶¶ 3, 5.) Plaintiff alleges that her health compelled her to take multiple leaves of

   absence from Penn between 2006 and 2016 and that Penn granted those requests for

   leave. (Id. at ¶¶ 6, 9,12.) Plaintiff also alleges that during the semesters she did attend

   college at Penn, Penn granted her “reasonable modifications” of its policies, including

   the “places in which, and the amount of time during which, academic work could be

   completed at the University.” (Id. at ¶¶ 8, 10-11, 13.)

          Plaintiff avers that in the Spring of 2015, she attempted to commit suicide by

   overdose and reported that suicide attempt to the University’s Counseling and

   Psychological Services office (“CAPS”). (Id. at ¶¶ 14-15.) According to the Complaint,

   the response from CAPS was to release Plaintiff and prescribe more of the same

   medications on which she had overdosed. (Id. at ¶ 16.) Plaintiff claims that when she

   tried to meet with the University’s top officials about CAPS’ response, she was

   threatened with arrest, and University police entered her apartment. (Id. at ¶¶ 17-21.)




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When Plaintiff sought to resume her studies in the Spring of 2016, she claims that the

University’s Students with Disabilities Services office refused to meet with her “under

conditions providing for [Plaintiff’s] sense of security during such meetings” and did not

grant her the modifications she previously had been granted. (Id. at ¶¶ 23-24.) As a

result, Plaintiff was unable to complete the Spring 2016 semester and took a leave of

absence. (Id. at ¶¶¶ 25-26.)

       In the Conclusion section of the Complaint, Plaintiff makes her first mention of a

contract by generically pleading that “a material term of the contractual provisions

offered to [Plaintiff], provisions of the utmost necessity to [Plaintiff] and ones which she

accepted by her enrollment at the University, have been breached and remain in

breach.” (Id. at ¶ 32.) Plaintiff does not identify the contract allegedly breached, does

not identify the “contractual provisions” allegedly breached, and does not attach any

contracts or other documents to the Complaint.

IV.    LEGAL ARGUMENT

       Plaintiff’s Complaint Should Be Dismissed Pursuant to Pa.R.C.P.1028(a)(2),
       As Plaintiff Violates Pa.R.Civ.P. 1019(h) and (i) By Failing to Attach the
       Alleged Contract to the Complaint.

       Penn moves to dismiss Plaintiff’s Complaint pursuant to Pa.R.Civ.P.1028(a)(2),

which provides that a party may preliminarily object to a complaint for "failure . . . to

conform to law or rule of court. " Pa.R.Civ.P.1028(a)(2).

       Rule 1019(h) requires that, when any claim is based upon an agreement, the

pleading must state specifically if the agreement is oral or written. Pa.R.C.P. 1019(h).

The Official Note to Rule 1019(h) confirms that “[i]f the agreement is in writing, it must




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be attached to the pleading.” Id., Official Note. Pennsylvania Rule of Civil Procedure

1019(i) further provides:

              When any claim or defense is based upon a writing, the
              pleader shall attach a copy of the writing, or the material part
              thereof, but if the writing or copy is not accessible to the
              pleader, it is sufficient so to state, together with the reason,
              and to set forth the substance in writing.

Pa.R.C.P. No. 1019(i).

       In her Complaint, Plaintiff makes a single passing reference to “contractual

provisions” that were allegedly breached, but does not identify what contract or

contractual provisions were allegedly breached, nor does Plaintiff attach any documents

to the Complaint or account for their absence or whereabouts, as required by the

Pennsylvania Rules of Civil Procedure. (Complaint at ¶ 32.) Penn cannot be expected

to defend this lawsuit without even the most basic notice of the contract and contractual

provisions Plaintiff claims were breached. Thus, Plaintiff’s breach of contract claim

should be dismissed for failure to conform to Rules 1019(h) and (i). See Precision

Towers, Inc. v. Nat-Com, Inc., No. 2143, 2002 Phila. Ct. Com. Pl. LEXIS 16, *16 (Phila.

C.C.P. Sept. 23, 2002) (Cohen, G., J.) (sustaining preliminary objection and dismissing

contract claim for failure to attach a writing pursuant to Rule 1019(h)); Gemini Bakery

Equip. v. Baktek, No. 3204, 2005 Phila. Ct. Com. Pl. LEXIS 121, *8-9 (Phila. C.C.P. Apr.

11, 2005) (Abramson, J.) (same).




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V.    CONCLUSION

      For the foregoing reasons, Defendant, The Trustees of the University of

Pennsylvania, respectfully requests that the Court sustain its Preliminary Objections and

dismiss Plaintiff’s Complaint with prejudice. A proposed order is attached.



                                         Respectfully submitted,

                                         TUCKER LAW GROUP

Date: May 15, 2020                       /s/ Leslie M. Greenspan
                                         Joe H. Tucker, Jr., Esquire
                                         Leslie M. Greenspan, Esquire
                                         Dimitrios Mavroudis, Esquire
                                         Ten Penn Center
                                         1801 Market Street, Suite 2500
                                         Philadelphia, PA 19103
                                         (215) 875-0609

                                         Attorneys for Defendant,
                                         The Trustees of the University of Pennsylvania




                                            5
                                                                                Case ID: 200302766
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                           CERTIFICATE OF COMPLIANCE

      I certify that this filing complies with the provisions of the Public Access Policy of

the Unified Judicial System of Pennsylvania, Case Records of the Appellate and Trial

Courts that require filing confidential information and documents differently than non-

confidential information and documents.



                                                TUCKER LAW GROUP, LLC



 Dated: May 15, 2020                            /s/ Leslie M. Greenspan
                                                Leslie M. Greenspan, Esquire




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                                CERTIFICATE OF SERVICE

       I, Leslie M. Greenspan, Esquire, hereby certify that on May 15, 2020, a copy of

the foregoing was filed electronically. Notice of this filing will be sent to all parties by

operation of the Court’s electronic filing system. Parties may access this filing through

the Court’s system.



                                                  TUCKER LAW GROUP, LLC



 Dated: May 15, 2020                              /s/ Leslie M. Greenspan
                                                  Leslie M. Greenspan, Esquire




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     EXHIBIT 1




                                                               Case ID: 200302766
                                                             Control No.: 20051113
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                                                   Filed and Attested by the
                                                  Office of Judicial Records
                                                      01 APR 2020 01:04 pm
                                                          A. SILIGRINI




                                                               Case ID: 200302766
                                                             Control No.: 20051113
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                                                               Case ID: 200302766
                                                             Control No.: 20051113
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                                                               Case ID: 200302766
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                                                               Case ID: 200302766
                                                             Control No.: 20051113
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                                                             Control No.: 20051113
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                                                               Case ID: 200302766
                                                             Control No.: 20051113
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                                                             Control No.: 20051113
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                                                              Filed and Attested by the
 April Ploeger,                              :               Office of Judicial Records
                                             :                   24 JUN 2020 12:16 pm
                                                  PHILADELPHIA COUNTY
                                Plaintiff,   :    COURT OF COMMON PLEASE. HAURIN
                                             :
        v.                                   :    MARCH TERM 2020
                                             :
 Trustees of the University of Pennsylvania, :    No: 2766
 d/b/a The University of Pennsylvania,       :
                                             :
                                  Defendant. :


                                          ORDER

      AND NOW this _______ day of ____________2020, upon consideration of the

Preliminary Objections to Plaintiff’s Amended Complaint filed by Defendant, The

Trustees of the University of Pennsylvania, and any response thereto, it is hereby

ORDERED that the Preliminary Objections are hereby SUSTAINED, and the Amended

Complaint is dismissed, with prejudice.



                                          BY THE COURT:



                                          _________________________________
                                                                          J.




                                                                                Case ID: 200302766
                                                                              Control No.: 20061787
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                                                 Notice to Plead to the Plaintiff:

                                                 You are hereby notified to file a
                                                 response to the within Preliminary
                                                 Objections within twenty (20) days
                                                 from service hereof or a judgment
                                                 may be entered against you.

                                                 /s/ Leslie M. Greenspan
                                                 Leslie M. Greenspan, Esquire
                                                 Attorney for Defendant

 TUCKER LAW GROUP, LLC
 Joe H. Tucker, Jr., Esquire (#56617)           ATTORNEYS FOR DEFENDANT,
 Leslie Miller Greenspan, Esquire (#91639)      THE TRUSTEES OF THE UNIVERSITY
 Dimitrios Mavroudis, Esquire (#93773)          OF PENNSYLVANIA
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 (215) 875-0609
 jtucker@tlgattorneys.com
 lgreenspan@tlgattorneys.com
 dmavroudis@tlgattorneys.com

                                             :
 April Ploeger,                              :    PHILADELPHIA COUNTY
                                             :    COURT OF COMMON PLEAS
                                Plaintiff,   :
                                             :    MARCH TERM 2020
        v.                                   :
                                             :    No: 2766
 Trustees of the University of Pennsylvania, :
 d/b/a The University of Pennsylvania,       :
                                             :
                                  Defendant. :

     PRELIMINARY OBJECTIONS OF DEFENDANT, THE TRUSTEES OF THE
    UNIVERSITY OF PENNSYLVANIA, TO PLAINTIFF’S AMENDED COMPLAINT

       Defendant, The Trustees of the University of Pennsylvania (“Penn” or the

“University”), by and through its counsel, hereby files Preliminary Objections to Plaintiff’s

Amended Complaint pursuant to Pa.R.Civ.P. 1028(a)(2), and in support thereof, avers

as follows:



                                                                                   Case ID: 200302766
                                                                                 Control No.: 20061787
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I.     Relevant Facts

       1.     Plaintiff, who was admitted as an undergraduate student at Penn in the

Fall of 2006, asserts a breach of contract claim against Penn. (Amended Complaint,

attached as Exhibit 1 at ¶¶ 3, 5.)

       2.     Plaintiff alleges that her health compelled her to take multiple leaves of

absence from Penn between 2006 and 2016 and that Penn granted those requests for

leave. (Id. at ¶¶ 6, 9,12.)

       3.     Plaintiff also alleges that during the semesters she did attend college at

Penn, Penn granted her “reasonable modifications” of its policies, including the “places

in which, and the amount of time during which, academic work could be completed at

the University.” (Id. at ¶¶ 8, 10-11, 13.)

       4.     Plaintiff avers that in the Spring of 2015, she attempted to commit suicide

by overdose and reported that suicide attempt to the University’s Counseling and

Psychological Services office (“CAPS”). (Id. at ¶¶ 14-15.)

       5.     According to the Amended Complaint, the response from CAPS was to

release Plaintiff and prescribe more of the same medications on which she had

overdosed. (Id. at ¶ 16.)

       6.     Plaintiff claims that when she tried to meet with the University’s top

officials about CAPS’ response, she was threatened with arrest, and University police

entered her apartment. (Id. at ¶¶ 17-21.)

       7.     When Plaintiff sought to resume her studies in the Spring of 2016, she

claims that the University’s Students with Disabilities Services office refused to meet



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with her “under conditions providing for [Plaintiff’s] sense of security during such

meetings” and did not grant her the modifications she previously had been granted. (Id.

at ¶¶ 23-24.)

       8.       As a result, Plaintiff was unable to complete the Spring 2016 semester

and took a leave of absence. (Id. at ¶¶¶ 25-26.)

       9.       In the Conclusion section of the Amended Complaint, Plaintiff makes her

first mention of a contract by generically pleading that “a material term of the contractual

provisions offered to [Plaintiff], provisions of the utmost necessity to [Plaintiff] and ones

which she accepted by her enrollment at the University, have been breached and

remain in breach.” (Id. at ¶ 32.)

       10.      The only difference between the original Complaint and the Amended

Complaint is the addition of paragraph 32(b) and Exhibit A, which purports to be the

contract that was breached.

       11.      Exhibit A is a print-out from Penn’s website about Health and Wellness

and includes resources available to the Penn community, including CAPS.

       12.      Exhibit A, however, does not contain any contractual language or

promises upon which Plaintiff relies in this case.

       13.      Therefore, the Amended Complaint does not cure the legal deficiency

raised in Penn’s initial set of Preliminary Objections.

       14.      It is not enough to attach a document to the Amended Complaint; rather,

the document must be a contract between the parties that was allegedly breached.




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II.    Preliminary Objection Pursuant to Pa.R.C.P.1028(a)(2) Because Plaintiff
       Violates Pa.R.Civ.P. 1019(h) and (i) By Failing to Attach a Contract that was
       Allegedly Breached.

       15.    Penn moves to dismiss Plaintiff’s Amended Complaint pursuant to

Pa.R.Civ.P.1028(a)(2), which provides that a party may preliminarily object to a

complaint for "failure . . . to conform to law or rule of court. " Pa.R.Civ.P.1028(a)(2).

       16.    Rule 1019(h) requires that, when any claim is based upon an agreement,

the pleading must state specifically if the agreement is oral or written. Pa.R.C.P.

1019(h).

       17.    The Official Note to Rule 1019(h) confirms that “[i]f the agreement is in

writing, it must be attached to the pleading.” Id., Official Note.

       18.    Pennsylvania Rule of Civil Procedure 1019(i) further provides:

              When any claim or defense is based upon a writing, the
              pleader shall attach a copy of the writing, or the material part
              thereof, but if the writing or copy is not accessible to the
              pleader, it is sufficient so to state, together with the reason,
              and to set forth the substance in writing.

Pa. R.C.P. No. 1019(i).

       19.    In the Amended Complaint, Plaintiff makes a single passing reference to

“contractual provisions” that were allegedly breached.

       20.    Contrary to the original Complaint, which contained no identification of a

contract or attachment at all, the Amended Complaint includes an attached document.

But the attached document does not include any contract or promises upon which

Plaintiff claims to rely. (Amended Complaint at ¶ 32(b) and Exhibit A.)

       21.    It is not enough to attach a document to the Amended Complaint; rather,

the document must be a contract between the parties that was allegedly breached.



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       22.    Exhibit A to the Amended Complaint is simply a list of health and wellness

services provided by Penn. Exhibit A does not contain any contract or promises to

Plaintiff, nor does Plaintiff allege what services listed in Exhibit A Penn allegedly did not

provide (assuming that is the allegation).

       23.    Thus, Plaintiff’s breach of contract claim should be dismissed for failure to

conform to Rules 1019(h) and (i). See Precision Towers, Inc. v. Nat-Com, Inc., No.

2143, 2002 Phila. Ct. Com. Pl. LEXIS 16, *16 (Phila. C.C.P. Sept. 23, 2002) (Cohen, G.,

J.) (sustaining preliminary objection and dismissing contract claim for failure to attach a

writing pursuant to Rule 1019(h)); Gemini Bakery Equip. v. Baktek, No. 3204, 2005

Phila. Ct. Com. Pl. LEXIS 121, *8-9 (Phila. C.C.P. Apr. 11, 2005) (Abramson, J.)

(same).

       WHEREFORE, Defendant, The Trustees of the University of Pennsylvania,

respectfully requests the Court to sustain its Preliminary Objections and dismiss

Plaintiff’s Amended Complaint with prejudice. A proposed order is attached.



                                             Respectfully submitted,

                                             TUCKER LAW GROUP, LLC

Date: June 24, 2020                          /s/ Leslie M. Greenspan
                                             Joe H. Tucker, Jr., Esquire
                                             Leslie M. Greenspan, Esquire
                                             Dimitrios Mavroudis, Esquire
                                             Ten Penn Center
                                             1801 Market Street, Suite 2500
                                             Philadelphia, PA 19103
                                             (215) 875-0609

                                             Attorneys for Defendant,
                                             The Trustees of the University of Pennsylvania



                                               5
                                                                                    Case ID: 200302766
                                                                                  Control No.: 20061787
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     TUCKER LAW GROUP, LLC
     Joe H. Tucker, Jr., Esquire (#56617)        ATTORNEYS FOR DEFENDANT,
     Leslie Miller Greenspan, Esquire (#91639)   THE TRUSTEES OF THE UNIVERSITY
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     jtucker@tlgattorneys.com
     lgreenspan@tlgattorneys.com
     dmavroudis@tlgattorneys.com

                                                 :
     April Ploeger,                              :   PHILADELPHIA COUNTY
                                                 :   COURT OF COMMON PLEAS
                                    Plaintiff,   :
                                                 :   MARCH TERM 2020
            v.                                   :
                                                 :   No: 2766
     Trustees of the University of Pennsylvania, :
     d/b/a The University of Pennsylvania,       :
                                                 :
                                      Defendant. :

        MEMORANDUM OF LAW IN SUPPORT OF PRELIMINARY OBJECTIONS OF
         DEFENDANT, THE TRUSTEES OF THE UNIVERSITY OF PENNSYLVANIA,
                     TO PLAINTIFF’S AMENDED COMPLAINT

          Defendant, The Trustees of the University of Pennsylvania (“Penn” or the

 “University”), by and through its counsel, hereby files its Memorandum of Law in support

 of its Preliminary Objections to Plaintiff’s Amended Complaint pursuant to Pa.R.Civ.P.

 1028(a)(2) because the Amended Complaint violates the Pennsylvania Rules of Civil

 Procedure by failing to attach any contract allegedly breached.

I.        MATTER BEFORE THE COURT

          Before the Court are Defendant’s Preliminary Objections to Plaintiff’s Amended

 Complaint based on Plaintiff’s failure to attach to the Amended Complaint any contract

 allegedly breached.




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II.       STATEMENT OF ISSUES PRESENTED

          Whether this Court should dismiss, pursuant to Pa.R.Civ.P.1028(a)(2), Plaintiff’s

   breach of contract claim for failure to attach the writing(s) upon which the alleged

   contract was based, in violation of Rules 1019(h) and (i)?

          Suggested Answer: Yes.

III.      STATEMENT OF FACTS

          Plaintiff, who was admitted as an undergraduate student at Penn in the Fall of

   2006, asserts a breach of contract claim against Penn. (Amended Complaint, attached

   as Exhibit 1 at ¶¶ 3, 5.) Plaintiff alleges that her health compelled her to take multiple

   leaves of absence from Penn between 2006 and 2016 and that Penn granted those

   requests for leave. (Id. at ¶¶ 6, 9,12.) Plaintiff also alleges that during the semesters

   she did attend college at Penn, Penn granted her “reasonable modifications” of its

   policies, including the “places in which, and the amount of time during which, academic

   work could be completed at the University.” (Id. at ¶¶ 8, 10-11, 13.)

          Plaintiff avers that in the Spring of 2015, she attempted to commit suicide by

   overdose and reported that suicide attempt to the University’s Counseling and

   Psychological Services office (“CAPS”). (Id. at ¶¶ 14-15.) According to the Amended

   Complaint, the response from CAPS was to release Plaintiff and prescribe more of the

   same medications on which she had overdosed. (Id. at ¶ 16.) Plaintiff claims that when

   she tried to meet with the University’s top officials about CAPS’ response, she was

   threatened with arrest, and University police entered her apartment. (Id. at ¶¶ 17-21.)




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When Plaintiff sought to resume her studies in the Spring of 2016, she claims that the

University’s Students with Disabilities Services office refused to meet with her “under

conditions providing for [Plaintiff’s] sense of security during such meetings” and did not

grant her the modifications she previously had been granted. (Id. at ¶¶ 23-24.) As a

result, Plaintiff was unable to complete the Spring 2016 semester and took a leave of

absence. (Id. at ¶¶¶ 25-26.)

       In the Conclusion section of the Amended Complaint, Plaintiff makes her first

mention of a contract by generically pleading that “a material term of the contractual

provisions offered to [Plaintiff], provisions of the utmost necessity to [Plaintiff] and ones

which she accepted by her enrollment at the University, have been breached and

remain in breach.” (Id. at ¶ 32.)

       The only difference between the original Complaint and the Amended Complaint

is the addition of paragraph 32(b) and Exhibit A, which purports to be the contract that

was breached. Exhibit A is a print-out from Penn’s website about Health and Wellness

and includes resources available to the Penn community, including CAPS. Exhibit A,

however, does not contain any contractual language or promises upon which Plaintiff

relies in this case. Therefore, the Amended Complaint does not cure the legal deficiency

raised in Penn’s initial set of Preliminary Objections. It is not enough to attach a

document to the Amended Complaint; rather, the document must be a contract between

the parties that was allegedly breached.




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IV.    LEGAL ARGUMENT

       Plaintiff’s Amended Complaint Should Be Dismissed Pursuant to
       Pa.R.C.P.1028(a)(2), As Plaintiff Violates Pa.R.Civ.P. 1019(h) and (i) By
       Failing to Attach a Contract to the Amended Complaint.

       Penn moves to dismiss Plaintiff’s Amended Complaint pursuant to

Pa.R.Civ.P.1028(a)(2), which provides that a party may preliminarily object to a

complaint for "failure . . . to conform to law or rule of court. " Pa.R.Civ.P.1028(a)(2).

       Rule 1019(h) requires that, when any claim is based upon an agreement, the

pleading must state specifically if the agreement is oral or written. Pa.R.C.P. 1019(h).

The Official Note to Rule 1019(h) confirms that “[i]f the agreement is in writing, it must

be attached to the pleading.” Id., Official Note. Pennsylvania Rule of Civil Procedure

1019(i) further provides:

              When any claim or defense is based upon a writing, the
              pleader shall attach a copy of the writing, or the material part
              thereof, but if the writing or copy is not accessible to the
              pleader, it is sufficient so to state, together with the reason,
              and to set forth the substance in writing.

Pa.R.C.P. No. 1019(i).

       In her Amended Complaint, Plaintiff makes a single passing reference to

“contractual provisions” that were allegedly breached. (Amended Complaint at ¶ 32.)

Contrary to the original Complaint, which contained no identification of a contract or

attachment at all, the Amended Complaint includes an attached document. But the

attached document does not include any contract or promises upon which Plaintiff

claims to rely. (Amended Complaint at ¶ 32(b) and Exhibit A.) It is not enough to attach

a document to the Complaint; rather, the document must be a contract between the

parties that was allegedly breached. Exhibit A to the Amended Complaint is simply a



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list of health and wellness services provided by Penn. Exhibit A does not contain any

contract or promises to Plaintiff, nor does Plaintiff allege what services listed in Exhibit A

Penn allegedly did not provide (assuming that is the allegation).

       Thus, Plaintiff’s breach of contract claim should be dismissed for failure to

conform to Rules 1019(h) and (i). See Precision Towers, Inc. v. Nat-Com, Inc., No.

2143, 2002 Phila. Ct. Com. Pl. LEXIS 16, *16 (Phila. C.C.P. Sept. 23, 2002) (Cohen, G.,

J.) (sustaining preliminary objection and dismissing contract claim for failure to attach a

writing pursuant to Rule 1019(h)); Gemini Bakery Equip. v. Baktek, No. 3204, 2005

Phila. Ct. Com. Pl. LEXIS 121, *8-9 (Phila. C.C.P. Apr. 11, 2005) (Abramson, J.)

(same).

V.     CONCLUSION

       For the foregoing reasons, Defendant, The Trustees of the University of

Pennsylvania, respectfully requests that the Court sustain its Preliminary Objections and

dismiss Plaintiff’s Amended Complaint with prejudice. A proposed order is attached.



                                           Respectfully submitted,

                                           TUCKER LAW GROUP

Date: June 24, 2020                        /s/ Leslie M. Greenspan
                                           Joe H. Tucker, Jr., Esquire
                                           Leslie M. Greenspan, Esquire
                                           Dimitrios Mavroudis, Esquire
                                           Ten Penn Center
                                           1801 Market Street, Suite 2500
                                           Philadelphia, PA 19103
                                           (215) 875-0609

                                           Attorneys for Defendant,
                                           The Trustees of the University of Pennsylvania



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                           CERTIFICATE OF COMPLIANCE

      I certify that this filing complies with the provisions of the Public Access Policy of

the Unified Judicial System of Pennsylvania, Case Records of the Appellate and Trial

Courts that require filing confidential information and documents differently than non-

confidential information and documents.



                                          TUCKER LAW GROUP, LLC


                                          /s/ Leslie M. Greenspan
                                          Leslie M. Greenspan, Esquire




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                                CERTIFICATE OF SERVICE

       I, Leslie M. Greenspan, Esquire, hereby certify that on May 15, 2020, a copy of

the foregoing was filed electronically. Notice of this filing will be sent to all parties by

operation of the Court’s electronic filing system. Parties may access this filing through

the Court’s system.



                                                  TUCKER LAW GROUP, LLC


 Dated: June 24, 2020                             /s/ Leslie M. Greenspan
                                                  Leslie M. Greenspan, Esquire




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     EXHIBIT 1




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                                                   Filed and Attested by the
                                                  Office of Judicial Records
                                                      04 JUN 2020 07:35 pm
                                                            M. RUSSO




                                                               Case ID: 200302766
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                                                           Filed and Attested by the
                                                          Office of Judicial Records
                        CERTIFICATE OF SERVICE                04 JUN 2020 07:35 pm
                                                                    M. RUSSO
       I certify that on June 4, 2020, I caused a true and correct copy of the
foregoing First Amended Complaint to be served upon Defendant’s counsel of
record, Leslie M. Greenspan, Esquire, by first class mail, postage prepaid, at
the following address:


      Leslie M. Greenspan, Esquire
      TUCKER LAW GROUP
      Ten Penn Center
      1801 Market Street, Suite 2500
      Philadelphia PA 19103

      and:

      By e-mail attachment sent to lgreenspan@tlgattorneys.com


                                                   /s/E. Daniel Larkin
                                                   E. Daniel Larkin
                                                   742 S. Latches Lane
                                                   Merion PA 19066
                                                   610.660.5201




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                                                             Filed and Attested by the
 April Ploeger,                              :              Office of Judicial Records
                                             :                  26 AUG 2020 10:15 am
                                                 PHILADELPHIA COUNTY
                                Plaintiff,   :   COURT OF COMMON PLEASM. RUSSO
                                             :
        v.                                   :   MARCH TERM 2020
                                             :
 Trustees of the University of Pennsylvania, :   No: 2766
 d/b/a The University of Pennsylvania,       :
                                             :
                                  Defendant. :


                                        ORDER

      AND NOW this _______ day of ____________2020, upon consideration of the

Preliminary Objections to Plaintiff’s Second Amended Complaint filed by Defendant,

The Trustees of the University of Pennsylvania, and any response thereto, it is hereby

ORDERED that the Preliminary Objections are hereby SUSTAINED, and the Second

Amended Complaint is dismissed, with prejudice.



                                        BY THE COURT:



                                        _________________________________
                                                                        J.




                                                                               Case ID: 200302766
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                                                 Notice to Plead to the Plaintiff:

                                                 You are hereby notified to file a
                                                 response to the within Preliminary
                                                 Objections within twenty (20) days
                                                 from service hereof or a judgment
                                                 may be entered against you.

                                                 /s/ Leslie Miller Greenspan
                                                 Leslie Miller Greenspan, Esquire
                                                 Attorney for Defendant

 TUCKER LAW GROUP, LLC
 Joe H. Tucker, Jr., Esquire (#56617)           ATTORNEYS FOR DEFENDANT,
 Leslie Miller Greenspan, Esquire (#91639)      THE TRUSTEES OF THE UNIVERSITY
 Dimitrios Mavroudis, Esquire (#93773)          OF PENNSYLVANIA
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 jtucker@tlgattorneys.com
 lgreenspan@tlgattorneys.com
 dmavroudis@tlgattorneys.com

                                             :
 April Ploeger,                              :     PHILADELPHIA COUNTY
                                             :     COURT OF COMMON PLEAS
                                Plaintiff,   :
                                             :     MARCH TERM 2020
        v.                                   :
                                             :     No: 2766
 Trustees of the University of Pennsylvania, :
 d/b/a The University of Pennsylvania,       :
                                             :
                                  Defendant. :

                  PRELIMINARY OBJECTIONS OF DEFENDANT,
             THE TRUSTEES OF THE UNIVERSITY OF PENNSYLVANIA,
                TO PLAINTIFF’S SECOND AMENDED COMPLAINT

       Defendant, The Trustees of the University of Pennsylvania (“Penn” or the

“University”), by and through its counsel, hereby files Preliminary Objections to Plaintiff’s

Second Amended Complaint pursuant to Pa.R.Civ.P. 1028(a)(2) and 1028(a)(4). After




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three iterations of the Complaint, Plaintiff still has failed to cure the most basic

deficiency of his breach of contract claim – the identification and attachment of a

contract or contractual provision that was breached. In support of the Preliminary

Objections, Penn avers as follows:

I.     Relevant Facts

       1.     Plaintiff, who was admitted as an undergraduate student at Penn in the

Fall of 2006, asserts a breach of contract claim against Penn. (Second Amended

Complaint, attached as Exhibit 1 at ¶ 3.)

       2.     Plaintiff alleges that her health compelled her to take multiple leaves of

absence from Penn between 2006 and 2016 and that Penn granted those requests for

leave. (Id. at ¶¶ 11, 14, 17.)

       3.     Plaintiff also alleges that during the semesters she did attend college at

Penn, Penn granted her “reasonable modifications” of its policies, including the “places

in which, and the amount of time during which, academic work could be completed at

the University.” (Id. at ¶¶ 13, 16, 18.)

       4.     Plaintiff avers that in the Spring of 2015, she attempted to commit suicide

by overdose and reported that suicide attempt to the University’s Counseling and

Psychological Services office (“CAPS”). (Id. at ¶ 21.)

       5.     According to the Second Amended Complaint, the response from CAPS

was to release Plaintiff and prescribe more of the same medications on which she had

overdosed. (Id.)




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         6.    Plaintiff claims that when she tried to meet with the University’s top

officials about CAPS’ response, she was threatened with arrest, and University police

entered her apartment. (Id. at ¶¶ 25-26.)

         7.    When Plaintiff sought to resume her studies in the Spring of 2016, she

claims that the University’s Students with Disabilities Services office refused to meet

with her and did not grant her the modifications she previously had been granted. (Id. at

¶ 27.)

         8.    As a result, Plaintiff claims that she was unable to complete the Spring

2016 semester. (Id. at ¶ 28.)

         9.    In the Conclusion section of the Second Amended Complaint, Plaintiff

makes her first mention of “a contract” by generically pleading that “a material term of

the contractual provisions offered to [Plaintiff], provisions of the utmost necessity to

[Plaintiff] and ones which she accepted by her enrollment at the University, have been

breached and remain in breach.” (Id. at ¶ 34.)

         10.   The only pertinent difference between the First Amended Complaint and

the Second Amended Complaint is that the Second Amended Complaint does not

attach any writing (or contract), but instead references “Exhibit A” to the First Amended

Complaint. (Id. at ¶ 34(b).)

         11.   Exhibit A to the First Amended Complaint is a print-out from Penn’s

website about Health and Wellness and includes resources available to the Penn

community, including CAPS.

         12.   Exhibit A, however, does not contain any contractual language or

promises upon which Plaintiff relies in this case.



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       13.    Therefore, the Second Amended Complaint does not cure the legal

deficiency raised in both of Penn’s prior sets of Preliminary Objections, and even yields

additional deficiencies that cannot be cured by further amendment.

       14.    It is now time to dismiss all of Plaintiff’s claims, with prejudice.

       A. Preliminary Objection Pursuant to Pa.R.C.P.1028(a)(4), As the Second
          Amended Complaint’s Breach of Contract and Alternative Equitable
          Estoppel Claims Are on the Face of the Pleading Clearly Barred by the
          Applicable Statute of Limitations.

       15.    A court may sustain a preliminary objection asserting a statute of

limitations defense if the defense is “clear on the face of the pleadings.” Scavo v. Old

Forge Borough, 978 A.2d 1076, 1078 (Pa. Commw. Ct. 2009).

       16.    Here, Plaintiff avers that the majority of Penn’s contract breaches occurred

in 2007, 2008, and 2015. Exhibit 1 at ¶¶ 20, 21, 23, 25.

       17.    All such allegations are time-barred on the face of the Complaint, as this

case was not filed until April 1, 2020.

       18.    Plaintiff makes only one allegation that is potentially (but not clearly)

timely, generically referencing the year 2016 but providing no specific month or day for

the alleged conduct. Id. at ¶¶ 27-28.

       19.    Even that allegation (addressed in more detail below), however, lacks any

specificity about the alleged contract that Penn breached. Id.

       20.    The statute of limitations applicable to breach of contract and equitable

estoppel claims in Pennsylvania is four-years. See, 42 Pa.C.S. § 5525; Thatcher's Drug

Store v. Consolidated Supermarkets, 636 A.2d 156, 163 (Pa. 1994); Crouse v. Cyclops

Indus., 745 A.2d 606 (Pa. 2000).

       21.    Therefore, it is clear on the face of the Second Amended Complaint that

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Plaintiff’s claims – which range back to as early as 2005 – are time-barred by 42 Pa.

C.S. § 5525.

       22.     Moreover, to the extent that Plaintiff attempts to “back door” a medical

malpractice claim by her averments that Penn’s physicians negligently treated her in

2007, 2008 and 2015,1 so too is this claim barred by 42 Pa.C.S. § 5524(2) (applying a

two-year statute of limitations to medical malpractice actions). See also Stephenson v.

Greenberg, 617 A.2d 364 (Pa. Super. Ct. 1992) (no error in granting hospital’s

preliminary objections where medical malpractice action was barred by the two-year-

statute of limitations).

       23.     As such, Penn’s preliminary objection in the nature of a demurrer to the

Second Amended Complaint should be sustained, and the Second Amended Complaint

should be dismissed in its entirety, with prejudice.

       B. Preliminary Objection Pursuant to Pa.R.C.P.1028(a)(2) to Plaintiff’s
          Breach of Contract Claim, As Plaintiff Violates Pa.R.Civ.P. 1019(h) and
          (i) By Failing to Attach a Contract to the Second Amended Complaint.

       9.      Penn moves to dismiss Plaintiff’s Second Amended Complaint pursuant to

Pa.R.Civ.P.1028(a)(2), which provides that a party may preliminarily object to a

complaint for "failure . . . to conform to law or rule of court. " Pa.R.Civ.P.1028(a)(2).

       10.     Rule 1019(h) requires that, when any claim is based upon an agreement,

the pleading must state specifically if the agreement is oral or written. Pa.R.C.P.

1019(h). The Official Note to Rule 1019(h) confirms that “[i]f the agreement is in writing,




1 See Exhibit 1 at ¶¶ 19, 20, 21, 22, 23, 24. Plaintiff does not fashion a separate count
for Medical Malpractice in the Second Amended Complaint or meet the other pleading
requirements for asserting a medical malpractice claim. See, e.g., Pa. R. Civ. P.
1042.2.
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it must be attached to the pleading.” Id., Official Note. Pennsylvania Rule of Civil

Procedure 1019(i) further provides:

              When any claim or defense is based upon a writing, the
              pleader shall attach a copy of the writing, or the material part
              thereof, but if the writing or copy is not accessible to the
              pleader, it is sufficient so to state, together with the reason,
              and to set forth the substance in writing.

Pa.R.C.P. No. 1019(i).

       11.    In her Second Amended Complaint, Plaintiff does not attach any contract

or other writing, but simply refers to a document attached to the First Amended

Complaint. (Second Amended Complaint at ¶ 34(b)). But even that document does not

include any specific contract or promises upon which Plaintiff claims to rely. (Id. at ¶

34(b) and Exhibit A to First Amended Complaint).

       12.     Even assuming that the Court is willing to accept a document that is not

attached to the Second Amended Complaint, but rather, was attached to a prior iteration

of the Complaint, it is not enough to attach a document to the Complaint; rather, the

document must be a contract between the parties that was allegedly breached.

       13.    Exhibit A to the First Amended Complaint is simply a list of health and

wellness services provided by Penn.

       14.    Exhibit A to the First Amended Complaint does not contain any contract or

promises to Plaintiff, nor does Plaintiff allege what services listed in Exhibit A Penn

allegedly did not provide, i.e., what specific contractual provision Penn breached.

       15.    “The contractual nature of the university-student relationship allows a

student, under Pennsylvania law, to sue for a breach of contract, but “the allegations

must relate to a specific and identifiable promise that the school failed to honor.” David



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v. Neumann Univ., 177 F. Supp. 3d 920, 925 (E.D. Pa. 2016) (citing Vurimindi v. Fuqua

Sch. of Bus., 435 F. App’x 129, 133 (3d Cir. 2011) (nonprecedential)). “[G]eneral

references to handbook, syllabi, and protocols” will not suffice. Id. “ So must it be in the

instant case.

       16.      Without identifying the specific contract and contractual provisions that

Penn allegedly breached, Penn is left to guess as to the misconduct of which it is

accused.

       17.      Plaintiff’s breach of contract claim therefore should be dismissed for failure

to conform to Rules 1019(h) and (i). See Precision Towers, Inc. v. Nat-Com, Inc., No.

2143, 2002 Phila. Ct. Com. Pl. LEXIS 16, *16 (Phila. C.C.P. Sept. 23, 2002) (Cohen, G.,

J.) (sustaining preliminary objection and dismissing contract claim for failure to attach a

writing pursuant to Rule 1019(h)); Gemini Bakery Equip. v. Baktek, No. 3204, 2005

Phila. Ct. Com. Pl. LEXIS 121, *8-9 (Phila. C.C.P. Apr. 11, 2005) (Abramson, J.)

(same).

       C. Preliminary Objection Pursuant to Pa.R.C.P.1028(a)(4) to Plaintiff’s
          Equitable Estoppel Claim, For Failure to Allege the Necessary Facts to
          Support the Legal Elements of Inducement and Justifiable Reliance.

       15.      An equitable estoppel claim requires proof of two essential elements: 1)

an inducement to act and 2) a justifiable reliance on that inducement. Havas v. Temple

University, 516 A.2d 17, 18 (Pa. Super. Ct. 1986).

       16.      The burden rests upon the party asserting estoppel to establish the

elements thereof by evidence which is clear, precise, and unequivocal. Novelty Knitting

Mills, Inc. v. Siskind, 457 A.2d 502, 504 (1983).




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       17.    In the instant case are no facts alleged to support a claim of estoppel

against Penn.

       18.    There is no inducement by Penn and no averments that Plaintiff acted in

justifiable reliance on a belief that she would become and remain physically healthy and

anxiety-free while a student at Penn. Farmers Trust Co. v. Bomberger, 523 A.2d 790,

794 (Pa. Super. Ct. 1987).

       19.    Nothing in the Second Amended Complaint can support a claim that Penn

misled Plaintiff to her prejudice, let alone clear, precise and unequivocal proofs of the

same. Id.

       20.    As such, Plaintiff’s alternative equitable estoppel claim must be dismissed,

with prejudice.

       D. Preliminary Objections Pursuant to Pa.R.C.P.1028(a)(2) and 1028(a)(4) to
          Plaintiff’s “Back Door” Medical Malpractice Claims for Failure to File
          Timely Certificates of Merit.

       17.    Plaintiff, while she does not create a separate count for medical

malpractice, seems to assert professional negligence claims against several of Penn’s

doctors in the Second Amended Complaint, all without filing corresponding Certificates

of Merit. Exhibit 1 at ¶¶ 19, 20, 21, 22, 23, 24. See Grossman v. Barke, 868 A.2d 561,

569 (Pa. Super. Ct. 2005) (“conduct is considered to be malpractice … when it

constitutes medical treatment, that is, when it involves diagnosis, care and treatment by

licensed medical professionals.”).

       18.    Pa. R.C.P. 1042.3 provides, in relevant part:

   (a) In any action based upon an allegation that a licensed professional deviated from
       an acceptable professional standard, the attorney for the plaintiff, or the plaintiff if
       not represented, shall file with the complaint or within sixty days after the



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       filing of the complaint, a certificate of merit signed by the attorney or party that
       either

       (1) an appropriate licensed professional has supplied a written statement that
           there exists a reasonable probability that the care, skill or knowledge
           exercised or exhibited in the treatment, practice or work that is the subject of
           the complaint, fell outside acceptable professional standards and that such
           conduct was a cause in bringing about the harm, or
       (2) the claim that the defendant deviated from an acceptable professional
           standard is based solely on allegations that other licensed professionals for
           whom this defendant is responsible deviated from an acceptable professional
           standard, or

       (3) expert testimony of an appropriate licensed professional is unnecessary for
           prosecution of the claim.

Pa. R.C.P. No. 1042.3(a) (emphasis added)

       19.    Plaintiff’s original Complaint was filed on April 1, 2020, over 120 days ago.

       20.    No Certificates of Merit supporting claims against any Penn doctor were

ever filed in this matter to date. Exhibit 1.

       21.    Plaintiff should not be permitted to circumvent the mandate of a Certificate

of Merit and its timing requirements by bringing a medical malpractice claim through

“the back door.”

       22.    Because Plaintiff has failed to conform to Rule 1042.3, all of her claims in

the nature of medical malpractice are legally deficient. See Pa.R.C.P. 1042.6.

Therefore, Penn’s preliminary objections pursuant to Pa.R.C.P. 1028(a)(2) and

1028(a)(4) should be sustained.

       E. Preliminary Objection Pursuant to Pa. R. C.P. 1028(a)(2) For Failure of
          Complaint to Conform to Pa.R.C.P. 1020, Requiring All Claims to Be
          Pleaded in Separate Counts.

       23.    Finally, Plaintiff’s Second Amended Complaint should be dismissed in its

entirety for failure to conform to Rule 1020, which provides in pertinent part:



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      Rule 1020. Pleading More Than One Cause of Action. Alternative Pleading.
      Failure to Join. Bar.

      (a) The plaintiff may state in the complaint more than one cause of action
          cognizable in a civil action against the same defendant. Each cause of action
          and any special damage related thereto shall be stated in a separate count
          containing a demand for relief.

Pa. R.C.P. No. 1020(a).

      24.    Close inspection of the Second Amended Complaint reveals claims of 1)

breach of contract, 2) equitable estoppel, and potentially 3) professional negligence,

none of which are stated in separate counts with independent prayers for relief. Exhibit

1, passim.

      25.    As such, Plaintiff’s Second Amended Complaint violates Rule of Court

1020, and should be dismissed pursuant to Pa.R.C.P. 1028(a)(2).


      WHEREFORE, Defendant, The Trustees of the University of Pennsylvania,

respectfully requests that this Court to sustain its Preliminary Objections and dismiss

Plaintiff’s Second Amended Complaint with prejudice. A proposed order is attached.



                                         Respectfully submitted,

                                         TUCKER LAW GROUP, LLC

Date: August 27, 2020                    /s/ Leslie Miller Greenspan
                                         Joe H. Tucker, Jr., Esquire
                                         Leslie Miller Greenspan, Esquire
                                         Dimitrios Mavroudis, Esquire
                                         Ten Penn Center
                                         1801 Market Street, Suite 2500
                                         Philadelphia, PA 19103
                                         (215) 875-0609

                                         Attorneys for Defendant,
                                         The Trustees of the University of Pennsylvania

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 TUCKER LAW GROUP, LLC
 Joe H. Tucker, Jr., Esquire (#56617)           ATTORNEYS FOR DEFENDANT,
 Leslie Miller Greenspan, Esquire (#91639)      THE TRUSTEES OF THE UNIVERSITY
 Dimitrios Mavroudis, Esquire (#93773)          OF PENNSYLVANIA
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                                             :
 April Ploeger,                              :    PHILADELPHIA COUNTY
                                             :    COURT OF COMMON PLEAS
                                Plaintiff,   :
                                             :    MARCH TERM 2020
        v.                                   :
                                             :    No: 2766
 Trustees of the University of Pennsylvania, :
 d/b/a The University of Pennsylvania,       :
                                             :
                                  Defendant. :

     MEMORANDUM OF LAW IN SUPPORT OF PRELIMINARY OBJECTIONS OF
      DEFENDANT, THE TRUSTEES OF THE UNIVERSITY OF PENNSYLVANIA,
              TO PLAINTIFF’S SECOND AMENDED COMPLAINT

       Defendant, The Trustees of the University of Pennsylvania (“Penn” or the

“University”), by and through its counsel, hereby files its Memorandum of Law in support

of its Preliminary Objections to Plaintiff’s Second Amended Complaint pursuant to

Pa.R.Civ.P. 1028(a)(2) and 1028(a)(4).

I.     MATTER BEFORE THE COURT

       Before the Court are Defendant’s Preliminary Objections to Plaintiff’s Second

Amended Complaint based on Plaintiff’s continued failure to identify or attach contracts

or contractual provisions that Penn allegedly breached, in addition to statute of

limitations issues and failure to conform pleadings to the rules of Court.




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II.   STATEMENT OF ISSUES PRESENTED

      (A) Whether this Court should dismiss, pursuant to Pa.R.Civ.P.1028(a)(4),

         Plaintiff’s Second Amended Complaint, as its breach of contract and

         alternative equitable estoppel claims are on the face of the Complaint clearly

         barred by the applicable statute of limitations?

         Suggested Answer: Yes.

      (B) Whether this Court should dismiss, pursuant to Pa.R.Civ.P.1028(a)(2),

         Plaintiff’s breach of contract claim for failure to attach the writing(s) upon

         which the alleged contract was based, in violation of Rules 1019(h) and (i)?

         Suggested Answer: Yes.

      (C) Whether this Court should dismiss, pursuant to Pa.R.Civ.P.1028(a)(4),

         Plaintiff’s alternative equitable estoppel claim for failure to allege the

         necessary facts to support the legal elements of inducement and justifiable

         reliance?

         Suggested Answer: Yes.

      (D) Whether this Court should dismiss, pursuant to Pa.R.Civ.P.1028(a)(2),

         Plaintiff’s “back door” medical malpractice claim for failure to file a timely

         certificate of merit?

         Suggested Answer: Yes

      (E) Whether this Court should dismiss, pursuant to Pa.R.Civ.P.1028(a)(2),

         Plaintiff’s Complaint for failure to conform to Pa.R.C.P. 1020, requiring all

         claims to be asserted in separate counts with demands for relief?

         Suggested Answer: Yes



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III.   STATEMENT OF FACTS

       Plaintiff, who was admitted as an undergraduate student at Penn in the Fall of

2006, asserts a breach of contract claim against Penn. (Second Amended Complaint,

attached as Exhibit 1 at ¶ 3.) Plaintiff alleges that her health compelled her to take

multiple leaves of absence from Penn between 2006 and 2016 and that Penn granted

those requests for leave. (Id. at ¶¶ 11, 14, 17.) Plaintiff also alleges that during the

semesters she did attend college at Penn, Penn granted her “reasonable modifications”

of its policies, including the “places in which, and the amount of time during which,

academic work could be completed at the University.” (Id. at ¶¶ 13, 16, 18.)

       Plaintiff avers that in the Spring of 2015, she attempted to commit suicide by

overdose and reported that suicide attempt to the University’s Counseling and

Psychological Services office (“CAPS”). (Id. at ¶ 21.) According to the Second

Amended Complaint, the response from CAPS was to release Plaintiff and prescribe

more of the same medications on which she had overdosed. (Id.) Plaintiff claims that

when she tried to meet with the University’s top officials about CAPS’ response, she

was threatened with arrest, and University police entered her apartment. (Id. at ¶¶ 25-

26.)

       When Plaintiff sought to resume her studies in the Spring of 2016, she claims

that the University’s Students with Disabilities Services office refused to meet with her

and did not grant her the modifications she previously had been granted. (Id. at ¶ 27.)

As a result, Plaintiff claims that she was unable to complete the Spring 2016 semester.

(Id. at ¶ 28.)




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       In the Conclusion section of the Second Amended Complaint, Plaintiff makes her

first mention of “a contract” by generically pleading that “a material term of the

contractual provisions offered to [Plaintiff], provisions of the utmost necessity to

[Plaintiff] and ones which she accepted by her enrollment at the University, have been

breached and remain in breach.” (Id. at ¶ 34.)

       The only pertinent difference between the First Amended Complaint and the

Second Amended Complaint is that the Second Amended Complaint does not attach

any writing (or contract), but instead references “Exhibit A” to the First Amended

Complaint. (Id. at ¶ 34(b).) Exhibit A to the First Amended Complaint is a print-out from

Penn’s website about Health and Wellness and includes resources available to the

Penn community, including CAPS. Exhibit A, however, does not contain any

contractual language or promises upon which Plaintiff relies in this case. Therefore, the

Second Amended Complaint does not cure the legal deficiency raised in both of Penn’s

prior sets of Preliminary Objections, and even yields additional deficiencies that cannot

be cured by further amendment. It is now time to dismiss all of Plaintiff’s claims, with

prejudice.

IV.    LEGAL ARGUMENT

             A. Plaintiff’s Complaint Should Be Dismissed Pursuant to
                Pa.R.C.P.1028(a)(4), as the Breach of Contract and Alternative
                Equitable Estoppel Claims Are, On the Face of the Second Amended
                Complaint, Clearly Barred by the Applicable Statute of Limitations.

       A court may sustain a preliminary objection asserting a statute of limitations

defense if the defense is “clear on the face of the pleadings.” Scavo v. Old Forge

Borough, 978 A.2d 1076, 1078 (Pa. Commw. Ct. 2009). Here, Plaintiff avers that the

majority of Penn’s contract breaches occurred in 2007, 2008, and 2015. Exhibit 1 at ¶¶

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20, 21, 23, 25. All such allegations are time-barred on the face of the Complaint, as this

case was not filed until April 1, 2020. Plaintiff makes only one allegation that is

potentially (but not clearly) timely, generically referencing the year 2016 but providing no

specific month or day for the alleged conduct. Id. at ¶¶ 27-28. Even that allegation

(addressed in more detail below), however, lacks any specificity about the alleged

contract that Penn breached. Id.

       The statute of limitations applicable to breach of contract and equitable estoppel

claims in Pennsylvania is four-years. See, 42 Pa. C.S. § 5525; Thatcher's Drug Store v.

Consolidated Supermarkets, 636 A.2d 156, 163 (Pa. 1994); Crouse v. Cyclops Indus.,

745 A.2d 606 (Pa. 2000). Therefore, it is clear on the face of the Second Amended

Complaint that Plaintiff’s claims – which range back as early as 2005 – are time-barred

by 42 Pa. C.S. § 5525.

       Moreover, to the extent that Plaintiff attempts to “back door” a medical

malpractice claim by her averments that Penn’s physicians negligently treated her in

2007, 2008 and 2015,2 so too is this claim barred by 42 Pa. C.S. § 5524(2) (applying a

two-year statute of limitations to medical malpractice actions). See also Stephenson v.

Greenberg, 617 A.2d 364 (Pa. Super. Ct. 1992) (no error in granting hospital’s

preliminary objections where medical malpractice action was barred by the two-year-

statute of limitations). As such, Penn’s preliminary objection in the nature of a demurrer

to the Second Amended Complaint should be sustained, and the Second Amended




2 See Exhibit 1 at ¶¶ 19, 20, 21, 22, 23, 24. Plaintiff does not fashion a separate count
for Medical Malpractice in the Second Amended Complaint or meet the other pleading
requirements for asserting a medical malpractice claim. See, e.g., Pa. R. Civ. P.
1042.2.
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Complaint should be dismissed in its entirety, with prejudice.

          B. Plaintiff’s Breach of Contract Claim Should Be Dismissed Pursuant
             to Pa.R.C.P.1028(a)(2), As Plaintiff Violates Pa.R.Civ.P. 1019(h) and (i)
             By Failing to Attach a Contract to the Second Amended Complaint.

       Penn moves to dismiss Plaintiff’s Second Amended Complaint pursuant to

Pa.R.Civ.P.1028(a)(2), which provides that a party may preliminarily object to a

complaint for "failure . . . to conform to law or rule of court. " Pa.R.Civ.P.1028(a)(2).

Rule 1019(h) requires that, when any claim is based upon an agreement, the pleading

must state specifically if the agreement is oral or written. Pa.R.Civ.P. 1019(h). The

Official Note to Rule 1019(h) confirms that “[i]f the agreement is in writing, it must be

attached to the pleading.” Id., Official Note. Pennsylvania Rule of Civil Procedure

1019(i) further provides:

              When any claim or defense is based upon a writing, the
              pleader shall attach a copy of the writing, or the material part
              thereof, but if the writing or copy is not accessible to the
              pleader, it is sufficient so to state, together with the reason,
              and to set forth the substance in writing.

Pa.R.Civ.P. No. 1019(i).

       In her Second Amended Complaint, Plaintiff does not attach any contract or other

writing, but simply refers to a document attached to the First Amended Complaint.

(Second Amended Complaint at ¶ 34(b)). But even that document does not include any

specific contract or promises upon which Plaintiff claims to rely. (Id. at ¶ 34(b) and

Exhibit A to First Amended Complaint).

       Even assuming that the Court is willing to accept a document that is not attached

to the Second Amended Complaint, but rather, was attached to a prior iteration of the

Complaint, it is not enough to attach a document to the Complaint; rather, the document



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must be a contract between the parties that was allegedly breached. Exhibit A to the

First Amended Complaint is simply a list of health and wellness services provided by

Penn. Exhibit A to the First Amended Complaint does not contain any contract or

promises to Plaintiff, nor does Plaintiff allege what services listed in Exhibit A Penn

allegedly did not provide, i.e., what specific contractual provision Penn breached.

       “The contractual nature of the university-student relationship allows a student,

under Pennsylvania law, to sue for a breach of contract, but “the allegations must relate

to a specific and identifiable promise that the school failed to honor.” David v. Neumann

Univ., 177 F. Supp. 3d 920, 925 (E.D. Pa. 2016) (citing Vurimindi v. Fuqua Sch. of Bus.,

435 F. App’x 129, 133 (3d Cir. 2011) (nonprecedential)). “[G]eneral references to

handbook, syllabi, and protocols” will not suffice. Id. So must it be in the instant case.

       Without identifying the specific contract and contractual provisions that Penn

allegedly breached, Penn is left to guess as to the misconduct of which it is accused.

Plaintiff’s breach of contract claim therefore should be dismissed for failure to conform

to Rules 1019(h) and (i). See Precision Towers, Inc. v. Nat-Com, Inc., No. 2143, 2002

Phila. Ct. Com. Pl. LEXIS 16, *16 (Phila. C.C.P. Sept. 23, 2002) (Cohen, G., J.)

(sustaining preliminary objection and dismissing contract claim for failure to attach a

writing pursuant to Rule 1019(h)); Gemini Bakery Equip. v. Baktek, No. 3204, 2005

Phila. Ct. Com. Pl. LEXIS 121, *8-9 (Phila. C.C.P. Apr. 11, 2005) (Abramson, J.)

(same).




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          C. Plaintiff’s Equitable Estoppel Claim Should Be Dismissed Pursuant
             to Pa.R.C.P.1028(a)(4), For Failure To Allege the Necessary Facts to
             Support the Legal Elements Of Inducement And Justifiable Reliance.

       An equitable estoppel claim requires proof of two essential elements: 1) an

inducement to act and 2) a justifiable reliance on that inducement. Havas v. Temple

University, 516 A.2d 17, 18 (Pa. Super. Ct. 1986). The burden rests upon the party

asserting estoppel to establish the elements thereof by evidence which is clear, precise,

and unequivocal. Novelty Knitting Mills, Inc. v. Siskind, 457 A.2d 502, 504 (1983).

       In the instant case are no facts alleged to support a claim of estoppel against

Penn. There is no inducement by Penn and no averments that Plaintiff acted in

justifiable reliance on a belief that she would become and remain physically healthy and

anxiety-free while a student at Penn. Farmers Trust Co. v. Bomberger, 523 A.2d 790,

794 (Pa. Super. Ct. 1987). Nothing in the Second Amended Complaint can support a

claim that Penn misled Plaintiff to her prejudice, let alone clear, precise and unequivocal

proofs of the same. Id. As such, Plaintiff’s alternative equitable estoppel claim must be

dismissed, with prejudice.

          D. Plaintiff’s “Back Door” Medical Malpractice Claim Should Be
             Dismissed Pursuant to Pa.R.C.P.1028(a)(2) And 1028(a)(4) For Failure
             to File Timely Certificates of Merit.

       Plaintiff, while she does not create a separate count for medical malpractice,

seems to assert professional negligence claims against several of Penn’s doctors in the

Second Amended Complaint, all without filing corresponding Certificates of Merit.

Exhibit 1 at ¶¶ 19, 20, 21, 22, 23, 24. See Grossman v. Barke, 868 A.2d 561, 569 (Pa.

Super. Ct. 2005) (“conduct is considered to be malpractice … when it constitutes




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medical treatment, that is, when it involves diagnosis, care and treatment by licensed

medical professionals.”).

      Pa. R.C.P. 1042.3 provides, in relevant part:

   (b) In any action based upon an allegation that a licensed professional deviated from
       an acceptable professional standard, the attorney for the plaintiff, or the plaintiff if
       not represented, shall file with the complaint or within sixty days after the
       filing of the complaint, a certificate of merit signed by the attorney or party that
       either

      (4) an appropriate licensed professional has supplied a written statement that
          there exists a reasonable probability that the care, skill or knowledge
          exercised or exhibited in the treatment, practice or work that is the subject of
          the complaint, fell outside acceptable professional standards and that such
          conduct was a cause in bringing about the harm, or
      (5) the claim that the defendant deviated from an acceptable professional
          standard is based solely on allegations that other licensed professionals for
          whom this defendant is responsible deviated from an acceptable professional
          standard, or

      (6) expert testimony of an appropriate licensed professional is unnecessary for
          prosecution of the claim.

Pa. R.C.P. No. 1042.3(a) (emphasis added)

      Plaintiff’s original Complaint was filed on April 1, 2020, over 120 days ago. No

Certificates of Merit supporting claims against any Penn doctor were ever filed in this

matter to date. Exhibit 1. Plaintiff should not be permitted to circumvent the mandate of

a Certificate of Merit and its timing requirements by bringing a medical malpractice claim

through “the back door.” Because Plaintiff has failed to conform to Rule 1042.3, all of

her claims in the nature of medical malpractice are legally deficient. See Pa.R.Civ.P.

1042.6. Therefore, Penn’s preliminary objections pursuant to Pa.R.Civ.P. 1028(a)(2)

and 1028(a)(4) should be sustained.




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          E. Plaintiff’s Complaint Should Be Dismissed in its Entirety for Failure
             to Conform to Pa.R.C.P. 1020, Requiring All Claims to Be Pleaded in
             Separate Counts.

      Finally, Plaintiff’s Second Amended Complaint should be dismissed in its entirety

for failure to conform to Rule 1020, which provides in pertinent part:

      Rule 1020. Pleading More Than One Cause of Action. Alternative Pleading.
      Failure to Join. Bar.

      (b) The plaintiff may state in the complaint more than one cause of action
          cognizable in a civil action against the same defendant. Each cause of action
          and any special damage related thereto shall be stated in a separate count
          containing a demand for relief.

Pa. R.C.P. No. 1020(a).

      Close inspection of the Second Amended Complaint reveals claims of 1) breach

of contract, 2) equitable estoppel, and potentially 3) professional negligence, none of

which are stated in separate counts with independent prayers for relief. Exhibit 1,

passim. As such, Plaintiff’s Second Amended Complaint violates Rule of Court 1020,

and should be dismissed pursuant to Pa.R.Civ.P. 1028(a)(2).




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V.    CONCLUSION

      For the foregoing reasons, Defendant, The Trustees of the University of

Pennsylvania, respectfully requests that the Court sustain its Preliminary Objections and

dismiss Plaintiff’s Second Amended Complaint in its entirety, with prejudice. A

proposed order is attached.



                                         Respectfully submitted,

                                         TUCKER LAW GROUP

Date: August 27, 2020                    /s/ Leslie Miller Greenspan
                                         Joe H. Tucker, Jr., Esquire
                                         Leslie Miller Greenspan, Esquire
                                         Dimitrios Mavroudis, Esquire
                                         Ten Penn Center
                                         1801 Market Street, Suite 2500
                                         Philadelphia, PA 19103
                                         (215) 875-0609

                                         Attorneys for Defendant,
                                         The Trustees of the University of Pennsylvania




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                           CERTIFICATE OF COMPLIANCE

      I certify that this filing complies with the provisions of the Public Access Policy of

the Unified Judicial System of Pennsylvania, Case Records of the Appellate and Trial

Courts that require filing confidential information and documents differently than non-

confidential information and documents.



                                          TUCKER LAW GROUP, LLC


                                          /s/ Leslie Miller Greenspan
                                          Leslie Miller Greenspan, Esquire


 Dated: August 27, 2020




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                                CERTIFICATE OF SERVICE

       I, Leslie M. Greenspan, Esquire, hereby certify that on the date set forth below a

copy of the foregoing was filed electronically. Notice of this filing will be sent to all

parties by operation of the Court’s electronic filing system. Parties may access this

filing through the Court’s system.



                                                  TUCKER LAW GROUP, LLC


 Dated: August 27, 2020                           /s/ Leslie Miller Greenspan
                                                  Leslie Miller Greenspan, Esquire




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     EXHIBIT 1




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                                                           Filed and Attested by the
              In the Court of Common Pleas of Philadelphia County
                                                          Office of Judicial Records
                        Commonwealth of Pennsylvania          07 AUG 2020 12:43 am
                                                                      M. RUSSO
April Ploeger
505 S. 42nd St., Apt. 1F
Philadelphia, PA 19104
             Plaintiff,
                  v.                                      March Term 2020
                                                          Case No.: 2766
Trustees of the University of Pennsylvania,
d.b.a. The University of Pennsylvania,
a Pennsylvania nonprofit corporation
University of Pennsylvania
Philadelphia PA 19104.
             Defendant
                              NOTICE TO DEFEND

You have been sued in court. If you wish to defend against the claims set forth in
the following pages, you must take action within twenty (20) days after this
Complaint and notice are served, by entering a written appearance personally or by
attorney and filing in writing with the court your defenses or objections to the
claims set forth against you. You are warned that if you fail to do so the case may
proceed without you and a judgment may be entered against you by the court
without further notice for any money claimed in the Complaint or for any other
claim or relief requested by the plaintiff. You may lose money or property or other
rights important to you.

YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU
DO NOT HAVE A LAWYER, GO TO OR TELEPHONE THE OFFICE SET
FORTH BELOW. THIS OFFICE CAN PROVIDE YOU WITH INFORMATION
ABOUT HIRING A LAWYER.




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IF YOU CANNOT AFFORD TO HIRE A LAWYER, THIS OFFICE MAY BE
ABLE TO PROVIDE YOU WITH INFORMATION ABOUT AGENCIES THAT
MAY OFFER LEGAL SERVICES TO ELIGIBLE PERSONS AT A REDUCED
FEE OR NO FEE.
                    Philadelphia Bar Association
               Lawyer Referral and Information Service
                        One Reading Center
                       Philadelphia PA 19107
                     Telephone: (215) 238-1701

                                      AVISO


       Le han demando a usted en la corte. Si usted quiere defenderse de estas
demandas expuestas e las paginas siguentes, usted tiene veinte dias de plazo al partir
de la fecha de la demanda y la notificacion. Hace falta ascentar una comparencia
escrita o en persona o con un abogado y entregar a la corte en forma escrita sus
defensas o sus objeciones a las demandas en contra de su persona. Sea avisado que
si usted no de defiende, la corte tomara medidas y puede continuar la demanda en
contra suya sin previo aviso o notificacion. Ademas, la corte puede decidir a favor
del demandante y requiere que usted cumpla con todas las provisiones de esta
demanda. Usted puede perder dinero o sus propiedades u otros derechos importantes
para usted.

     LLEVE ESTA DEMANDA A UN ABOGADO IMMEDIATAMENTE,
SI NO TIENE ABOGADO O SI NO TIENE EL DINERO SUFICIENTE DE
PAGAR TAL SERVICIO, VAYA EN PERSONA O LLAME POR
TELEFONO A LA OFICINA CUYA DIRECCION DE ENCUENTRA
ESCRITA ABAJO PARA AVERIGUAR DONDE SE PUEDE CONSEGUIR
ASISTENCIA LEGAL.

                    Asociacion De Licenciados De Filadelfia
                  Servicio De Referencia E Informacion Legal
                              One Reading Center
                         Filadelfia, Pennsylvania 19107
                            Telefono: (215) 238-1701




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                       SECOND AMENDED COMPLAINT

                                        Parties

1. Plaintiff herein is April Ploeger (“Ploeger”), an adult individual currently residing

at 505 S. 42nd St., Apt. 1F, Philadelphia, PA 19104.

2. Defendants herein are the Trustees of the University of Pennsylvania, d.b.a. The

University of Pennsylvania (hereafter, “the University”), a Pennsylvania nonprofit

corporation with an address at University of Pennsylvania, Philadelphia PA 19104.

                                Causes of Action Pled

3. This is an action for damages brought under the common law of contract

controlling in Pennsylvania or, in the alternative, under the doctrine of equitable

estoppel.

                    Allegations upon which the Complaint rests

4.

      a. Ploeger has suffered financial harm, caused by the University’s material

breaches of its contractual obligations to Ploeger, both through actions and failures

to act, including those set forth in this Amended Complaint.

      b. She has paid money to, and incurred debt owed to, the University in reliance

upon and in payment for the University’s promise of services to her.



                                           1.



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5.

      a. When Ploeger began here search for a college or university to attend she

did so in the context of a superior academic record and precarious health.

      b. Her health concerns included several autoimmune disorders and severe

depression and anxiety

      c. It was, therefore, both realistic to consider highly selective universities and

essential that she choose a school that provided outstanding, compassionate, student

health care.

6.

      a. Ploeger learned that the University’s Counseling and Psychological

Services (“CAPS”) provided free counseling to students.

      b. She also learned that the University’s Student Health Service (“SHS”)

provided physical healthcare to the University’s students; unlike CAPS, there is a

fee for SHS, paid by obligatory insurance coverage, but the University offered

Ploeger a grant to pay for the insurance premiums.

7. She learned of these benefits by:

      a. reading the University’s own proclamations on its website; and




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      b. by a reaffirmation given to her in a phone conversation with University

officials serving in what Ploeger recalls was referred to as the “College office;” and

      c. by being told, by the University’s “College office,” that the University’s

health services were not only free, they were very good.

8 The University’s provision of these healthcare services, and its official’s

reaffirming them, was:

      a. “one of the top reasons” Ploeger chose to enroll in the University; and

      b. the reason she chose the University rather than Dartmouth.

9. Thus convinced, and motivated by the benefit of the health services promised her

should she reroll at the University, Ploeger applied for admission to the University

as a full-time, undergraduate student for Fall Semester, 2006.

10. Her application was accepted, and she entered her freshman year.

11. Her ill-health, however, compelled her to request, and the University granted, a

leave of absence for what would have been her first two semesters at the University

(i.e., Fall 2006; Spring 2007).

12. She returned to the University for the Fall 2007 semester, expecting then to begin

her undergraduate work.




                                          3



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13. Upon her return Ploeger quickly realized that she would be unable to pursue her

studies    without   the University’s   granting   her   reasonable modifications

(“Modifications”) in policies, practices, or procedures governing, inter alia, the

places in which, and the amount of time during which, academic work could be

completed at the University.

14. Not knowing the process governing requests for Modifications at the University.

Ploeger sought and was granted a second leave of absence, to run through the Fall

2007 and Spring 2008 semesters, during which time she undertook to learn, and did

learn, the process governing requests for Modifications at the University.

15. Upon resumption of her studies at the University in Fall Semester 2008, she

sought and was granted Modifications from the University’s policies to enable her

to proceed with her studies.

16. The Modifications granted for Fall Semester 2008 permitted Ploeger to complete

that semester.

17.

      a. Beneficial as the Modifications were, Ploeger’s health nonetheless did not

permit her to continue in Spring 2009, but compelled her to request a leave of

absence.



                                         4



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      b. The University granted that request.

18. Each semester through and including Spring 2015, Ploeger requested

Modifications, and they were granted to her upon request through the actions of Dr.

William Alexander (“Alexander”), at times relevant to this action Director of the

University’s CAPS.

19. Despite the benefit provided by the Modifications, and despite the University’s

proclaimed devotion to caring for the mental and physical health of its students,

Ploeger’s mental and physical health in fact continued to deteriorate because of

improper treatment and actual cruelty at the hands of CAPS.

20.

      a. In 2008 Ploeger showed Dr. Alexander where she had cut herself along her

left arm and one of her wrists in an attempt to self-harm and attempt suicide.

      b. Dr. Alexander told Ploeger to go home and “put a band aid on it.”

21. In 2015 Dr. Alexander threatened Ploeger after she made it known that after she

had tried to overdose and told Dr. Alexander what she had done, in hopes of being

admitted to the University’s mental health center, Dr. Alexander instead gave her

more of the same pills on which she had overdosed the night before.




                                         5



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22.

      a. In 2008 Ploeger sought out a radiologist at the University, Dr. Deborah

Niles, complaining of intense pain in her back.

      b. Dr. Niles took x-rays of Ploeger’s back.

      c. Instead of telling Ploeger -- as Ploeger was told by another doctor years

later -- that the x-ray showed several compression fractures, Dr. Niles permitted

Ploeger to believe that her pain was just a generalized problem.

23.

      a. In 2007 Ploeger went to a counselor at CAPS and told the counselor that

she, Ploeger, was suicidal.

      b. The counselor in reply told Ploeger to “do what you have to do, I don’t have

time for this.”

24. Rather than providing the superior health care of which the University boasted,

Dr. Alexander’s social behavior toward Ploeger materially harmed her already

fragile mental health.

25. When Ploeger sought refuge from the distress of these actions by speaking of

them in 2015 to Dr. Max King, Vice Provost for University Life and University

President Dr. Amy Guttman, she was rebuffed and told by phone that she would be

arrested if she addressed these issues with President Guttman again or attempted to

                                         6.



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say anything to anyone about Dr. Alexander’s behavior.

26. Also in 2015, when Ploeger was meeting in the office of the Vice Provost for

University Life the University police gained access to Ploeger’s apartment and left

it ransacked.

27.

      a. In 2016, on her attempt to resume studies at the University, Ploeger brought

notes from three medical professionals, including a psychologist and a psychiatrist,

all speaking of Ploeger’s need for Modifications.

      b. Rather than granting Ploeger the Modifications she sought upon her request

and the support of medical professionals, as had been done in the past, she was told

that she would have to meet with counsellors at CAPS.

      c. She asked leave to bring an advocate with her, and was refused.

28.

      a. Unable to gain the accommodations she sought, and had always in the past

been granted, Ploeger was not able to complete her midterms.

      b. That in turn forced her to drop the semester.

      c. That in turn destroyed her mental health and left her destitute and homeless.




                                          7



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29. Ploeger will testify that had she known the truth, rather than simply the claims

presented, of CAPS she would, without question, have chosen to attend a different

university.

30.
      a. Ploeger’s education at the University has been and continues to be
disrupted.
      b. That disruption alone would and does create an increasingly grave burden

      upon Ploeger.

31. She is in increasingly grave financial distress.

32. Her health, already needful of care before these actions and inactions by the

University, has suffered and continues to suffer increasingly from the latter.

33.

      a. She feels, for the reasons and under the circumstances alleged above, worse

than abandoned by the University.

      b. She feels utterly rebuffed by and denied the special services within the

University that the University presents to the public and presented to Ploeger as

supported by the premier health facilities at the University and specifically at the

service of the University’s students.




                                           8



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                                   CONCLUSION

34.

      a. In short, material terms of the contractual provisions (the “Contractual

Provisions”) offered to Ploeger by the University, provisions of the utmost necessity

to Ploeger and ones that she accepted by her enrollment at the University, have been

breached and remain in breach.

      b. The terms alleged by Ploeger to have been breached are set forth by the

University on its website and are cited to with specificity at Exhibit “A” to the First

Amended Complaint and are incorporated herein as if set forth in full.

35. That breach, in all its manifestations, is the material cause of the distress –

financial, physical, educational – in which she has for long been placed by the

University and in which she now remains.

36. The allegations set forth in Paragraphs 1 through 35 above are incorporated in

this Paragraph 36 as if set forth herein in full.

37.

      a. The allegations set forth in Paragraph 36 state a claim for breach of contract

or in the alternative for equitable relief under the doctrine of estoppel.

      b. That breach, and the damage it has caused and is causing, continues through

the present.

                                            9



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                              DEMAND FOR RELIEF

38. WHEREFORE, for the reasons and under the circumstances set forth above,

Ploeger with respect for the Court and in reliance upon the law and facts demands

of the Court a trial on the merits of this matter and will at the end of such trail seek

an order in favor of Plaintiff and against Defendant; money damages in an amount

in excess of the jurisdictional amount and in such specific amount as the Court finds

just under applicable law applied to the evidence of record; and such further relief

as the Court may determine to be just.

                                               /s/ E. Daniel Larkin
                                               E. Daniel Larkin,
                                               Counsel for Plaintiff
                                               PA Atty. ID 32395
                                               742 S. Latches Lane
                                               Merion Station PA 19066
                                               610.660.5201 (ph.)
                                               610.660.5940 (fax)
                                               dan@danlarkinlaw.com

Tendered August 7, 2020, at c. 12:15 a.m.




                                          10



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                        CERTIFICATE OF COMPLIANCE

I certify that this filing complies with the provisions of the Public Access Policy of

the Unified Judicial System of Pennsylvania, Case Records of the Appellate and

Trial Courts that require filing confidential information and documents differently

than non-confidential information and documents.

                                       /s/E. Daniel Larkin
                                       E. Daniel Larkin
                                       742 S. Latches Lane
                                       Merion PA 19066
                                       610.660.5201




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                           CERTIFICATE OF SERVICE

I certify that on August 7, 2020, at c. 12:15 a.m., I caused a true and correct copy of

the foregoing Second Amended Complaint to be served upon Defendant’s counsel

of record, Leslie M. Greenspan, Esquire, by first class mail, postage prepaid, at the

following address:

                            Leslie M. Greenspan, Esquire
                              TUCKER LAW GROUP
                                   Ten Penn Center
                           1801 Market Street, Suite 2500
                               Philadelphia PA 19103
and:

By e-mail attachment sent to lgreenspan@tlgattorneys.com

                                        /s/E. Daniel Larkin
                                        E. Daniel Larkin




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                                                   Filed and Attested by the
                                                  Office of Judicial Records
                                                      07 AUG 2020 12:43 am
                                                            M. RUSSO




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 April Ploeger,                              :
                                             :     PHILADELPHIA COUNTY
                                Plaintiff,   :     COURT OF COMMON PLEAS
                                             :
        v.                                   :     MARCH TERM 2020
                                             :
 Trustees of the University of Pennsylvania, :     No: 2766
 d/b/a The University of Pennsylvania,       :
                                             :
                                  Defendant. :


                                          ORDER

        AND NOW this _______ day of ____________2020, upon consideration of the

                                           Amended Complaint filed by Defendant, The

Trustees of the University of Pennsylvania, and any response thereto, it is hereby

ORDERED that the Preliminary Objections are hereby SUSTAINED, and the Third

Amended Complaint is DISMISSED, with prejudice.

        IT IS FURTHER ORDERED that Defendant shall be entitled to counsel fees and

costs associated with filing the instant fourth set of preliminary objections in response to

Plaintiff   fourth defective iteration of the Complaint. Defendant shall submit a

statement of fees and costs within ten (10) days of this Order.



                                           BY THE COURT:



                                           _________________________________
                                                                           J.
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                                                Notice to Plead to the Plaintiff:

                                                You are hereby notified to file a
                                                response to the within Preliminary
                                                Objections within twenty (20) days
                                                from service hereof or a judgment
                                                may be entered against you.

                                                /s/ Leslie Miller Greenspan
                                                Leslie Miller Greenspan, Esquire
                                                Attorney for Defendant

TUCKER LAW GROUP, LLC
Joe H. Tucker, Jr., Esquire (#56617)        ATTORNEYS FOR DEFENDANT,
Leslie Miller Greenspan, Esquire (#91639)   THE TRUSTEES OF THE UNIVERSITY
Dimitrios Mavroudis, Esquire (#93773)       OF PENNSYLVANIA
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                                            :
April Ploeger,                              :    PHILADELPHIA COUNTY
                                            :    COURT OF COMMON PLEAS
                               Plaintiff,   :
                                            :    MARCH TERM 2020
       v.                                   :
                                            :    No: 2766
Trustees of the University of Pennsylvania, :
d/b/a The University of Pennsylvania,       :
                                            :
                                 Defendant. :

                PRELIMINARY OBJECTIONS OF DEFENDANT,
           THE TRUSTEES OF THE UNIVERSITY OF PENNSYLVANIA,
                                   AMENDED COMPLAINT

     Defendant, The Trustees of the Universit



    Amended Complaint pursuant to Pa.R.Civ.P. 1028(a)(2) and 1028(a)(4). After
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four iterations of the Complaint, Plaintiff still has failed to cure the most basic deficiency

of his breach of contract claim: the identification and attachment of a contract or

contractual provision that was breached. In addition to the failure to plead even the

most basic elements of a breach of contract claim, most of Plaintiff       criticisms go back

to 2007, 2008, and 2015        all of which is barred by the applicable statute of limitations.

         The Court should allow no further indulgences; Plaintiff     Complaint should be

dismissed with prejudice in its entirety. This Court may also award counsel          fees and

costs to Penn for having to respond to four defective iterations of the Complaint and

Plaintiff     repeated failures to cure even the most basic pleading defects, in endless and

baseless pursuit of this matter. In support of the Preliminary Objections, Penn avers as

follows:

I.       Relevant Facts

         1.      Plaintiff, who was admitted as an undergraduate student at Penn in the

Fall of 2006, asserts a breach of contract claim and equitable estoppel claim against

Penn. (Third Amended Complaint, attached as Exhibit 1 at ¶¶ 3, 8.)

         2.      Plaintiff alleges that her health compelled her to take multiple leaves of

absence from Penn between 2006 and 2016 and that Penn granted those requests for

leave. (Id. at ¶¶ 10-17.)

         3.      Plaintiff also alleges that during the semesters she did attend college at

Penn, Penn

     which, and the amount of time during which, academic work could be completed at

                        at ¶¶ 12-17.)




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       4.     According to Plaintiff, her mental and physical health deteriorated despite

the modifications she had been granted by the University. (Id. at ¶ 18.)

       5.     Plaintiff references a failed suicide attempt in 2008 and how she brought

the suicide attempt to the attention of Dr. William Alexander, the then-Director of the

University                                                                     (Id. at ¶ 19.)

       6.     Despite three prior iterations of the Complaint, Plaintiff raises new

allegations for the first time about Dr. Alexander              of personal intimacy with

her. (Id. at ¶ 19(d).)

       7.     She claims that when, in 2015, she disclosed Dr. Alexander             conduct, he

threatened her with                 (Id. at ¶ 20.)

       8.     In 2007, Plaintiff claims to have called CAPS about her suicidal nature and

was told      what you have to do. I don have time for this. (Id. at ¶ 22.)

       9.     Plaintiff also complains of the treatment received by another Penn doctor

in 2008 related to Plaintiff   back pain. (Id. at ¶ 21.)

       10.

                                   in 2015, she was               and threatened with arrest,

and University police entered her apartment during her meeting with the Vice Provost.

(Id. at ¶¶ 23-24.)

       11.    When Plaintiff sought to resume her studies in the Spring of 2016, she

                                                           Services office (           refused to

meet with her and did not grant her the modifications she previously had been granted.

(Id. at ¶ 25-28.)




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        12.      As a result, Plaintiff claims that she was unable to complete the Spring

2016 semester. (Id. at ¶ 28.)

        13.      In the Conclusion section of the Third Amended Complaint, Plaintiff makes



               provisions (                Provisions offered to Ploeger by the University

and by Ploeger accepted through enrollment, including the promise of skilled,

compassionate health set forth in Exhibit A and of the utmost necessity to Ploeger, have

been breached and remain in breach                at ¶ 39.)

        14.      Other than some additional factual allegations of events in 2007, 2008,

and 2015       all of which occurred more than four years prior to the filing of this action on

April 1, 2020      the only pertinent difference between the Second Amended Complaint

and the Third Amended Complaint is that the Third Amended Complaint, through a

subsequently-filed Praecipe to Supplement or Attach, attaches a document referenced

as                      purports to be the contract between Plaintiff and the University. (Id.

at ¶ 34(b).)

        15.              A contains nothing more than a print-

        Health and Wellness and includes resources available to the Penn community,

including CAPS. (Plaintiff      Complaint at Exhibit A.)

        16.      Exhibit A merely identifies the following health and wellness resources at

Penn:

              a. University of Pennsylvania Health System;

              b. Campus Health;

              c. Office of the Chaplain;



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             d. Counseling & Psychological Services (

             e. Student Health Service; and

             f. Wellness at Penn.

       17.      Significantly, Exhibit A does not contain any contractual language or

promises upon which Plaintiff relies in this case.

       18.      Therefore, the Third Amended Complaint does not cure the legal

deficiencies raised in                 prior sets of Preliminary Objections, and even yields

additional deficiencies that cannot be cured by further amendment.

       19.

II.    ARGUMENT

       A. Preliminary Objection Pursuant to Pa.R.C.P.1028(a)(4), As the Third
                                 Breach of Contract and Alternative Equitable
          Estoppel Claims Are on the Face of the Pleading Clearly Barred by the
          Applicable Statute of Limitations.

       20.      A court may sustain a preliminary objection asserting a statute of

                                                                                      v. Old

Forge Borough, 978 A.2d 1076, 1078 (Pa. Commw. Ct. 2009).

       21.      Here, Plaintiff avers that the majority of Penn            contract breaches

occurred in 2007, 2008, and 2015. Exhibit 1 at ¶¶ 19, 20, 21, 22, 23, 24.

       22.      All such allegations are time-barred on the face of the Complaint, as this

case was not filed until April 1, 2020.

       23.      Plaintiff makes only one allegation that is potentially (but not clearly)

timely, generically referencing the year 2016 but providing no specific month or day for

the alleged conduct. Id. at ¶¶ 25-28.

       24.      Even that allegation (addressed in more detail below), however, lacks any

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specificity about the alleged contract that Penn breached. Id.

       25.     The statute of limitations applicable to breach of contract and equitable

estoppel claims in Pennsylvania is four-years. See 42 Pa. C.S. § 5525; Thatcher's Drug

Store v. Consolidated Supermarkets, 636 A.2d 156, 163 (Pa. 1994); Crouse v. Cyclops

Indus., 745 A.2d 606 (Pa. 2000).

       26.     Therefore, it is clear on the face of the Third Amended Complaint that

                    which range back to as early as 2005     are time-barred by 42 Pa.

C.S. § 5525.

       27.     Moreover, to the extent



       2008 and 2015,1 so too is this claim barred by 42 Pa.C.S. § 5524(2) (applying a

two-year statute of limitations to medical malpractice actions). See also Stephenson v.

Greenberg, 617 A.2d 364 (Pa. Super. Ct. 1992)

preliminary objections where medical malpractice action was barred by the two-year-

statute of limitations).

       28.     As such, Penn

      Amended Complaint should be sustained, and the Third Amended Complaint

should be dismissed in its entirety, with prejudice.




1 See Exhibit 1 at ¶¶ 19, 20, 21, 22. Plaintiff does not fashion a separate count for
Medical Malpractice in the Third Amended Complaint or meet the other pleading
requirements for asserting a medical malpractice claim. See, e.g., Pa. R. Civ. P.
1042.2.
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        B. Preliminary Objection Pursuant to Pa.R.C.P.1028(a)(2) to Plain
                    of Contract Claim, As Plaintiff Violates Pa.R.Civ.P. 1019(h) and
           (i) By Failing to Attach a Contract that was Breached to the Third
           Amended Complaint.

        29.                                            Amended Complaint pursuant to

Pa.R.Civ.P.1028(a)(2), which provides that a party may preliminarily object to a

complaint for "failure . . . to conform to law or rule of court. " Pa.R.Civ.P.1028(a)(2).

        30.   Rule 1019(h) requires that, when any claim is based upon an agreement,

the pleading must state specifically if the agreement is oral or written. Pa.R.C.P.



 must                                      Official Note. Pennsylvania Rule of Civil

Procedure 1019(i) further provides:

              When any claim or defense is based upon a writing, the
              pleader shall attach a copy of the writing, or the material part
              thereof, but if the writing or copy is not accessible to the
              pleader, it is sufficient so to state, together with the reason,
              and to set forth the substance in writing.

Pa.R.C.P. No. 1019(i).

        31.   In her Third Amended Complaint, Plaintiff attaches a document that is

nothing more than a print-out from Penn     website that lists Penn   health and wellness

services, including CAPS, the Office of the Chaplain, and              at Penn. (Third

Amended Complaint at Exhibit A.) But even that document does not include any

specific contract or promises upon which Plaintiff claims to rely. (Id.)

        32.    It is not enough to attach a document to the Complaint; rather, the

document must be a contract between the parties that was allegedly breached.




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       33.      Exhibit A to the Third Amended Complaint is simply a list of health and

wellness services provided by Penn.

       34.      Exhibit A does not contain any contract or promises to Plaintiff, nor does

Plaintiff allege what services listed in Exhibit A Penn allegedly did not provide, i.e., what

specific contractual provision Penn breached.

       35.      At most, Plaintiff appears to be unhappy with the services provided by

CAPS in 2008 and 2015, but none of those allegations, even if true, fall within the four

years prior to the filing of the Complaint on April 1, 2020. (See Section II.A. above.)

       36.                                                         relationship allows a



     relate to a specific and identifiable promise that the

v. Neumann Univ., 177 F. Supp. 3d 920, 925 (E.D. Pa. 2016) (citing Vurimindi v. Fuqua

Sch. of Bus

                                                           suffice. Id. So must it be in the

instant case.

       37.      Without identifying the specific contract and contractual provisions that

Penn allegedly breached, Penn is left to guess as to the misconduct of which it is

accused.

       38.                                                    should be dismissed for failure

to conform to Rules 1019(h) and (i). See Precision Towers, Inc. v. Nat-Com, Inc., No.

2143, 2002 Phila. Ct. Com. Pl. LEXIS 16, *16 (Phila. C.C.P. Sept. 23, 2002) (Cohen, G.,

J.) (sustaining preliminary objection and dismissing contract claim for failure to attach a

writing pursuant to Rule 1019(h)); Gemini Bakery Equip. v. Baktek, No. 3204, 2005



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Phila. Ct. Com. Pl. LEXIS 121, *8-9 (Phila. C.C.P. Apr. 11, 2005) (Abramson, J.)

(same).

       C. Preliminary Objection Pursuant to Pa.R.C.P.1028(a)(4)
                    Estoppel Claim, For Failure to Allege the Necessary Facts to
          Support the Legal Elements of Inducement and Justifiable Reliance.

       39.    An equitable estoppel claim requires proof of two essential elements: 1)

an inducement to act and 2) a justifiable reliance on that inducement. Havas v. Temple

University, 516 A.2d 17, 18 (Pa. Super. Ct. 1986).

       40.    The burden rests upon the party asserting estoppel to establish the

elements thereof by evidence which is clear, precise, and unequivocal. Novelty Knitting

Mills, Inc. v. Siskind, 457 A.2d 502, 504 (1983).

       41.    In the instant case, there are no facts alleged to support a claim of

estoppel against Penn.

       42.    There is no inducement by Penn and no averments that Plaintiff acted in

justifiable reliance on a belief that she would become and remain physically healthy and

anxiety-free while a student at Penn. Farmers Trust Co. v. Bomberger, 523 A.2d 790,

794 (Pa. Super. Ct. 1987).

       43.    Nothing in the Third Amended Complaint can support a claim that Penn

misled Plaintiff to her prejudice, let alone clear, precise and unequivocal proofs of the

same. Id.

       44.

with prejudice.




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       D. Preliminary Objections Pursuant to Pa.R.C.P.1028(a)(2) and 1028(a)(4) to
                                                            for Failure to File
          Timely Certificates of Merit.

       45.    Plaintiff, while she does not create a separate count for medical

malpractice, seems to assert

        in the Third Amended Complaint, all without filing corresponding Certificates of

Merit. Exhibit 1 at ¶¶ 19, 20, 21, 22. See Grossman v. Barke, 868 A.2d 561, 569 (Pa.

Super. Ct. 2005) (

         treatment, that is, when it involves diagnosis, care and treatment by licensed



       46.    Pa. R.C.P. 1042.3 provides, in relevant part:

   (a) In any action based upon an allegation that a licensed professional deviated from
       an acceptable professional standard, the attorney for the plaintiff, or the plaintiff if
       not represented, shall file with the complaint or within sixty days after the
       filing of the complaint, a certificate of merit signed by the attorney or party that
       either

       (1) an appropriate licensed professional has supplied a written statement that
           there exists a reasonable probability that the care, skill or knowledge
           exercised or exhibited in the treatment, practice or work that is the subject of
           the complaint, fell outside acceptable professional standards and that such
           conduct was a cause in bringing about the harm, or
       (2) the claim that the defendant deviated from an acceptable professional
           standard is based solely on allegations that other licensed professionals for
           whom this defendant is responsible deviated from an acceptable professional
           standard, or

       (3) expert testimony of an appropriate licensed professional is unnecessary for
           prosecution of the claim.

Pa. R.C.P. No. 1042.3(a) (emphasis added)

       47.

       48.    No Certificates of Merit supporting claims against any Penn doctor were

ever filed in this matter to date.

                                              10
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       49.     Plaintiff should not be permitted to circumvent the mandate of a Certificate

of Merit and its timing requirements by bringing a medical malpractice claim through



       50.     Because Plaintiff has failed to conform to Rule 1042.3, all of her claims in

the nature of medical malpractice are legally deficient. See Pa.R.C.P. 1042.6.



             should be sustained.

       E.    Plaintiff is Wasting this Court Time with Repeated Amended
             Complaints that Continue to Fail to Allege Timely Claims or Identify an
             Actual Contract Breached by Penn, and Dismissal with Prejudice is
             Warranted and the Imposition of Costs and Legal Fees.

       51.     To date, this Court has patiently endured four iterations of the Complaint.

       52.     Despite three prior iterations of the Complaint and three sets of

Preliminary Objections filed by Penn, Plaintiff is still unable to cure even the most basic

defects of alleging timely claims and identifying a specific contract or contractual

provision breached by Penn.

       53.     Further amendment would be futile, as Plaintiff has been and will continue

to be unable to allege timely claims or a breached contract.

       54.     When further amendment is futile, the claims should be dismissed with

prejudice. Bitter Sweet Props., LP v. City of Farrell, No. 1640 C.D. 2016, 2017 Pa.

Commw. Unpub. LEXIS 828, *4 (Pa. Commw. Ct. Oct. 20, 2017), citing Weaver v.

Franklin County, 918 A.2d 194, 203 (Pa. Commw. Ct. 2007); Brickman Group, Ltd. v.

CGU Ins. Co., 865 A.2d 918, 926-27 (Pa. Super. Ct. 2004) (leave to further amend a

complaint should be denied when a party will be unable to state a claim on which relief

could be granted).

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       55.      For filing repeated baseless claims against Penn, this Court can and

should award legal costs and fees to Penn, who has been forced to file four sets of

Preliminary Objections to Plaintiff    repeatedly defective Complaints. See 42 Pa. C.S. §

2503 (awarding counsel fees when, among other conduct, commencing or proceeding

with a matter was              vexatious or in bad faith   Levitt v. Brookmont Health Care

Ctr., No. 9290 Civil 1997, 1999 Pa. Dist. & Cnty. Dec. LXIS 131, * 6 (Monroe Co. CCP

Mar. 12, 1999) (defining                as a suit filed        sufficient grounds in either

law or in fact and if the suit served the sole purpose of causing annoyance       Feingold v.

Hendrzak, 15 A.3d 937, 939 (Pa. Super. Ct. 2011) (           to Appellant   repetitive filing

of baseless appeals in this Court, we sua sponte award all Appellees in the instant case

attorney     fees and remand to the trial court for calculation of those fees.


       WHEREFORE, Defendant, The Trustees of the University of Pennsylvania,

respectfully requests that this Court to sustain its Preliminary Objections and dismiss

                  Amended Complaint with prejudice. A proposed order is attached.



                                            Respectfully submitted,

                                            TUCKER LAW GROUP, LLC

Date: October 5, 2020                       /s/ Leslie Miller Greenspan
                                            Joe H. Tucker, Jr., Esquire
                                            Leslie Miller Greenspan, Esquire
                                            Dimitrios Mavroudis, Esquire
                                            Ten Penn Center
                                            1801 Market Street, Suite 2500
                                            Philadelphia, PA 19103
                                            (215) 875-0609

                                            Attorneys for Defendant,
                                            The Trustees of the University of Pennsylvania

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 TUCKER LAW GROUP, LLC
 Joe H. Tucker, Jr., Esquire (#56617)            ATTORNEYS FOR DEFENDANT,
 Leslie Miller Greenspan, Esquire (#91639)       THE TRUSTEES OF THE UNIVERSITY
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 dmavroudis@tlgattorneys.com

                                             :
 April Ploeger,                              :      PHILADELPHIA COUNTY
                                             :      COURT OF COMMON PLEAS
                                Plaintiff,   :
                                             :      MARCH TERM 2020
        v.                                   :
                                             :      No: 2766
 Trustees of the University of Pennsylvania, :
 d/b/a The University of Pennsylvania,       :
                                             :
                                  Defendant. :

      MEMORANDUM OF LAW IN SUPPORT OF PRELIMINARY OBJECTIONS OF
       DEFENDANT, THE TRUSTEES OF THE UNIVERSITY OF PENNSYLVANIA,
                TO PLAINT           AMENDED COMPLAINT




                                                  Amended Complaint pursuant to

Pa.R.Civ.P. 1028(a)(2) and 1028(a)(4).

I.       MATTER BEFORE THE COURT



Amended Complaint

     contractual provisions that Penn allegedly breached, in addition to statute of

limitations issues and failure to conform pleadings to the rules of Court.
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II.   STATEMENT OF ISSUES PRESENTED

      (A) Whether this Court should dismiss, pursuant to Pa.R.Civ.P.1028(a)(4),

         Plain            Amended Complaint, as its breach of contract and alternative

         equitable estoppel claims are on the face of the Complaint clearly barred by

         the applicable statute of limitations?

         Suggested Answer: Yes.

      (B) Whether this Court should dismiss, pursuant to Pa.R.Civ.P.1028(a)(2),



                 the alleged contract was based, in violation of Rules 1019(h) and (i)?

         Suggested Answer: Yes.

      (C) Whether this Court should dismiss, pursuant to Pa.R.Civ.P.1028(a)(4),

                                 equitable estoppel claim for failure to allege the

         necessary facts to support the legal elements of inducement and justifiable

         reliance?

         Suggested Answer: Yes.

      (D) Whether this Court should dismiss, pursuant to Pa.R.Civ.P.1028(a)(2),



                     of merit?

         Suggested Answer: Yes.

      (E) Whether this Court should dismiss the Third Amended Complaint with

         prejudice based on the futility of filing a further amended complaint and award

         legal costs and fees to Penn for Plaintiff    repeated baseless iterations of the

         Complaint?



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            Suggested Answer: Yes.


III.   STATEMENT OF FACTS

       Plaintiff, who was admitted as an undergraduate student at Penn in the Fall of

2006, asserts a breach of contract claim and equitable estoppel claim against Penn.

(Third Amended Complaint, attached as Exhibit 1 at ¶¶ 3, 8.) Plaintiff alleges that her

health compelled her to take multiple leaves of absence from Penn between 2006 and

2016 and that Penn granted those requests for leave. (Id. at ¶¶ 10-17.) Plaintiff also

alleges that during the semesters she did attend college at Penn, Penn granted her



                                                                                     at ¶¶

12-17.)

       According to Plaintiff, her mental and physical health deteriorated despite the

modifications she had been granted by the University. (Id. at ¶ 18.) Plaintiff references

a failed suicide attempt in 2008 and how she brought the suicide attempt to the attention

of Dr. William Alexander, the then-Director of the University    Counseling and

                                           (Id. at ¶ 19.) Despite three prior iterations of

the Complaint, Plaintiff raises new allegations for the first time about Dr. Alexander

          of personal intimacy with her. (Id. at ¶ 19(d).) She claims that when, in 2015,

she disclosed Dr. Alexander     conduct, he threatened her with                  (Id. at ¶

20.)

       In 2007, Plaintiff claims to have called CAPS about her suicidal nature and was

told      what you have to do. I don have time for this. (Id. at ¶ 22.) Plaintiff also




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complains of the treatment received by another Penn doctor in 2008 related to Plaintiff

back pain. (Id. at ¶ 21.)



                  in 2015, she was                 and threatened with arrest, and University

police entered her apartment during her meeting with the Vice Provost. (Id. at ¶¶ 23-

24.) When Plaintiff sought to resume her studies in the Spring of 2016, she claims that

                                             Services office (         refused to meet with

her and did not grant her the modifications she previously had been granted. (Id. at ¶

25-28.) As a result, Plaintiff claims that she was unable to complete the Spring 2016

semester. (Id. at ¶ 28.)

       In the Conclusion section of the Third Amended Complaint, Plaintiff makes her



            provisions (               Provisions offered to Ploeger by the University

and by Ploeger accepted through enrollment, including the promise of skilled,

compassionate health set forth in Exhibit A and of the utmost necessity to Ploeger, have

been breached and remain in breach             at ¶ 39.) Other than some additional factual

allegations of events in 2007, 2008, and 2015        all of which occurred more than four

years prior to the filing of this action on April 1, 2020   the only pertinent difference

between the Second Amended Complaint and the Third Amended Complaint is that the

Third Amended Complaint, through a subsequently-filed Praecipe to Supplement or

Attach, attaches a document referenced as                          purports to be the contract

between Plaintiff and the University. (Id. at ¶ 34(b).)




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                A contains nothing more than a print-

       and Wellness and includes resources available to the Penn community, including

CAPS. (Plaintiff   Complaint at Exhibit A.) Exhibit A merely identifies the following

health and wellness resources at Penn:

          a. University of Pennsylvania Health System;

          b. Campus Health;

          c. Office of the Chaplain;

          d. Counseling & Psychological Services (

          e. Student Health Service; and

          f. Wellness at Penn.

Significantly, Exhibit A does not contain any contractual language or promises upon

which Plaintiff relies in this case. Therefore, the Third Amended Complaint does not

cure the legal deficiencies raised in             prior sets of Preliminary Objections,

and even yields additional deficiencies that cannot be cured by further amendment. It is



IV.    LEGAL ARGUMENT

          A.                                                        to
               Pa.R.C.P.1028(a)(4), as the Breach of Contract and Alternative
               Equitable Estoppel Claims Are, On the Face of the Third Amended
               Complaint, Clearly Barred by the Applicable Statute of Limitations.

       A court may sustain a preliminary objection asserting a statute of limitations

                                                                      v. Old Forge

Borough, 978 A.2d 1076, 1078 (Pa. Commw. Ct. 2009). Here, Plaintiff avers that the

majority of Penn           contract breaches occurred in 2007, 2008, and 2015. Exhibit

1 at ¶¶ 19, 20, 21, 22, 23, 24. All such allegations are time-barred on the face of the

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Complaint, as this case was not filed until April 1, 2020. Plaintiff makes only one

allegation that is potentially (but not clearly) timely, generically referencing the year

2016 but providing no specific month or day for the alleged conduct. Id. at ¶¶ 25-28.

Even that allegation (addressed in more detail below), however, lacks any specificity

about the alleged contract that Penn breached. Id.

       The statute of limitations applicable to breach of contract and equitable estoppel

claims in Pennsylvania is four-years. See 42 Pa. C.S. § 5525; Thatcher's Drug Store v.

Consolidated Supermarkets, 636 A.2d 156, 163 (Pa. 1994); Crouse v. Cyclops Indus.,

745 A.2d 606 (Pa. 2000). Therefore, it is clear on the face of the Third Amended

                                    which range back to as early as 2005       are time-

barred by 42 Pa. C.S. § 5525.

       Moreover, to the extent



       2008 and 2015,2 so too is this claim barred by 42 Pa. C.S. § 5524(2) (applying a

two-year statute of limitations to medical malpractice actions). See also Stephenson v.

Greenberg, 617 A.2d 364 (Pa. Super. Ct. 1992)

preliminary objections where medical malpractice action was barred by the two-year-

statute of limitations). As such, Penn

    the Third Amended Complaint should be sustained, and the Third Amended

Complaint should be dismissed in its entirety, with prejudice.




2 See Exhibit 1 at ¶¶ 19, 20, 21, 22. Plaintiff does not fashion a separate count for
Medical Malpractice in the Third Amended Complaint or meet the other pleading
requirements for asserting a medical malpractice claim. See, e.g., Pa. R. Civ. P.
1042.2.
                                              6
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          B.                     of Contract Claim Should Be Dismissed Pursuant
               to Pa.R.C.P.1028(a)(2), As Plaintiff Violates Pa.R.Civ.P. 1019(h) and (i)
               By Failing to Attach a Contract to the Third Amended Complaint.

                                                  Amended Complaint pursuant to

Pa.R.Civ.P.1028(a)(2), which provides that a party may preliminarily object to a

complaint for "failure . . . to conform to law or rule of court. " Pa.R.Civ.P.1028(a)(2).

Rule 1019(h) requires that, when any claim is based upon an agreement, the pleading

must state specifically if the agreement is oral or written. Pa.R.Civ.P. 1019(h). The



                                Official Note. Pennsylvania Rule of Civil Procedure

1019(i) further provides:

               When any claim or defense is based upon a writing, the
               pleader shall attach a copy of the writing, or the material part
               thereof, but if the writing or copy is not accessible to the
               pleader, it is sufficient so to state, together with the reason,
               and to set forth the substance in writing.

Pa.R.Civ.P. No. 1019(i).

       In her Third Amended Complaint, Plaintiff attaches a document that is nothing

more than a print-out from Penn     website that lists Penn    health and wellness

services, including CAPS, the Office of the Chaplain, and               at Penn. (Third

Amended Complaint at Exhibit A.) But even that document does not include any

specific contract or promises upon which Plaintiff claims to rely. (Id.) It is not enough to

attach a document to the Complaint; rather, the document must be a contract between

the parties that was allegedly breached.




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       Exhibit A to the Third Amended Complaint is simply a list of health and wellness

services provided by Penn. Exhibit A does not contain any contract or promises to

Plaintiff, nor does Plaintiff allege what services listed in Exhibit A Penn allegedly did not

provide, i.e., what specific contractual provision Penn breached. At most, Plaintiff

appears to be unhappy with the services provided by CAPS in 2008 and 2015, but none

of those allegations, even if true, fall within the four years prior to the filing of the

Complaint on April 1, 2020. (See Section II.A. above.)

                                                              relationship allows a student,

                                                                                             relate

to a specific and identifiable promise that the                                    v. Neumann

Univ., 177 F. Supp. 3d 920, 925 (E.D. Pa. 2016) (citing Vurimindi v. Fuqua Sch. of Bus.,

                                                                                        to

                                             suffice. Id. So must it be in the instant case.

Without identifying the specific contract and contractual provisions that Penn allegedly

breached, Penn is left to guess as to the misconduct of which it is accused.

        of contract claim therefore should be dismissed for failure to conform to Rules

1019(h) and (i). See Precision Towers, Inc. v. Nat-Com, Inc., No. 2143, 2002 Phila. Ct.

Com. Pl. LEXIS 16, *16 (Phila. C.C.P. Sept. 23, 2002) (Cohen, G., J.) (sustaining

preliminary objection and dismissing contract claim for failure to attach a writing

pursuant to Rule 1019(h)); Gemini Bakery Equip. v. Baktek, No. 3204, 2005 Phila. Ct.

Com. Pl. LEXIS 121, *8-9 (Phila. C.C.P. Apr. 11, 2005) (Abramson, J.) (same).




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          C.                       Estoppel Claim Should Be Dismissed Pursuant
               to Pa.R.C.P.1028(a)(4), For Failure to Allege the Necessary Facts to
               Support the Legal Elements of Inducement and Justifiable Reliance.

       An equitable estoppel claim requires proof of two essential elements: 1) an

inducement to act and 2) a justifiable reliance on that inducement. Havas v. Temple

University, 516 A.2d 17, 18 (Pa. Super. Ct. 1986). The burden rests upon the party

asserting estoppel to establish the elements thereof by evidence which is clear, precise,

and unequivocal. Novelty Knitting Mills, Inc. v. Siskind, 457 A.2d 502, 504 (1983).

       In the instant case are no facts alleged to support a claim of estoppel against

Penn. There is no inducement by Penn and no averments that Plaintiff acted in

justifiable reliance on a belief that she would become and remain physically healthy and

anxiety-free while a student at Penn. Farmers Trust Co. v. Bomberger, 523 A.2d 790,

794 (Pa. Super. Ct. 1987). Nothing in the Third Amended Complaint can support a

claim that Penn misled Plaintiff to her prejudice, let alone clear, precise and unequivocal

proofs of the same. Id. As s

dismissed, with prejudice.

          D.                                                           Be
               Dismissed Pursuant to Pa.R.C.P.1028(a)(2) And 1028(a)(4) For Failure
               to File Timely Certificates of Merit.

       Plaintiff, while she does not create a separate count for medical malpractice,

seems to assert

     Amended Complaint, all without filing corresponding Certificates of Merit. Exhibit

1 at ¶¶ 19, 20, 21, 22. See Grossman v. Barke, 868 A.2d 561, 569 (Pa. Super. Ct.

2005) (




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treatment, that is, when it involves diagnosis, care and treatment by licensed medical



   Pa. R.C.P. 1042.3 provides, in relevant part:

   (b) In any action based upon an allegation that a licensed professional deviated from
       an acceptable professional standard, the attorney for the plaintiff, or the plaintiff if
       not represented, shall file with the complaint or within sixty days after the
       filing of the complaint, a certificate of merit signed by the attorney or party that
       either

      (4) an appropriate licensed professional has supplied a written statement that
          there exists a reasonable probability that the care, skill or knowledge
          exercised or exhibited in the treatment, practice or work that is the subject of
          the complaint, fell outside acceptable professional standards and that such
          conduct was a cause in bringing about the harm, or
      (5) the claim that the defendant deviated from an acceptable professional
          standard is based solely on allegations that other licensed professionals for
          whom this defendant is responsible deviated from an acceptable professional
          standard, or

      (6) expert testimony of an appropriate licensed professional is unnecessary for
          prosecution of the claim.

Pa. R.C.P. No. 1042.3(a) (emphasis added)

                                                                                        No

Certificates of Merit supporting claims against any Penn doctor were ever filed in this

matter to date. Plaintiff should not be permitted to circumvent the mandate of a

Certificate of Merit and its timing requirements by bringing a medical malpractice claim

                                     Plaintiff has failed to conform to Rule 1042.3, all of

her claims in the nature of medical malpractice are legally deficient. See Pa.R.C.P.



           should be sustained.




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           E. Plaintiff is Wasting this Court Time with Repeated Amended
              Complaints that Continue to Fail to Allege Timely Claims or Identify
              an Actual Contract Breached by Penn, and Dismissal with Prejudice
              is Warranted and the Imposition of Costs and Legal Fees.

       To date, this Court has patiently endured four iterations of the Complaint.

Despite three prior iterations of the Complaint and three sets of Preliminary Objections

filed by Penn, Plaintiff is still unable to cure even the most basic defects of alleging

timely claims and identifying a specific contract or contractual provision breached by

Penn. Further amendment would be futile, as Plaintiff has been and will continue to be

unable to allege timely claims or a breached contract. When further amendment is

futile, the claims should be dismissed with prejudice. Bitter Sweet Props., LP v. City of

Farrell, No. 1640 C.D. 2016, 2017 Pa. Commw. Unpub. LEXIS 828, *4 (Pa. Commw. Ct.

Oct. 20, 2017), citing Weaver v. Franklin County, 918 A.2d 194, 203 (Pa. Commw. Ct.

2007); Brickman Group, Ltd. v. CGU Ins. Co., 865 A.2d 918, 926-27 (Pa. Super. Ct.

2004) (leave to further amend a complaint should be denied when a party will be unable

to state a claim on which relief could be granted).

       For filing repeated baseless claims against Penn, this Court can and should

award legal costs and fees to Penn, who has been forced to file four sets of Preliminary

Objections to Plaintiff    repeatedly defective Complaints. See 42 Pa. C.S. § 2503

(awarding counsel fees when, among other conduct, commencing or proceeding with a

matter was                vexatious or in bad faith   Levitt v. Brookmont Health Care Ctr.,

No. 9290 Civil 1997, 1999 Pa. Dist. & Cnty. Dec. LXIS 131, * 6 (Monroe Co. CCP Mar.

12, 1999) (defining                as a suit filed        sufficient grounds in either law or

in fact and if the suit served the sole purpose of causing annoyance         Feingold v.

Hendrzak, 15 A.3d 937, 939 (Pa. Super. Ct. 2011) (            to Appellant   repetitive filing

                                                11
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of baseless appeals in this Court, we sua sponte award all Appellees in the instant case

attorney   fees and remand to the trial court for calculation of those fees.

V.    CONCLUSION

      For the foregoing reasons, Defendant, The Trustees of the University of

Pennsylvania, respectfully requests that the Court sustain its Preliminary Objections and

                        Amended Complaint in its entirety, with prejudice. A proposed

order is attached.



                                          Respectfully submitted,

                                          TUCKER LAW GROUP

Date: October 5, 2020                     /s/ Leslie Miller Greenspan
                                          Joe H. Tucker, Jr., Esquire
                                          Leslie Miller Greenspan, Esquire
                                          Dimitrios Mavroudis, Esquire
                                          Ten Penn Center
                                          1801 Market Street, Suite 2500
                                          Philadelphia, PA 19103
                                          (215) 875-0609

                                          Attorneys for Defendant,
                                          The Trustees of the University of Pennsylvania




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                           CERTIFICATE OF COMPLIANCE

      I certify that this filing complies with the provisions of the Public Access Policy of

the Unified Judicial System of Pennsylvania, Case Records of the Appellate and Trial

Courts that require filing confidential information and documents differently than non-

confidential information and documents.



                                          TUCKER LAW GROUP, LLC


                                          /s/ Leslie Miller Greenspan
                                          Leslie Miller Greenspan, Esquire
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                                CERTIFICATE OF SERVICE

       I, Leslie M. Greenspan, Esquire, hereby certify that on the date set forth below a

copy of the foregoing was filed electronically. Notice of this filing will be sent to all

                                                      system. Parties may access this




                                                  TUCKER LAW GROUP, LLC


 Dated: October 5, 2020                           /s/ Leslie Miller Greenspan
                                                  Leslie Miller Greenspan, Esquire
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     EXHIBIT 1
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              In the Court of Common Pleas of Philadelphia County
                        Commonwealth of Pennsylvania

April Ploeger
505 S. 42nd St., Apt. 1F
Philadelphia, PA 19104
             Plaintiff,
                  v.                                      March Term 2020
                                                          Case No.: 2766
Trustees of the University of Pennsylvania,
d.b.a. The University of Pennsylvania,
a Pennsylvania nonprofit corporation
University of Pennsylvania
Philadelphia PA 19104.
             Defendant
                              NOTICE TO DEFEND

You have been sued in court. If you wish to defend against the claims set forth in
the following pages, you must take action within twenty (20) days after this
Complaint and notice are served, by entering a written appearance personally or by
attorney and filing in writing with the court your defenses or objections to the
claims set forth against you. You are warned that if you fail to do so the case may
proceed without you and a judgment may be entered against you by the court
without further notice for any money claimed in the Complaint or for any other
claim or relief requested by the plaintiff. You may lose money or property or other
rights important to you.

YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU
DO NOT HAVE A LAWYER, GO TO OR TELEPHONE THE OFFICE SET
FORTH BELOW. THIS OFFICE CAN PROVIDE YOU WITH INFORMATION
ABOUT HIRING A LAWYER.
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IF YOU CANNOT AFFORD TO HIRE A LAWYER, THIS OFFICE MAY BE
ABLE TO PROVIDE YOU WITH INFORMATION ABOUT AGENCIES THAT
MAY OFFER LEGAL SERVICES TO ELIGIBLE PERSONS AT A REDUCED
FEE OR NO FEE.
                    Philadelphia Bar Association
               Lawyer Referral and Information Service
                        One Reading Center
                       Philadelphia PA 19107
                     Telephone: (215) 238-1701

                                      AVISO

       Le han demando a usted en la corte. Si usted quiere defenderse de estas
demandas expuestas e las paginas siguentes, usted tiene veinte dias de plazo al partir
de la fecha de la demanda y la notificacion. Hace falta ascentar una comparencia
escrita o en persona o con un abogado y entregar a la corte en forma escrita sus
defensas o sus objeciones a las demandas en contra de su persona. Sea avisado que
si usted no de defiende, la corte tomara medidas y puede continuar la demanda en
contra suya sin previo aviso o notificacion. Ademas, la corte puede decidir a favor
del demandante y requiere que usted cumpla con todas las provisiones de esta
demanda. Usted puede perder dinero o sus propiedades u otros derechos importantes
para usted.
     LLEVE ESTA DEMANDA A UN ABOGADO IMMEDIATAMENTE,
SI NO TIENE ABOGADO O SI NO TIENE EL DINERO SUFICIENTE DE
PAGAR TAL SERVICIO, VAYA EN PERSONA O LLAME POR
TELEFONO A LA OFICINA CUYA DIRECCION DE ENCUENTRA
ESCRITA ABAJO PARA AVERIGUAR DONDE SE PUEDE CONSEGUIR
ASISTENCIA LEGAL.
                    Asociacion De Licenciados De Filadelfia
                  Servicio De Referencia E Informacion Legal
                              One Reading Center
                         Filadelfia, Pennsylvania 19107
                            Telefono: (215) 238-1701
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                        THIRD AMENDED COMPLAINT

                                       Parties

                                                  adult individual currently residing

at 505 S. 42nd St., Apt. 1F, Philadelphia, PA 19104.

2. Defendants herein are the Trustees of the University of Pennsylvania, d.b.a. The

                                                         or           a Pennsylvania

nonprofit corporation with an address at University of Pennsylvania, Philadelphia

PA 19104.

                               Causes of Action Pled

3. This is an action in two counts for damages brought under the common law of

contract controlling in Pennsylvania (Count 1.) or, in the alternative, under the

doctrine of equitable estoppel (Count 2.)

               Factual Allegations upon which the Complaint Rests

Count 1.

4.

      a. Ploeger began her search for a college or university to attend in the context

of a superior academic record and precarious health.




                                            1.
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      b. Her health concerns included several autoimmune disorders and severe

depression and anxiety.

      c. It was, therefore, both realistic for her to consider highly selective

universities and essential that she choose a school that both offered and provided

outstanding, compassionate, student health care.

5.

      a. Ploeger      quest for a university offering outstanding, compassionate,

student health care brought the University offering to her attention.

      b. Ploeger learned that the University                    and Psychological

                      provided free counseling to students.

      c. She also learned that t

provided physical

fee for SHS, paid by obligatory insurance coverage, but the University offered

Ploeger a grant to pay for the insurance premiums.

6. She learned of these benefits by:

                                   own proclamations on its website;

      b. by a reaffirmation of those proclamations given to her in a phone

conversation with University officials serving in what Ploeger recalls was referred

then referred to as               office; and

                                           2.
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health services were not only free, they were very good.

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reaffirming them, was:

        a.     of the top reasons                to enroll in the University; and

        b. the reason she chose the University rather than Dartmouth.

8. Motivated by the benefit of the health services promised her by the University

should she enroll at Penn, Ploeger applied for admission to the University as a full-

time, undergraduate student for Fall Semester, 2006.

9. Her application was accepted, and she expected to begin her freshman year in Fall

2006.

10. Her ill-health, however, compelled her to request, and the University granted, a

leave of absence for what would have been her first two semesters at the University

(i.e., Fall 2006; Spring 2007).

11. She returned to the University for the Fall 2007 semester, expecting then to begin

her undergraduate work.




                                          3.
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12. Upon her return Ploeger quickly realized that she would be unable to pursue her

studies without    the U                                              modifications

                                                                             alia, the

places in which, and the amount of time during which, academic work could be

completed at the University.

13. Not knowing the process governing requests for Modifications at the University.

Ploeger sought and was granted a second leave of absence, to run through the Fall

2007 and Spring 2008 semesters, during which time she undertook to learn, and did

learn, the process governing requests for Modifications at the University.

14. Upon resumption of her studies at the University in Fall Semester 2008, she

sought and was granted Modi

to proceed with her studies.

15. The Modifications granted for Fall Semester 2008 permitted Ploeger to complete

that semester.

16.

      a. The Modifications continued to be beneficial for Ploeger, but her health did

not permit her to continue in Spring 2009.

      b. She was compelled her to request a leave of absence.

      c. The University granted that request.

                                         4.
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17.

      a. Ploeger requested Modifications for each semester through and including

Spring 2015.

      b. Her requests were uncontested, and granted to her upon request through the

actions of Dr. William Alexander



18

proclaimed devotion to caring for the mental and physical health of its students,

            mental and physical health in fact continued to deteriorate because of

improper treatment and actual cruelty at the hands of the University          health

services.

19.

      a. In 2008 Ploeger showed Dr. Alexander cuts that she had inflicted along her

left arm and on one of her wrists in an attempt to self-harm and attempt suicide.

      b. Her hope, having survived, had been to be admitted to Hall Mercer, a

      mental health care clinic.

      c. Dr. Alexander instead gave her a prescription for the same pills on which

      she had overdosed the night before and told Ploeger

      band aid on it.

                                         5.
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      d. In addition to the harm done to her by Alexander response to her physical

and mental health needs, Ploeger was caused deep distress by his pursuit of personal

intimacy with her.

20.

       a. Ploeger                                                              physical

and mental health needs, the circumstances in which that response had been made,

and the distress caused her by Alexander pursuit of personal intimacy with her.

      b. In 2015 Dr. Alexander threatened Ploeger with retribution for that

disclosure.

      c. Rather than providing the superior health care offered by the University as

a material inducement to her enrollment at the University, Dr. Alexander

toward Ploeger materially harmed her already fragile mental health.

21.

      a. In 2008, suffering from intense pain in her back, Ploeger sought out Dr.

Deborah Niles, a

      b. Dr. Niles wrote orders for x-rays of Ploeger back.

      c.

              i. Dr. Niles did not tell Ploeger -- as Ploeger was told by another doctor

years later -- that the x-ray showed several compression fractures.

                                           6.
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               ii. Rather, Dr. Niles permitted Ploeger to believe that her pain was just

a generalized problem.

22.

      a. In 2007 Ploeger called a counselor at CAPS afterhours service and told the

      counselor that she, Ploeger, was suicidal.

      b. The counselor in reply told Ploeger to

time for this.

23.

      a. In 2015 Ploeger sought refuge from the distress of these actions by speaking

of them to Dr. Max King, Vice Provost for University Life, as well as to University

President Dr. Amy Guttman.

      b. The University      response was to rebuff her, telling her by phone that she

would be arrested if she addressed these issues with President Guttman again or

attempted to


24. Also in 2015, while Ploeger was meeting with the Vice Provost for University

Life in the Vice Provost     office, the University police

apartment without                               prior knowledge and left the apartment

ransacked.


                                           7.
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25.

      a. In 2016 Ploeger sought to resume her studies at the University, and sought

the same Modifications that had been granted to her in the past.

      b. In support of her request, Ploeger brought notes from three medical

professionals, including a psychologist and a psychiatrist

need for Modifications.

      c. On prior occasions tendering such support sufficient to gain Ploeger the

Modifications she sought.

      d. In 2016 she was told that she would have to meet with counsellors at SDS.

26.

      a. Ploeger experiences with SDS in the Spring of 2015 made her feel unsafe

about such a meeting, and she asked leave to bring an advocate with her.

      b. Her request was refused.

27.

      a. When exam dates approached Ploeger felt a desperate need for

Modifications.

      b. Impelled by her desperation, she made numerous calls to SDS to state that

she would meet with them under any terms just to gain the same Modifications she

had always had in the past.

                                         8.
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      c. Her calls were ignored by SDS.

28.

      a. Unable to gain the Modifications she sought, and had always in the past

been granted, Ploeger was not able to complete her midterms.

      b. That in turn forced her to drop the semester.

      c. That in turn destroyed her mental health and left her destitute and homeless.

29. Ploeger will testify that had she known how she brutally different her treatment

by CAPS and SDS would be from the claims set forth in the University

tendered to entice her enrollment, she would, without question, have chosen to attend

a different university.

30.

                                                            continues to be disrupted

by the breaches cited above of the University contractual obligations.

      b. That disruption alone would and does create an increasingly grave burden

      upon Ploeger.

31. She is also in increasingly grave financial distress.

32. Her health, already needful of care before these actions and inactions by the

University, has suffered and continues to suffer increasingly from the latter.



                                          9.
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33.

      a. She feels, for the reasons and under the circumstances alleged above, worse

than abandoned by the University.

      b. She feels utterly rebuffed by and denied the special services within the

University that the University presents to the public and presented to Ploeger as

supported by the premier health facilities at the University and specifically at the

service of the

34. Ploeger incorporates the allegations set forth in Paragraphs 4 through 33 in this

Paragraph 34.

35. The allegations set forth by incorporation in Paragraph 34 state a claim for breach

of contract.

Count 2.

36. The allegations of fact set forth by incorporation in Paragraph 34 above are set

forth by incorporation in this Paragraph 36.

37. The allegations of fact set forth by incorporation in Paragraph 36 above state, in

the alternative, a breach under the equitable doctrine of estoppel.




                                         10.
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                                   CONCLUSION

38.

      a. By 2017 Ploeger despaired of her ability to persuade the University to

provide the benefits whose offer to her had induced her to enroll at Penn.

      b. She therefore engaged the undersigned as legal counsel, with the mutual

understanding that every effort would be obtain for Ploeger, without litigation, the

support that she had been offered prior to, and whose offer induced, her enrollment

at the University.

      c. Those efforts having failed to achieve their desired end, this litigation

followed.

39. The

offered to Ploeger by the University and by Ploeger accepted through her enrollment,

including the promise of skilled, compassionate health set forth in Exhibit A and of

the utmost necessity to Ploeger, have been breached and remain in breach.

40. That breach, in all its manifestations, is the material cause of the distress

financial, physical, educational    in which she has for long been placed by the

University and in which she now remains.




                                        11.
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                              DEMAND FOR RELIEF

41. WHEREFORE, for the reasons and under the circumstances set forth above,

Ploeger with respect for the Court and in reliance upon the law and facts demands

of the Court a trial on the merits of this matter and will at the end of such trial seek

an order in favor of Plaintiff and against Defendant; money damages in an amount

in excess of the jurisdictional amount and in such specific amount as the Court finds

just under applicable law applied to the evidence of record; and such further relief

as the Court may determine to be just.

                                               /s/ E. Daniel Larkin
                                               E. Daniel Larkin,
                                               Counsel for Plaintiff
                                               PA Atty. ID 32395
                                               742 S. Latches Lane
                                               Merion Station PA 19066
                                               610.660.5201 (ph.)
                                               610.660.5940 (fax)
                                               dan@danlarkinlaw.com

Tendered September 15, 2020




                                          12
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                           Exhibit
     Case 2:22-cv-02389-JHS Document 1-1 Filed 06/17/22 Page 258 of 415




                                 VERIFICATION
      The undersigned, April Ploeger, affirms and verifies that she is the Plaintiff
named in the foregoing Third Amended Complaint filed on her behalf with this
Verification in the matter known as Ploeger v. Trustees of the University of
Pennsylvania, d.b.a University of Pennsylvania (Philadelphia Court of Common
Pleas); that she has read the foregoing Third Amended Complaint; that she is
familiar, through personal knowledge or through information and belief, as pled with
specificity in the foregoing Third Amended Complaint, with the facts averred
therein; and that all factual averments in such Third Amended Complaint are true
and correct to the best of her knowledge, information or belief, as specified in the
Amended Complaint.

      The undersigned makes this statement subject to the penalties provided by 18
Pa.C.S. Section 4904 relating to unsworn falsification to authorities.


                                                     April Ploeger
                                           Plaintiff in the matter referred to above


Dated: September 15, 2020
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                        CERTIFICATE OF COMPLIANCE

I certify that this filing complies with the provisions of the Public Access Policy of

the Unified Judicial System of Pennsylvania, Case Records of the Appellate and

Trial Courts that require filing confidential information and documents differently

than non-confidential information and documents.

                                       /s/E. Daniel Larkin
                                       E. Daniel Larkin
                                       742 S. Latches Lane
                                       Merion PA 19066
                                       610.660.5201
        Case 2:22-cv-02389-JHS Document 1-1 Filed 06/17/22 Page 260 of 415




                           CERTIFICATE OF SERVICE

I certify that on September 15, 2020, I caused a true and correct copy of the foregoing

Third

   Greenspan, Esquire, by

and:

By e-mail attachment sent to lgreenspan@tlgattorneys.com

                                        /s/E. Daniel Larkin
                                        E. Daniel Larkin
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 PHILADELPHIA COURT OF COMMON PLEAS                                                               CONTROL NUMBER:
     PETITION/MOTION COVER SHEET                                                                                        20100498
                   FOR COURT USE ONLY
                                                                                                     (RESPONDING PARTIES MUST INCLUDE THIS
    ASSIGNED TO JUDGE:       ANSWER/RESPONSE DATE:                                                   NUMBER ON ALL FILINGS)


                                                                                                                March                        Term,
                                                                                                                                                         2020
    Do not send Judge courtesy copy of Petition/Motion/Answer/Response.                                      Month                                        Year
    Status may be obtained online at http://courts.phila.gov
                                                                                               No.                             02766
                                                                                               Name of Filing Party:
    PLOEGER VS TRUSTEES OF THE UNIVERSITY
                 OF PENNSYLVA                                                                   APRIL PLOEGER-PLF



                                                                        Has another petition/motion been decided in this case?                     Yes      No
  INDICATE NATURE OF DOCUMENT FILED:                                    Is another petition/motion pending?                                        Yes       No
     Petition (Attach Rule to Show Cause)      Motion
                                                                        If the answer to either question is yes, you must identify the judge(s):
   X Answer to Petition            Response to Motion

  TYPE OF PETITION/MOTION (see list on reverse side)                                                                  PETITION/MOTION CODE
                                                                                                                      (see list on reverse side)
   ANSWER (MOTION/PETITION) FILED                                                                                          MTANS
  ANSWER / RESPONSE FILED TO (Please insert the title of the corresponding petition/motion to which you are responding):
   PROBJ - PRELIMINARY OBJECTIONS
    I. CASE PROGRAM                                                              II. PARTIES (required for proof of service)
                                                                                 (Name, address and telephone number of all counsel of record and
      DAY FORWARD/MAJOR JURY PROGRAM                                             unrepresented parties. Attach a stamped addressed envelope for each
                                                                                 attorney of record and unrepresented party.)
       Court Type: JUDGE ARNOLD NEW                                              E DANIEL LARKIN
       Applicable Petition/Motion Deadline: N/A                                    742 S LATCHES LN , MERION PA 19066
       Has deadline been previously extended by the Court: N/A
                                                                                 LESLIE M GREENSPAN
                                                                                   TUCKER LAW GROUP TEN PENN CENTER 1801
                                                                                   MARKET ST., SUITE 2500 , PHILADELPHIA
                                                                                   PA 19103




   III. OTHER



  By filing this document and signing below, the moving party certifies that this motion, petition, answer or response along with all documents filed, will be
  served upon all counsel and unrepresented parties as required by rules of Court (see PA. R.C.P. 206.6, Note to 208.2(a), and 440). Furthermore, moving party
  verifies that the answers made herein are true and correct and understands that sanctions may be imposed for inaccurate or incomplete answers.

                                                                 November 5, 2020                      E DANIEL. LARKIN
         (Attorney Signature/Unrepresented Party)                            (Date)                    (Print Name)                        (Attorney I.D. No.)
  The Petition, Motion and Answer or Response, if any, will be forwarded to the Court after the Answer/Response Date.
  No extension of the Answer/Response Date will be granted even if the parties so stipulate.
30-1061B E-File# 2011009652
06-NOV-20 10:05:11
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                  05 NOV 2020 11:59 pm

                 E. MEENAN




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                                                             Control No.: 20100498
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                 E. MEENAN




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                 E. MEENAN




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                        29 NOV 2020 06:31 pm

                          E. MEENAN

 April Ploeger,                              :
                                             :   PHILADELPHIA COUNTY
                                Plaintiff,   :   COURT OF COMMON PLEAS
                                             :
        v.                                   :   MARCH TERM 2020
                                             :
 Trustees of the University of Pennsylvania, :   No: 2766
 d/b/a The University of Pennsylvania,       :
                                             :
                                  Defendant. :


                                        ORDER

       AND NOW this _______ day of ____________2020, upon consideration of

Plaintiff’s Preliminary Objections to the Preliminary Objections of Defendant, The

Trustees of the University of Pennsylvania, to Plaintiff’s Third Amended Complaint, and

the response thereto filed by Defendant on November 29, 2020, it is hereby ORDERED

that Plaintiff’s Preliminary Objections are hereby OVERRULED as to statute of

limitations.



                                         BY THE COURT:



                                         _________________________________
                                                                         J.




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                                                                              Control No.: 20100498
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    TUCKER LAW GROUP, LLC
    Joe H. Tucker, Jr., Esquire (#56617)        ATTORNEYS FOR DEFENDANT,
    Leslie Miller Greenspan, Esquire (#91639)   THE TRUSTEES OF THE UNIVERSITY
    Dimitrios Mavroudis, Esquire (#93773)       OF PENNSYLVANIA
    Ten Penn Center
    1801 Market Street, Suite 2500
    Philadelphia, PA 19103
    (215) 875-0609
    jtucker@tlgattorneys.com
    lgreenspan@tlgattorneys.com
    dmavroudis@tlgattorneys.com

                                                :
    April Ploeger,                              :   PHILADELPHIA COUNTY
                                                :   COURT OF COMMON PLEAS
                                   Plaintiff,   :
                                                :   MARCH TERM 2020
           v.                                   :
                                                :   No: 2766
    Trustees of the University of Pennsylvania, :
    d/b/a The University of Pennsylvania,       :
                                                :
                                     Defendant. :

                   MEMORANDUM OF LAW OF DEFENDANT,
    THE TRUSTEES OF THE UNIVERSITY OF PENNSYLVANIA, IN OPPOSITION TO
     PLAINTIFF’S PRELIMINARY OBJECTIONS TO DEFENDANT’S PRELIMINARY
          OBJECTIONS TO PLAINTIFF’S THIRD AMENDED COMPLAINT1

         Defendant, The Trustees of the University of Pennsylvania (“Penn” or the

“University”), by and through its counsel, submits this Memorandum of Law in




1 The lone issue addressed in this memorandum – whether the statute of limitations
may be asserted in preliminary objections – appears to have been mooted by this
Court’s Order docketed on November 25, 2020, in which this Court sustained in part
and overruled in part Penn’s preliminary objections based on the statute of limitations.
This Court dismissed all averments in the Third Amended Complaint from before 2016.
The Order did not specifically reference Plaintiff’s Preliminary Objections to Defendant’s
Preliminary Objections. This short memorandum is, therefore, submitted in an
abundance of caution and to assure the Court of the propriety of ruling on a preliminary
objection based on the statute of limitations when the untimeliness of claims is clear
from the face of the Complaint.


                                                                                 Case ID: 200302766
                                                                               Control No.: 20100498
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opposition to the Preliminary Objections filed by Plaintiff on or about November 6 and 9,

2020 to refute one misstatement of law by Plaintiff. Plaintiff argued, in part, that the

defense of the statute of limitations can only be asserted as new matter. Relevant case

law, however, permits a defendant to raise the statute of limitations in the context of

preliminary objections when it is clear on the face of the complaint that the claims are

time-barred. E.g., Scavo v. Old Forge Borough, 978 A.2d 1076, 1078 (Pa. Commw. Ct.

2009) (while plaintiff was correct that Pa. R. Civ. P. 1030 stated that a statute of

limitations defense is properly raised in new matter, “where an affirmative defense is

clear on the face of the pleadings, it may be addressed by the court at the preliminary

objection stage.”).

       In the instant case, the large majority of Plaintiff’s allegations refer to conduct

dating back to 2007, 2008, and 2015. See Third Amended Complaint at ¶¶ 19, 20, 21,

22, 23, 24. The face of the Complaint, therefore, makes clear that Plaintiff’s claims from

prior to April 1, 2016 are time-barred, as this case was not filed until April 1, 2020.



                                           Respectfully submitted,

                                           TUCKER LAW GROUP, LLC

Date: November 29, 2020                    /s/ Leslie Miller Greenspan
                                           Joe H. Tucker, Jr., Esquire
                                           Leslie Miller Greenspan, Esquire
                                           Dimitrios Mavroudis, Esquire
                                           Ten Penn Center
                                           1801 Market Street, Suite 2500
                                           Philadelphia, PA 19103
                                           (215) 875-0609

                                           Attorneys for Defendant,
                                           The Trustees of the University of Pennsylvania



                                              2
                                                                                     Case ID: 200302766
                                                                                   Control No.: 20100498
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                           CERTIFICATE OF COMPLIANCE

      I certify that this filing complies with the provisions of the Public Access Policy of

the Unified Judicial System of Pennsylvania, Case Records of the Appellate and Trial

Courts that require filing confidential information and documents differently than non-

confidential information and documents.



                                          TUCKER LAW GROUP, LLC


                                          /s/ Leslie Miller Greenspan
                                          Leslie Miller Greenspan, Esquire




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                                CERTIFICATE OF SERVICE

       I, Leslie M. Greenspan, Esquire, hereby certify that on the date set forth below a

copy of the foregoing was filed electronically. Notice of this filing will be sent to all

parties by operation of the Court’s electronic filing system. Parties may access this

filing through the Court’s system.



                                                  TUCKER LAW GROUP, LLC


 Dated: November 29, 2020                         /s/ Leslie Miller Greenspan
                                                  Leslie Miller Greenspan, Esquire




                                                                                      Case ID: 200302766
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                                                              Filed and Attested by the
 TUCKER LAW GROUP, LLC                                       Office of Judicial Records
 Joe H. Tucker, Jr., Esquire (#56617)                            28 JAN 2021 05:07 pm
                                                ATTORNEYS FOR DEFENDANT,
 Leslie Miller Greenspan, Esquire (#91639)                            G. IMPERATO
                                                THE TRUSTEES OF THE UNIVERSITY
 Ten Penn Center                                OF PENNSYLVANIA
 1801 Market Street, Suite 2500
 Philadelphia, PA 19103
 (215) 875-0609
 jtucker@tlgattorneys.com
 lgreenspan@tlgattorneys.com

                                             :
 April Ploeger,                              :    PHILADELPHIA COUNTY
                                             :    COURT OF COMMON PLEAS
                                Plaintiff,   :
                                             :    MARCH TERM 2020
        v.                                   :
                                             :    No: 2766
 Trustees of the University of Pennsylvania, :
 d/b/a The University of Pennsylvania,       :
                                             :
                                  Defendant. :

                  ANSWER AND NEW MATTER OF DEFENDANT,
             THE TRUSTEES OF THE UNIVERSITY OF PENNSYLVANIA,
                  TO PLAINTIFF’S THIRD AMENDED COMPLAINT

       Defendant, The Trustees of the University of Pennsylvania (“Penn,” the

“University,” or “Defendant”), by and through its counsel, hereby answers the Third

Amended Complaint of Plaintiff, April Ploeger (“Plaintiff”), with New Matter as follows:

       1.     Denied. After reasonable investigation, Penn is without knowledge or

information sufficient to respond to the allegations set forth in this paragraph, and they

are, therefore, denied.

       2.     Denied as stated. It is admitted only that Penn is a Pennsylvania non-

profit corporation with an address of 3451 Walnut Street, Room 329, Philadelphia, PA

19104.




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       3.     Admitted in part and denied in part. It is admitted that Plaintiff filed claims

for breach of contract and equitable estoppel. The claim for equitable estoppel was

dismissed per Order of the Court dated November 24, 2020. It is denied that Plaintiff is

entitled to the relief she seeks under these legal theories.

Count 1

       4.     Denied. After reasonable investigation, Penn is without knowledge or

information sufficient to respond to the allegations set forth in this paragraph, and they

are, therefore, denied. Further responding, the allegations from prior to 2016 were

dismissed by Order of the Court dated November 24, 2020.

       5.     Admitted in part and denied in part. It is admitted only that Penn provides

counseling services through its Counseling and Psychological Services (“CAPS”) and

other healthcare services through the University’s Student Health Service (“SHS”).

After reasonable investigation, Penn is without knowledge or information sufficient to

respond to the remaining allegations set forth in this paragraph, specifically as to what

Plaintiff learned, and they are, therefore, denied. Further responding, the allegations

from prior to 2016 were dismissed by Order of the Court dated November 24, 2020.

       6.     Denied. After reasonable investigation, Penn is without knowledge or

information sufficient to respond to the allegations set forth in this paragraph,

specifically as to what Plaintiff learned and how, and they are, therefore, denied.

Further responding, the allegations from prior to 2016 were dismissed by Order of the

Court dated November 24, 2020.

       7.     Denied. After reasonable investigation, Penn is without knowledge or

information sufficient to respond to the allegations set forth in this paragraph,



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specifically as to on what bases Plaintiff based her college decision, and they are,

therefore, denied. Further responding, the allegations from prior to 2016 were

dismissed by Order of the Court dated November 24, 2020.

       8.     Denied. After reasonable investigation, Penn is without knowledge or

information sufficient to respond to the allegations set forth in this paragraph,

specifically as to what “motivated” Plaintiff, and they are, therefore, denied. Further

responding, the allegations from prior to 2016 were dismissed by Order of the Court

dated November 24, 2020.

       9.     Admitted that Plaintiff was accepted to Penn and was expected to begin

her studies in the Fall 2006 semester. Further responding, the allegations from prior to

2016 were dismissed by Order of the Court dated November 24, 2020.

       10.    Admitted in part and denied in part. It is admitted that Penn granted

Plaintiff a leave of absence on or about September 1, 2006 for the Fall 2006 semester

and for the Spring 2007 semester. After reasonable investigation, Penn is without

knowledge or information sufficient to respond to the allegations set forth in this

paragraph, and they are, therefore, denied. Further responding, the allegations from

prior to 2016 were dismissed by Order of the Court dated November 24, 2020.

       11.    Admitted in part and denied in part. It is admitted that Penn granted

Plaintiff another leave of absence on or about November 8, 2007 for the Fall 2007

semester and the Spring 2008 semester. After reasonable investigation, Penn is

without knowledge or information sufficient to respond to the allegations set forth in this

paragraph, and they are, therefore, denied. Further responding, the allegations from

prior to 2016 were dismissed by Order of the Court dated November 24, 2020.



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       12.    Denied. After reasonable investigation, Penn is without knowledge or

information sufficient to respond to the allegations set forth in this paragraph,

specifically what Plaintiff “realized” and when, and they are, therefore, denied. Further

responding, the allegations from prior to 2016 were dismissed by Order of the Court

dated November 24, 2020.

       13.    Admitted in part and denied in part. It is admitted that Penn granted

Plaintiff another leave of absence on or about November 8, 2007 for the Fall 2007

semester and the Spring 2008 semester. After reasonable investigation, Penn is

without knowledge or information sufficient to respond to the remainder of the

allegations set forth in this paragraph, specifically what Plaintiff knew and learned, and

they are, therefore, denied. Further responding, the allegations from prior to 2016 were

dismissed by Order of the Court dated November 24, 2020.

       14.    Admitted in part and denied in part. It is admitted that Plaintiff resumed

her studies in the Fall 2008 semester and was granted accommodations by the

University’s Student Disability Services (“SDS”). The accommodations granted were:

(a) extended test-taking time, 50% more time for in-class tests and quizzes, and (b)

alternative test locations to reduce distractions. Plaintiff reviewed and approved these

accommodations on October 21, 2008. After reasonable investigation, Penn is without

knowledge or information sufficient to respond to the remainder of the allegations set

forth in this paragraph, and they are, therefore, denied. Further responding, the

allegations from prior to 2016 were dismissed by Order of the Court dated November

24, 2020.




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       15.    Admitted in part and denied in part. It is admitted that Plaintiff resumed

her studies in the Fall 2008 semester and was granted accommodations by SDS. The

accommodations granted were: (a) extended test-taking time, 50% more time for in-

class tests and quizzes, and (b) alternative test locations to reduce distractions. Plaintiff

reviewed and approved these accommodations on October 21, 2008. Plaintiff

completed the Fall 2008 semester. After reasonable investigation, Penn is without

knowledge or information sufficient to respond to the remainder of the allegations set

forth in this paragraph, and they are, therefore, denied. Further responding, the

allegations from prior to 2016 were dismissed by Order of the Court dated November

24, 2020.

       16.    Admitted in part and denied in part. It is admitted only that the University

granted Plaintiff a leave of absence on or about February 13, 2009 for the Spring 2009

semester. After reasonable investigation, Penn is without knowledge or information

sufficient to respond to the remainder of the allegations set forth in this paragraph, and

they are, therefore, denied. Further responding, the allegations from prior to 2016 were

dismissed by Order of the Court dated November 24, 2020.

       17.    Denied as stated. It is admitted only that Plaintiff requested and was

granted accommodations in the Fall 2008 semester. It is denied that Plaintiff completed

coursework at Penn other than the Fall 2008 semester. It is denied that Dr. William

Alexander granted Plaintiff any accommodations; only SDS is authorized to assess

requests for accommodations and approve accommodations. Further responding, the

allegations from prior to 2016 were dismissed by Order of the Court dated November

24, 2020.



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        18.   Admitted in part and denied in part. It is admitted only that Plaintiff

requested and was granted accommodations in the Fall 2008 semester. After

reasonable investigation, Penn is without knowledge or information sufficient to respond

to the remainder of the allegations set forth in this paragraph, and they are, therefore,

denied. Further responding, the allegations from prior to 2016 were dismissed by Order

of the Court dated November 24, 2020. It is specifically denied that Penn treated

Plaintiff improperly or with cruelty.

        19.   Denied. The allegations from prior to 2016 were dismissed by Order of

the Court dated November 24, 2020. Penn further denies the wrongdoing alleged by

Plaintiff.

        20.   Denied. The allegations from prior to 2016 were dismissed by Order of

the Court dated November 24, 2020. Penn further denies the wrongdoing alleged by

Plaintiff.

        21.   Denied. The allegations from prior to 2016 were dismissed by Order of

the Court dated November 24, 2020. Penn further denies the wrongdoing alleged by

Plaintiff.

        22.   Denied. The allegations from prior to 2016 were dismissed by Order of

the Court dated November 24, 2020. Penn further denies the wrongdoing alleged by

Plaintiff.

        23.   Denied. The allegations from prior to 2016 were dismissed by Order of

the Court dated November 24, 2020. Penn further denies the wrongdoing alleged by

Plaintiff.




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         24.   Denied. The allegations from prior to 2016 were dismissed by Order of

the Court dated November 24, 2020. Penn further denies the wrongdoing alleged by

Plaintiff.

         25.   Admitted in part and denied in part. It is admitted only that Plaintiff

contacted SDS in 2016. It is denied that Plaintiff fully or properly completed the process

for requesting academic accommodations, including a collaborative interview with SDS

staff.

         26.   Admitted in part and denied in part. It is admitted only that Plaintiff

requested to bring an advocate and/or attorney to a phone call with SDS staff. After

reasonable investigation, Penn is without knowledge or information sufficient to respond

to the remainder of the allegations set forth in this paragraph, specifically how Plaintiff

felt, and they are, therefore, denied. The allegations from prior to 2016 were dismissed

per Order of the Court dated November 24, 2020.

         27.   Admitted in part and denied in part. It is admitted only that Plaintiff

contacted SDS in 2016. It is denied that Plaintiff fully or properly completed the process

for requesting academic accommodations, including a collaborative interview with SDS

staff. It is further denied that SDS “ignored” Plaintiff’s calls. After reasonable

investigation, Penn is without knowledge or information sufficient to respond to the

remainder of the allegations set forth in this paragraph, specifically how Plaintiff felt, and

they are, therefore, denied.

         28.   Admitted in part and denied in part. It is admitted only that Penn granted

Plaintiff a leave of absence on or about February 25, 2016 for the Spring 2016

semester. After reasonable investigation, Penn is without knowledge or information



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sufficient to respond to the remainder of the allegations set forth in this paragraph, and

they are, therefore, denied.

       29.    Denied. After reasonable investigation, Penn is without knowledge or

information sufficient to respond to the allegations set forth in this paragraph,

specifically as to how Plaintiff will testify and what Plaintiff thought, and they are,

therefore, denied. Further responding, Penn denies the wrongdoing alleged by Plaintiff.

       30.    Denied as a legal conclusion to which no response is required. To the

extent a response is required, it is denied that Penn breached any agreement with

Plaintiff. Further responding, after reasonable investigation, Penn is without knowledge

or information sufficient to respond to the remainder of the allegations set forth in this

paragraph, specifically as to how Plaintiff feels, and they are, therefore, denied.

       31.    Denied. After reasonable investigation, Penn is without knowledge or

information sufficient to respond to the allegations set forth in this paragraph,

specifically as to Plaintiff’s financial situation, and they are, therefore, denied.

       32.    Denied. After reasonable investigation, Penn is without knowledge or

information sufficient to respond to the allegations set forth in this paragraph,

specifically as to Plaintiff’s health, and they are, therefore, denied.

       33.    Denied. After reasonable investigation, Penn is without knowledge or

information sufficient to respond to the allegations set forth in this paragraph,

specifically as to how Plaintiff feels, and they are, therefore, denied.

       34.    This paragraph merely contains an incorporation clause that does not

require a response.

       35.    Denied as a legal conclusion to which no response is required.



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Count 2

        36.   This paragraph merely contains an incorporation clause that does not

require a response.

        37.   Denied as a legal conclusion to which no response is required. To the

extent a response is required, Plaintiff’s equitable estoppel claim was dismissed by

Order of the Court dated November 24, 2020.

        38.   Denied. After reasonable investigation, Penn is without knowledge or

information sufficient to respond to the allegations set forth in this paragraph,

specifically as to how Plaintiff felt and when and why she hired an attorney, and they

are, therefore, denied.

        39.   Denied as a legal conclusion to which no response is required. To the

extent a response is required, it is denied that Penn breached any agreement with

Plaintiff.

        40.   Denied as a legal conclusion to which no response is required. To the

extent a response is required, it is denied that Penn breached any agreement to

Plaintiff. Further responding, after reasonable investigation, Penn is without knowledge

or information sufficient to respond to the remaining allegations set forth in this

paragraph, specifically as to Plaintiff’s alleged damages, and they are, therefore,

denied.

        41.   Denied as a legal conclusion and prayer for relief, to which no response is

required. To the extent a response is required, it is denied that Plaintiff is entitled to the

relief she seeks.




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       WHEREFORE, Defendant, The Trustees of the University of Pennsylvania,

respectfully requests that this Court dismiss all claims asserted by Plaintiff and enter

judgment in favor of Defendant and grant any and all other relief this Court deems just

and appropriate.



                                                   To Plaintiff:

                                                   You are hereby notified to file a written
                                                   response to the enclosed New Matter
                                                   within twenty (20) days from service
                                                   hereof or a judgment may be entered
                                                   against you.

                                                   /s/ Leslie Miller Greenspan
                                                   Attorney for the Defendant


                                       NEW MATTER

       1.     Plaintiff’s Third Amended Complaint fails to state a cause of action against

the Penn upon which relief can be granted.

       2.     Plaintiff’s claims are barred by the doctrine of laches.

       3.     Defendant is prejudiced by Plaintiff’s delay in filing this lawsuit.

       4.     Plaintiff’s claims may be barred, in whole or in part, by the applicable

statute of limitations or contractual limitations period.

       5.     Plaintiff did not request and/or was not denied reasonable

accommodations.

       6.     Requests for reasonable accommodations must be evaluated and

assessed by the University’s Office of Student Disabilities Services and are not

determined by individual providers in the CAPS program.



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        7.     Plaintiff was not entitled to further accommodations beyond those approved

by the University’s Office of Student Disabilities Services.

        8.     Plaintiff may not have followed the University’s required process for

requesting reasonable accommodations.

        9.     The University took reasonable steps to accommodate Plaintiff’s alleged

disability.

        10.    At all times material hereto, the University acted in a manner that was

proper, reasonable, lawful, and in the exercise of good faith.

        11.    Defendant owed no duty to Plaintiff outside of any written agreements

between the parties.

        12.    To the extent Defendant owed any duty to Plaintiff, Defendant performed

each and every duty in full.

        13.    Any act or failure to act on the part of Defendant was neither a substantial

nor causative factor of the subject incident or claimed damages.

        14.    Defendant’s conduct did not cause, proximately cause, or solely cause the

injuries and/or damages claimed by Plaintiff.

        15.    Plaintiff has failed to prove that she suffered any damages.

        16.    The parol evidence rule may bar some or all of Plaintiff’s claims and

allegations.

        17.    Plaintiff’s claims may be barred by the doctrines of release, waiver, or

estoppel.

        18.    Plaintiff may have failed to mitigate her damages.

        19.    Defendant hereby gives notice that it reserves the right to amend its Answer



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to assert any additional defenses and matters in avoidance that may be disclosed during

the course of additional investigation and discovery.

      WHEREFORE, Defendant, The Trustees of the University of Pennsylvania,

respectfully requests that this Court dismiss all claims asserted by Plaintiff and enter

judgment in favor of Defendant and grant any and all other relief this Court deems just

and appropriate.



                                         Respectfully submitted,

                                         TUCKER LAW GROUP, LLC

Date: January 28, 2020                   /s/ Leslie Miller Greenspan
                                         Joe H. Tucker, Jr., Esquire
                                         Leslie Miller Greenspan, Esquire
                                         Ten Penn Center
                                         1801 Market Street, Suite 2500
                                         Philadelphia, PA 19103
                                         (215) 875-0609
                                         jtucker@tlgattorneys.com
                                         lgreenspan@tlgattorneys.com

                                         Attorneys for Defendant,
                                         The Trustees of the University of Pennsylvania




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                                      VERIFICATION

       I, Jane F. Holahan, hereby declare that I am the Executive Director of the

Weingarten Learning Resources Center and am authorized to make this verification on

behalf of Defendant The Trustees of the University of Pennsylvania (“Penn”). The

factual averments in the foregoing Answer and New Matter of Penn to Plaintiff’s

Complaint are based upon information which I have furnished to my counsel and

information which has been gathered by my counsel in the preparation of the lawsuit.

The language of the pleading is that of counsel and not mine. I have read the pleading

and to the extent that the statements therein are based upon information I have given to

my counsel, they are true and correct to the best of my knowledge, information, and

belief. To the extent that the contents of the pleading are that of counsel, I have relied

upon counsel in making this Verification. I understand that false statements herein are

made subject to the penalties of 18 Pa. C.S. Section 4904 relating to unsworn falsification

to authorities.



                                           Jane F. Holahan (Electronic Signature)
                                           Jane F. Holahan
Dated: January 27, 2021




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                           CERTIFICATE OF COMPLIANCE

      I certify that this filing complies with the provisions of the Public Access Policy of

the Unified Judicial System of Pennsylvania, Case Records of the Appellate and Trial

Courts that require filing confidential information and documents differently than non-

confidential information and documents.



                                          TUCKER LAW GROUP, LLC


                                          /s/ Leslie Miller Greenspan
                                          Leslie Miller Greenspan, Esquire




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                                CERTIFICATE OF SERVICE

       I, Leslie M. Greenspan, Esquire, hereby certify that on the date set forth below a

copy of the foregoing was filed electronically. Notice of this filing will be sent to all

parties by operation of the Court’s electronic filing system. Parties may access this

filing through the Court’s system.



                                                  TUCKER LAW GROUP, LLC


 Dated: January 28, 2020                          /s/ Leslie Miller Greenspan
                                                  Leslie Miller Greenspan, Esquire




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                                                              Filed and Attested by the
                                                             Office of Judicial Records
                                                                 05 APR 2021 07:09 am
                                                                      A. STAMATO




                  In the Court of Common Pleas of Philadelphia County
                            Commonwealth of Pennsylvania

April Ploeger
505 S. 42nd St., Apt. 1F
Philadelphia, PA 19104
             Plaintiff,

             v.
                                                      Case No. 181103039
Trustees of the University of Pennsylvania,
d.b.a. The University of Pennsylvania,
a Pennsylvania nonprofit corporation
University of Pennsylvania
Philadelphia PA 19104.
             Defendant

                     REPLY TO DEFENDANT’S NEW MATTER




                                                                           Case ID: 200302766
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1. Denied

2. Denied

3. Denied

4. Denied

5. Denied

6. Denied

7. Denied

8. Denied

9. Denied

10. Denied

11. Denied

12. Denied

13. Denied

14. Denied

15. Denied

16. Denied

17. Denied




                                      1.

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18. Denied

19. The statement made in Defendant’s Para. 19 of its New Matter is not a statement

to which a reply is required by the Rules of Civil Procedure or other relevant authority.

Should the Court find my reply to Para. 19 to be in error, the statement made in Para.

19 is denied.

                                          Respectfully submitted,

                                           /s/ E. Daniel Larkin
                                           E. Daniel Larkin - Counsel of Record for
                                           Plaintiff at April 2, 2021
                                           PA Atty. ID 32395
                                           742 S. Latches Lane
                                           Merion Station PA 19066
                                           610.660.5201 (ph.); 610.660.5940 (fax)
                                           dan@danlarkinlaw.com

Dated: April 5, 2021




                                            2.

                                                                                Case ID: 200302766
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                       CERTIFICATE OF COMPLIANCE

      I certify that this filing, to wit, Plaintiff’s Reply to Defendant’s New Matter,

complies with the provisions of the Public Access Policy of the Unified Judicial System

of Pennsylvania, Case Records of the Appellate and Trial Courts that require filing

confidential information and documents differently than non-confidential information

and documents.

                                       /s/E. Daniel Larkin
                                       E. Daniel Larkin
                                       742 S. Latches Lane
                                       Merion PA 19066
                                       610.660.5201

Tendered April 5, 2021




                                                                              Case ID: 200302766
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                          CERTIFICATE OF SERVICE

      I certify that on April 5, 2021, I caused a true and correct copy of the foregoing

Plaintiff’s Reply to Defendant’s New Matter to be served upon Defendant’s counsel

of record, Leslie M. Greenspan, Esquire, by e-mail attachment sent to

lgreenspan@tlgattorneys.com.

                                       /s/E. Daniel Larkin
                                       E. Daniel Larkin
                                       742 S. Latches Lane
                                       Merion PA 19066
                                       610.660.5201




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                      EXHIBIT 9
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From:          scheduling.notices@courts.phila.gov
To:            Mary Beth Stanley
Subject:       Notice of Court Event
Date:          Friday, September 4, 2020 6:10:49 PM




IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
TRIAL DIVISION - CIVIL




DIMITRIOS MAVROUDIS
1801 MARKET ST
SUITE 2500
PHILADELPHIA, PA 19103


PLOEGER VS TRUSTEES OF THE UNIVERSITY OF PENNSYLVA
200302766


SCHEDULING ORDER


AND NOW, SEPTEMBER 04, 2020, it is hereby Ordered that:

1. A Case Management Order will be issued on September 15, 2020,
after 09:00 A.M., subsequent to a review by a civil case manager
of the electronic court record, civil docket, and case management
memoranda in 613, City Hall, Philadelphia, PA 19107.

2. Counsel for Plaintiff is directed to serve a copy of this
Order on any unrepresented party or any attorney entering an
appearance subsequent to the issuance of this Order.

3. Attendance by all counsel of record and unrepresented is
waived. No Case Management Conference will be held in Room 613
City Hall.

4. Failure to file a Complaint or effectuate service of process
prior to the Case Management Order issuance date may result in
issuance of a Rule to Show Cause.
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5. Five (5) days prior to the Case Management Order issuance
date, all parties are required to electronically file with the
Court and serve upon all opposing counsel and/or opposing parties
not electronically served by the court a fully completed Case
Management Memorandum. To electronically file the Case
Management Memorandum, access the "Existing Case" section of the
court's electronic electronic filing system. Select "Conference
Submissions" as the filing category. Select "Management
Memorandum" as the filing type.

6. The Conference will be conducted by a Civil Case Manager who
shall act on behalf of the Honorable ARNOLD NEW.

7. This case has been presumptively assigned to the MAJOR
JURY-EXPEDITED Case Management Track. This is subject to
modification by a civil case manager.


SCHEDULING ORDER - Page 2


PLOEGER VS TRUSTEES OF THE UNIVERSITY OF PENNSYLVA
200302766


8. If the case settles prior to the Case Management Order
issuance date, counsel shall electronically file a settlement
letter. To file the letter electronically, access the "Existing
Case" section of the court's electronic filing system. Select
"Conference Submissions" as the filing category. Select
"Settlement Letter" as the document type.

9. Please direct any questions concerning this Order and its
contents to CivilCaseManagement@courts.phila.gov.

Click the following link to access important documents
related to the scheduled event.
http://www.courts.phila.gov/pdf/forms/civil/CMC-105.pdf


OFFICE OF THE CHIEF DEPUTY
COURT ADMINISTRATOR


DISCLAIMER
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*Rule 205.4.
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                                  IN THE COURT OF COMMON PLEAS OF PHILADELPHIA
                                                       COUNTY
                                      FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                                                TRIAL DIVISION – CIVIL




                     PLOEGER                                            March Term 2020

                         VS                                                 No. 02766

      TRUSTEES OF THE UNIVERSITY OF
               PENNSYLVA

                                   CASE MANAGEMENT ORDER
                                       STANDARD TRACK
                                                                                     16-SEP-2020
                                                                                   J. SULLIVAN
     AND NOW, Wednesday, September 16, 2020, it is Ordered that:

1.       The case management and time standards adopted for standard track cases shall be
         applicable to this case and are hereby incorporated into this Order.

2.       All discovery on the above matter shall be completed not later than 07-JUN-2021.

3.       Plaintiff shall identify and submit curriculum vitae and expert reports of all expert witnesses
         intended to testify at trial to all other parties not later than 07-JUN-2021.

4.       Defendant and any additional defendants shall identify and submit curriculum vitae and expert
         reports of all expert witnesses intended to testify at trial not later than 05-JUL-2021.
5.       All pre-trial motions shall be filed not later than 05-JUL-2021.

6.       A settlement conference may be scheduled at any time after 05-JUL-2021. Prior to the
         settlement conference all counsel shall serve all opposing counsel and file a settlement
         memorandum containing the following:

         (a).            A concise summary of the nature of the case if plaintiff or of the defense if
                         defendant or additional defendant;

         (b).            A statement by the plaintiff or all damages accumulated, including an
                         itemization of injuries and all special damages claimed by categories and
                         amount;

         (c).            Defendant shall identify all applicable insurance carriers, together with
                         applicable limits of liability.
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7.           A pre-trial conference will be scheduled any time after 06-SEP-2021. Fifteen days prior to
             pre-trial conference, all counsel shall serve all opposing counsel and file a pre-trial memorandum
             containing the following:

             (a).            A concise summary of the nature of the case if plaintiff or the defense if
                             defendant or additional defendant;
             (b).            A list of all witnesses who may be called to testify at trial by name and address.
                             Counsel should expect witnesses not listed to be precluded from testifying at
                             trial;

             (c).            A list of all exhibits the party intends to offer into evidence. All exhibits shall be
                             pre-numbered and shall be exchanged among counsel prior to the conference.
                             Counsel should expect any exhibit not listed to be precluded at trial;

             (d).            Plaintiff shall list an itemization of injuries or damages sustained together with
                             all special damages claimed by category and amount. This list shall include as
                             appropriate, computations of all past lost earnings and future lost earning
                             capacity or medical expenses together with any other unliquidated damages
                             claimed; and

             (e).            Defendant shall state its position regarding damages and shall identify all
                             applicable insurance carriers, together with applicable limits of liability;

             (f).            Each counsel shall provide an estimate of the anticipated length of trial.

8.           It is expected that the case will be ready for trial 04-OCT-2021, and counsel should anticipate
             trial to begin expeditiously thereafter.

9.           All counsel are under a continuing obligation and are hereby ordered to serve a copy of this order
             upon all unrepresented parties and upon all counsel entering an appearance subsequent to the
             entry of this Order.


                                                                 BY THE COURT:




                                                                _________________________
                                                                ARNOLD NEW, J.
                                                                TEAM LEADER

JMS00147(REV 11/04)
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From:          scheduling.notices@courts.phila.gov
To:            Mary Beth Stanley
Subject:       Notice of Court Event
Date:          Wednesday, September 16, 2020 6:36:13 PM




IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
TRIAL DIVISION - CIVIL




LESLIE GREENSPAN
TUCKER LAW GROUP
TEN PENN CENTER
1801 MARKET ST., SUITE 2500
PHILADELPHIA, PA 19103


PLOEGER VS TRUSTEES OF THE UNIVERSITY OF PENNSYLVA
200302766


SCHEDULING ORDER


AND NOW, SEPTEMBER 16, 2020, it is hereby Ordered that:

1. A Case Management Order will be issued on October 20, 2020,
after 09:00 A.M., subsequent to a review by a civil case manager
of the electronic court record, civil docket, and case management
memoranda in 613, City Hall, Philadelphia, PA 19107.

2. Counsel for Plaintiff is directed to serve a copy of this
Order on any unrepresented party or any attorney entering an
appearance subsequent to the issuance of this Order.

3. Attendance by all counsel of record and unrepresented is
waived. No Case Management Conference will be held in Room 613
City Hall.

4. Failure to file a Complaint or effectuate service of process
prior to the Case Management Order issuance date may result in
issuance of a Rule to Show Cause.
     Case 2:22-cv-02389-JHS Document 1-1 Filed 06/17/22 Page 330 of 415



5. Five (5) days prior to the Case Management Order issuance
date, all parties are required to electronically file with the
Court and serve upon all opposing counsel and/or opposing parties
not electronically served by the court a fully completed Case
Management Memorandum. To electronically file the Case
Management Memorandum, access the "Existing Case" section of the
court's electronic electronic filing system. Select "Conference
Submissions" as the filing category. Select "Management
Memorandum" as the filing type.

6. The Conference will be conducted by a Civil Case Manager who
shall act on behalf of the Honorable ARNOLD NEW.

7. This case has been presumptively assigned to the MAJOR
JURY-EXPEDITED Case Management Track. This is subject to
modification by a civil case manager.


SCHEDULING ORDER - Page 2


PLOEGER VS TRUSTEES OF THE UNIVERSITY OF PENNSYLVA
200302766


8. If the case settles prior to the Case Management Order
issuance date, counsel shall electronically file a settlement
letter. To file the letter electronically, access the "Existing
Case" section of the court's electronic filing system. Select
"Conference Submissions" as the filing category. Select
"Settlement Letter" as the document type.

9. Please direct any questions concerning this Order and its
contents to CivilCaseManagement@courts.phila.gov.

Click the following link to access important documents
related to the scheduled event.
http://www.courts.phila.gov/pdf/forms/civil/CMC-105.pdf


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COURT ADMINISTRATOR


DISCLAIMER
-------------------------------------------------------------------
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*Rule 205.4.
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                      EXHIBIT 10
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                                                                                                                    Civil Docket Report
                                                                             A $5 Convenience fee will be added to the transaction at checkout.
  Case Description

    Case ID:                  200302766
    Case Caption:             PLOEGER VS TRUSTEES OF THE UNIVERSITY OF PENNSYLVA
    Filing Date:              Wednesday, April 01st, 2020
    Court:                    MAJOR JURY-STANDARD
    Location:                 City Hall
    Jury:                     JURY
    Case Type:                CONTRACTS OTHER
    Status:                   LISTED FOR SETTLEMENT CONF

  Related Cases

  No related cases were found.

  Case Event Schedule

                     Event                           Date/Time              Room            Location                      Judge
   PROJECTED            04-JUL-2022                                         City     CITY HALL                  SHREEVES-JOHNS, K
   SETTLEMENT CONF DATE 09:00 AM                                            Hall     COURTROOM 254
   PROJECTED PRE-TRIAL                            05-SEP-2022               City     CITY HALL                  SHREEVES-JOHNS, K
   CONF. DATE                                     09:00 AM                  Hall     COURTROOM 254
   PROJECTED TRIAL DATE                           03-OCT-2022               City     CITY HALL                  SHREEVES-JOHNS, K
                                                  09:00 AM                  Hall     COURTROOM 254


  Case motions

  No case motions were found.

  Case Parties

                                                                          Expn
         Seq #                                            Assoc                      Type                 Name
                                                                          Date
                 1                                                        20-SEP-    ATTORNEY             LARKIN, E DANIEL
                                                                          2021       FOR
                                                                                     PLAINTIFF
   Address: 742 S LATCHES LN                                              Aliases: none
            MERION PA 19066
            (610)660-5201
            dan@danlarkinlaw.com



https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                                                                      1/30
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                 2                           12            PLAINTIFF          PLOEGER, APRIL
   Address: 505 S. 42ND ST., APT. 1F                                      Aliases: none
            PHILADELPHIA PA 19104


                 3                                                5                 DEFENDANT   TRUSTEES OF THE
                                                                                                UNIVERSITY OF
                                                                                                PENNSYLVANIA
   Address: UNIVERSITY OF                                                 Aliases: UNIVERSITY OF PENNSYLVANIA
            PENNSYLVANIA,
            PHILADELPHIA PA 19104


                 4                                                        04-JUL-   TEAM        NEW, ARNOLD L
                                                                          2021      LEADER
   Address: 606 CITY HALL                                                 Aliases: none
            PHILADELPHIA PA 19107
            (215)686-7260


                 5                                                                  ATTORNEY    GREENSPAN, LESLIE M
                                                                                    FOR
                                                                                    DEFENDANT
   Address: TUCKER LAW GROUP                                              Aliases: none
            TEN PENN CENTER
            1801 MARKET ST., SUITE
            2500
            PHILADELPHIA PA 19103
            (215)875-0609
            lgreenspan@tlgattorneys.com


                 6                                                5                 ATTORNEY    TUCKER JR, JOE H
                                                                                    FOR
                                                                                    DEFENDANT
   Address: THE TUCKER LAW GROUP,                                         Aliases: none
            LLC
            TEN PENN CENTER
            1801 MARKET STREET,
            SUITE 2500
            PHILADELPHIA PA 19103
            (215)875-0609
            jtucker@tlgattorneys.com


                 7                                                5                 ATTORNEY    MAVROUDIS, DIMITRIOS
                                                                                    FOR
                                                                                    DEFENDANT
   Address: 1801 MARKET ST                                                Aliases: none
https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                                                2/30
6/16/22, 3:14 PM      Case 2:22-cv-02389-JHS Document 1-1
                                                        Civil Filed  06/17/22 Page 383 of 415
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                     SUITE 2500
                     PHILADELPHIA PA 19103
                     (215)875-0609
                     dmavroudis@tlgattorneys.com


                 8                                                                JUDGE       FOGLIETTA, ANGELO
   Address: 692 CITY HALL                                                 Aliases: none
            PHILADELPHIA PA 19107


                 9                                                                JUDGE       EMERGENCY JUDGE,
                                                                                              JUDGE
   Address: ROOM 280 CITY HALL                                            Aliases: none
            PHILADELPHIA PA 19107


               10                                                                 TEAM        SHREEVES-JOHNS, K
                                                                                  LEADER
   Address: 364 CITY HALL                                                 Aliases: none
            PHILADELPHIA PA 19107


               11                                                         05-OCT- ATTORNEY    LARKIN, E DANIEL
                                                                          2021    FOR
                                                                                  PLAINTIFF
   Address: 742 S LATCHES LN                                              Aliases: none
            MERION PA 19066
            (610)660-5201
            dan@danlarkinlaw.com


               12                                                                 ATTORNEY    HARRIS, MART
                                                                                  FOR
                                                                                  PLAINTIFF
   Address: 428 FORBES AVE                                                Aliases: none
            SUITE 1700
            PITTSBURGH PA 15219
            (412)588-0030
            MH@TLawF.com


               13                                                                 JUDGE       SHREEVES-JOHNS, K
   Address: 364 CITY HALL                                                 Aliases: none
            PHILADELPHIA PA 19107


  Docket Entries

https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                                           3/30
6/16/22, 3:14 PM      Case 2:22-cv-02389-JHS Document 1-1
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   Filing                                                                                Disposition Approval/
                            Docket Type                                   Filing Party
   Date/Time                                                                                Amount Entry Date
   01-APR-2020              ACTIVE CASE                                                             01-APR-2020
   01:04 PM                                                                                         02:06 PM
              Docket
                      E-Filing Number: 2004000651
               Entry:


   01-APR-2020              COMMENCEMENT CIVIL                            LARKIN, E                 01-APR-2020
   01:04 PM                 ACTION JURY                                   DANIEL                    02:06 PM
      Documents: Final Cover

              Docket
                      none.
               Entry:


   01-APR-2020              COMPLAINT FILED NOTICE                        LARKIN, E                 01-APR-2020
   01:04 PM                 GIVEN                                         DANIEL                    02:06 PM
      Documents: AP -- verified Complaint v. Trustees -- filed and served at 04 01 2020.pdf

              Docket COMPLAINT WITH NOTICE TO DEFEND WITHIN TWENTY (20) DAYS AFTER
               Entry: SERVICE IN ACCORDANCE WITH RULE 1018.1 FILED.


   01-APR-2020              JURY TRIAL PERFECTED                          LARKIN, E                 01-APR-2020
   01:04 PM                                                               DANIEL                    02:06 PM
              Docket
                      8 JURORS REQUESTED.
               Entry:


   01-APR-2020              WAITING TO LIST CASE                          LARKIN, E                 01-APR-2020
   01:04 PM                 MGMT CONF                                     DANIEL                    02:06 PM
              Docket
                      none.
               Entry:


   24-APR-2020              ENTRY OF APPEARANCE                           GREENSPAN,                27-APR-2020
   03:39 PM                                                               LESLIE M                  08:59 AM
      Documents: EOA for JHT LMG and DM for Defendant The Trustees of UOP.pdf

                      ENTRY OF APPEARANCE OF DIMITRIOS MAVROUDIS, LESLIE M GREENSPAN
              Docket
                      AND JOE H TUCKER JR FILED. (FILED ON BEHALF OF TRUSTEES OF THE
               Entry:
                      UNIVERSITY OF PENNSYLVANIA)


   15-MAY-2020              PRELIMINARY OBJECTIONS                        GREENSPAN,                15-MAY-2020
   08:32 AM                                                               LESLIE M                  08:36 AM
      Documents: Penn Defendant POs to Complaint_final.pdf
https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                                           4/30
6/16/22, 3:14 PM      Case 2:22-cv-02389-JHS Document 1-1
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                      13-20051113 PRELIMINARY OBJECTIONS TO PLAINTIFF'S COMPLAINT FILED.
              Docket
                      RESPONSE DATE: 06/04/2020 (FILED ON BEHALF OF TRUSTEES OF THE
               Entry:
                      UNIVERSITY OF PENNSYLVANIA)


   04-JUN-2020              AMENDED COMPLAINT                             LARKIN, E        05-JUN-2020
   07:35 PM                 FILED                                         DANIEL           09:18 AM
      Documents: April Ploeger -- Amended Complaint - tendered .pdf
                             CERTIFICATE OF SERVIC2.pdf

                      AMENDED COMPLAINT WITH NOTICE TO DEFEND WITHIN TWENTY(20) DAYS
              Docket
                      AFTER SERVICE IN ACCORDANCE WITH RULE 1018.1 FILED. (FILED ON
               Entry:
                      BEHALF OF APRIL PLOEGER)


   08-JUN-2020              PRELIM OBJECTIONS-                                             08-JUN-2020
   10:58 AM                 MARKED MOOT                                                    10:58 AM
              Docket
                      13-20051113 AMENDED COMPLAINT FILED 06/04/20
               Entry:


   24-JUN-2020              PRELIMINARY OBJECTIONS                        GREENSPAN,       24-JUN-2020
   12:16 PM                                                               LESLIE M         12:18 PM
      Documents: Defendant Preliminary Objections POs to Amended Complaint_w_exhibit.pdf

                      87-20061787 PRELIMINARY OBJECTIONS TO PLAINTIFF'S AMENDED
              Docket
                      COMPLAINT FILED. RESPONSE DATE: 07/14/2020 (FILED ON BEHALF OF
               Entry:
                      TRUSTEES OF THE UNIVERSITY OF PENNSYLVANIA)


   16-JUL-2020              PRELIM OBJECTIONS                                              16-JUL-2020
   09:49 AM                 ASSIGNED                                                       09:49 AM
              Docket 87-20061787 PRELIMINARY OBJECTIONS ASSIGNED TO JUDGE: NEW,
               Entry: ARNOLD L. ON DATE: JULY 16, 2020


   17-JUL-2020              ORDER ENTERED/236                             NEW, ARNOLD L    17-JUL-2020
   03:05 PM                 NOTICE GIVEN                                                   03:05 PM
      Documents: ORDER_12.pdf

              Docket 87-20061787 IT IS HEREBY ORDERED AND DECREED SAID PRELIMINARY
               Entry: OBJECTIONS ARE SUSTAINED. IT IS HEREBY ORDERED THAT PLAINTIFF'S
                      COMPLAINT IS DISMISSED WITHOUT PREJUDICE. PLAINTIFF HAS TWENTY
                      (20) DAYS FROM THE DOCKETING OF THIS ORDER TO FILE A SECOND
                      AMENDED COMPLAINT INCLUDING ATTACHMENTS OF ANY AND ALL
                      CONTRACTS PLAINTIFF ALLEGES WERE BREACHED BY DEFENDANT. IF
                      PLAINTIFF FAILS TO FILE A SECOND AMENDED COMPLAINT WITHIN TWENTY
                      (20) DAYS, THE DEFENDANT MAY FILE A PRAECIPE TO DISMISS THIS
                      MATTER WITH PREJUDICE. ...BY THE COURT: NEW, JUDGE 07/17/2020
https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                                  5/30
6/16/22, 3:14 PM      Case 2:22-cv-02389-JHS Document 1-1
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   17-JUL-2020              NOTICE GIVEN UNDER RULE                                       20-JUL-2020
   03:05 PM                 236                                                           08:30 PM
              Docket NOTICE GIVEN ON 20-JUL-2020 OF ORDER ENTERED/236 NOTICE GIVEN
               Entry: ENTERED ON 17-JUL-2020.


   07-AUG-2020              AMENDED COMPLAINT                             LARKIN, E       07-AUG-2020
   12:43 AM                 FILED                                         DANIEL          09:31 AM
      Documents: A.P. Second Amended Complaint - Verification.pdf
                             Ploeger v. Trustees -- Second Am. C. -- tendered.pdf
                             Ploeger v. Trustees -- Second Am. C. -- tendered.pdf

                      SECOND AMENDED COMPLAINT WITH NOTICE TO DEFEND WITHIN
              Docket
                      TWENTY(20) DAYS AFTER SERVICE IN ACCORDANCE WITH RULE 1018.1
               Entry:
                      FILED. (FILED ON BEHALF OF APRIL PLOEGER)


   13-AUG-2020              MOTION FOR                                    LARKIN, E       13-AUG-2020
   03:18 PM                 RECONSIDERATION                               DANIEL          03:33 PM
      Documents: A.P. Motion to Reconsider 08 13 2020.pdf
                             AP -- Brief in support of Motion --08 13 2020.pdf
                             Motion CoverSheet Form

              Docket 72-20081472 MOTION FOR RECONSIDERATION OF JUDGE NEW'S ORDER
               Entry: ISSUED 7/17/20 (FILED ON BEHALF OF APRIL PLOEGER)


   14-AUG-2020              MOTION ASSIGNED                                               14-AUG-2020
   01:24 PM                                                                               01:24 PM
              Docket 72-20081472 MOTION FOR RECONSIDERATION ASSIGNED TO JUDGE: NEW,
               Entry: ARNOLD L. ON DATE: AUGUST 14, 2020


   19-AUG-2020              ORDER ENTERED/236                             NEW, ARNOLD L   19-AUG-2020
   04:32 PM                 NOTICE GIVEN                                                  04:32 PM
      Documents: ORDER_17.pdf

                      72-20081472 IT IS HEREBY ORDERED AND DECREED SAID MOTION IS
                      GRANTED IN PART . IT IS HEREBY ORDERED THAT THIS COURT'S JULY
              Docket 17,2020 ORDER IS AMENDED BY STRIKING THE SECTION STATING "
               Entry: INCLUDING ATTACHEMENTS OF ANY AND ALL CONTRACTS PLAINTIFF
                      ALLEGES WERE BREACHED BY DEFENDANT FROM THE ORDER. ...BY THE
                      COURT: NEW, JUDGE 08/19/2020


   19-AUG-2020              NOTICE GIVEN UNDER RULE                                       21-AUG-2020
   04:32 PM                 236                                                           05:51 PM
              Docket NOTICE GIVEN ON 21-AUG-2020 OF ORDER ENTERED/236 NOTICE GIVEN
https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                                 6/30
6/16/22, 3:14 PM   Case 2:22-cv-02389-JHS Document 1-1
                                                     Civil Filed  06/17/22 Page 387 of 415
                                                           Docket Report

                Entry: ENTERED ON 19-AUG-2020.


   26-AUG-2020              PRELIMINARY OBJECTIONS                        GREENSPAN,              26-AUG-2020
   10:15 AM                                                               LESLIE M                10:17 AM
      Documents: Defendant Preliminary Objections POs to Second Amended Complaint_w_exhibit.pdf

                      94-20082394 PRELIMINARY OBJECTIONS TO PLAINTIFF'S SECOND AMENDED
              Docket
                      COMPLAINT FILED. RESPONSE DATE: 09/15/2020 (FILED ON BEHALF OF
               Entry:
                      TRUSTEES OF THE UNIVERSITY OF PENNSYLVANIA)


   03-SEP-2020              LISTED FOR CASE MGMT                                                  03-SEP-2020
   02:19 PM                 CONF                                                                  02:19 PM
              Docket
                      none.
               Entry:


   05-SEP-2020              NOTICE GIVEN                                                          05-SEP-2020
   12:30 AM                                                                                       12:30 AM
              Docket
                      none.
               Entry:


   15-SEP-2020              CMCF RESCHEDULED BY                           SULLIVAN, JOAN          15-SEP-2020
   03:37 PM                 COURT                                                                 03:37 PM
              Docket
                      none.
               Entry:


   15-SEP-2020              LISTED FOR CASE MGMT                                                  15-SEP-2020
   03:38 PM                 CONF                                                                  03:38 PM
              Docket
                      none.
               Entry:


   15-SEP-2020              NOTICE GIVEN                                                          15-SEP-2020
   03:38 PM                                                                                       03:38 PM
              Docket
                      none.
               Entry:


   15-SEP-2020              AMENDED COMPLAINT                             LARKIN, E               16-SEP-2020
   11:47 PM                 FILED                                         DANIEL                  09:28 PM
      Documents: Ploeger -- tendered at 09 15 2020.pdf

              Docket AMENDED COMPLAINT WITH NOTICE TO DEFEND WITHIN TWENTY(20) DAYS
               Entry: AFTER SERVICE IN ACCORDANCE WITH RULE 1018.1 FILED. (FILED ON
https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                                         7/30
6/16/22, 3:14 PM      Case 2:22-cv-02389-JHS Document 1-1
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                         BEHALF OF APRIL PLOEGER)


   16-SEP-2020              CASE MGMT CONFERENCE                          SULLIVAN, JOAN           16-SEP-2020
   11:49 AM                 COMPLETED                                                              11:49 AM
              Docket
                      none.
               Entry:


   16-SEP-2020              CASE MANAGEMENT                                                        16-SEP-2020
   11:49 AM                 ORDER ISSUED                                                           11:49 AM
      Documents: CMOIS_26.pdf

                      CASE MANAGEMENT ORDER STANDARD TRACK - AND NOW, 16-SEP-2020, it
                      is Ordered that: 1. The case management and time standards adopted for standard
                      track cases shall be applicable to this case and are hereby incorporated into this
                      Order. 2. All discovery on the above matter shall be completed not later than 07-
                      JUN-2021. 3. Plaintiff shall identify and submit curriculum vitae and expert reports of
                      all expert witnesses intended to testify at trial to all other parties not later than 07-
                      JUN-2021. 4. Defendant and any additional defendants shall identify and submit
                      curriculum vitae and expert reports of all expert witnesses intended to testify at trial
                      not later than 05-JUL-2021. 5. All pre-trial motions shall be filed not later than 05-
                      JUL-2021. 6. A settlement conference may be scheduled at any time after 05-JUL-
                      2021. Prior to the settlement conference all counsel shall serve all opposing counsel
                      and file a settlement memorandum containing the following: (a) A concise summary
                      of the nature of the case if plaintiff or of the defense if defendant or additional
                      defendant;(b) A statement by the plaintiff or all damages accumulated, including an
                      itemization of injuries and all special damages claimed by categories and amount;
                      (c) Defendant shall identify all applicable insurance carriers, together with applicable
                      limits of liability. 7. A pre-trial conference will be scheduled any time after 06-SEP-
                      2021. Fifteen days prior to pre-trial conference, all counsel shall serve all opposing
              Docket
                      counsel and file a pre-trial memorandum containing the following: (a) A concise
               Entry:
                      summary of the nature of the case if plaintiff or the defense if defendant or additional
                      defendant; (b) A list of all witnesses who may be called to testify at trial by name
                      and address. Counsel should expect witnesses not listed to be precluded from
                      testifying at trial; (c) A list of all exhibits the party intends to offer into evidence. All
                      exhibits shall be pre-numbered and shall be exchanged among counsel prior to the
                      conference. Counsel should expect any exhibit not listed to be precluded at trial; (d)
                      Plaintiff shall list an itemization of injuries or damages sustained together with all
                      special damages claimed by category and amount. This list shall include as
                      appropriate, computations of all past lost earnings and future lost earning capacity
                      or medical expenses together with any other unliquidated damages claimed; and (e)
                      Defendant shall state its position regarding damages and shall identify all applicable
                      insurance carriers, together with applicable limits of liability; (f) Each counsel shall
                      provide an estimate of the anticipated length of trial. 8. It is expected that the case
                      will be ready for trial 04-OCT-2021, and counsel should anticipate trial to begin
                      expeditiously thereafter. 9. All counsel are under a continuing obligation and are
                      hereby ordered to serve a copy of this order upon all unrepresented parties and
                      upon all counsel entering an appearance subsequent to the entry of this order. ...BY
                      THE COURT: ARNOLD NEW, J.



https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                                           8/30
             Case 2:22-cv-02389-JHS Document 1-1
6/16/22, 3:14 PM                               Civil Filed  06/17/22 Page 389 of 415
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   16-SEP-2020 LISTED FOR SETTLEMENT                                              16-SEP-2020
   11:49 AM     CONF                                                              11:49 AM
              Docket
                      none.
               Entry:


   16-SEP-2020              LISTED FOR PRE-TRIAL                                            16-SEP-2020
   11:49 AM                 CONF                                                            11:49 AM
              Docket
                      none.
               Entry:


   16-SEP-2020              LISTED FOR TRIAL                                                16-SEP-2020
   11:49 AM                                                                                 11:49 AM
              Docket
                      none.
               Entry:


   16-SEP-2020              NOTICE GIVEN UNDER RULE                                         16-SEP-2020
   11:49 AM                 236                                                             12:38 PM
              Docket NOTICE GIVEN ON 16-SEP-2020 OF CASE MANAGEMENT ORDER ISSUED
               Entry: ENTERED ON 16-SEP-2020.


   17-SEP-2020              NOTICE GIVEN                                                    17-SEP-2020
   12:30 AM                                                                                 12:30 AM
              Docket
                      none.
               Entry:


   17-SEP-2020              PRELIM OBJECTIONS-                                              17-SEP-2020
   10:27 AM                 MARKED MOOT                                                     10:27 AM
              Docket
                      94-20082394 AMENDED COMPLAINT FILED 09/15/20
               Entry:


   20-SEP-2020              PRAECIPE-                                     LARKIN, E         21-SEP-2020
   08:42 PM                 SUBSTITUTE/ATTACH                             DANIEL            12:16 PM
      Documents: A.P.Praecipe Tendered 09 20 2020.pdf

              Docket PRAECIPE TO SUBSTITUTE/ATTACH FILED. (FILED ON BEHALF OF APRIL
               Entry: PLOEGER)


   05-OCT-2020              PRELIMINARY OBJECTIONS                        GREENSPAN,        06-OCT-2020
   03:51 PM                                                               LESLIE M          10:49 AM
      Documents: Defendant Preliminary Objections POs to ThirdAmended Complaint_w_exh.pdf

https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                                   9/30
6/16/22, 3:14 PM  Case 2:22-cv-02389-JHS Document 1-1
                                                    Civil Filed  06/17/22 Page 390 of 415
                                                          Docket Report

              Docket 98-20100498 PRELIMINARY OBJECTIONS TO PLAINTIFF'S THIRD AMENDED
               Entry: COMPLAINT FILED. RESPONSE DATE: 10/26/2020 (FILED ON BEHALF OF
                      TRUSTEES OF THE UNIVERSITY OF PENNSYLVANIA)


   19-OCT-2020              STIPULATION FILED                             LARKIN, E   20-OCT-2020
   10:12 PM                                                               DANIEL      09:02 AM
      Documents: Ploeger -- Stipulation to Extend.pdf

              Docket 98-20100498 STIPULATION TO EXTEND TIME TO FILE RESPONSE FILED.
               Entry: (FILED ON BEHALF OF APRIL PLOEGER)


   20-OCT-2020              PREL OBJECT-RESP DATE                                     20-OCT-2020
   09:02 AM                 UPDATED                                                   09:02 AM
              Docket 98-20100498 PRELIMINARY OBJECTIONS MOTION RESPONSE DATE
               Entry: UPDATED TO 11/05/2020.


   05-NOV-2020              ANSWER                                        LARKIN, E   06-NOV-2020
   11:59 PM                 (MOTION/PETITION) FILED                       DANIEL      10:04 AM
      Documents: A.P. Answer to P.O.s -- 11 05 2020.pdf
                             Motion CoverSheet Form

              Docket 98-20100498 ANSWER IN OPPOSITION OF PRELIMINARY OBJECTIONS FILED.
               Entry: (FILED ON BEHALF OF APRIL PLOEGER)


   06-NOV-2020              ANSWER TO PRELIMINARY                         LARKIN, E   09-NOV-2020
   05:15 PM                 OBJCTNS                                       DANIEL      08:58 AM
      Documents: A.P. POs retendered at 2020-11-06_165834.pdf

              Docket 98-20100498 ANSWER IN OPPOSITION OF PRELIMINARY OBJECTIONS FILED.
               Entry: (FILED ON BEHALF OF APRIL PLOEGER)


   06-NOV-2020              BRIEF-PRELIM. OBJECT.                         LARKIN, E   09-NOV-2020
   05:20 PM                 FILED                                         DANIEL      08:58 AM
      Documents: A.P. Memo of Law tendered as attachment at 2020-11-06_170156.pdf

              Docket 98-20100498 BRIEF IN SUPPORT OF PRELIMINARY OBJECTIONS FILED.
               Entry: (FILED ON BEHALF OF APRIL PLOEGER)


   09-NOV-2020              PRELIM OBJECTIONS                                         09-NOV-2020
   11:19 AM                 ASSIGNED                                                  11:19 AM
              Docket 98-20100498 PRELIMINARY OBJECTIONS ASSIGNED TO JUDGE: NEW,
               Entry: ARNOLD L. ON DATE: NOVEMBER 09, 2020


https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                         10/30
6/16/22, 3:14 PM      Case 2:22-cv-02389-JHS Document 1-1
                                                        Civil Filed  06/17/22 Page 391 of 415
                                                              Docket Report

   12-NOV-2020              PREL OBJECT-ASSIGNMENT                                               12-NOV-2020
   11:53 AM                 UPDATED                                                              11:53 AM
              Docket
                      98-20100498 REASSIGNED TO JUDGE FOGLIETTA, ANGELO ON 12-NOV-20
               Entry:


   24-NOV-2020              ORDER ENTERED/236                             FOGLIETTA,             24-NOV-2020
   04:10 PM                 NOTICE GIVEN                                  ANGELO                 04:10 PM
      Documents: ORDER_43.pdf

                      98-20100498 IT IS HEREBY ORDERED THAT DEFENDANT'S PRELIMINARY
                      OBJECTIONS ARE HEREBY OVERRULED IN PART AND SUSTAINED IN PART.
                      THE AVERMENTS IN PLAINTIFF'S COMPLAINT PRIOR TO 2016 ARE
                      DISMISSED. THE AVERMENTS AGAINST DEFENDANT IN 2016 OR LATER
              Docket REMAIN. IT IS FURTHER ORDERED THAT DEFENDANT'S PRELIMINARY
               Entry: OBJECTIONS ARE HEREBY OVERRULED. IT IS FURTHER ORDERED THAT
                      DEFENDANT'S PRELIMINARY OBJECTIONS REGARDING PLAINTIFF'S
                      EQUITABLE ESTOPPEL CLAIM ARE HEREBY SUSTAINED. DEFEDNANT'S
                      REQUEST FOR COSTS AND LEGAL FEES ARE HEREBY DENIED. ...BY THE
                      COURT: FOGLIETTA, JUDGE 11/24/2020


   24-NOV-2020              NOTICE GIVEN UNDER RULE                                              25-NOV-2020
   04:10 PM                 236                                                                  02:53 PM
              Docket NOTICE GIVEN ON 25-NOV-2020 OF ORDER ENTERED/236 NOTICE GIVEN
               Entry: ENTERED ON 24-NOV-2020.


   29-NOV-2020              MEMO-PRELIM. OBJECT.                          GREENSPAN,             30-NOV-2020
   06:31 PM                 FILED                                         LESLIE M               10:33 AM
      Documents: Defendant Response to Plaintiff POs to Defendant POs to Third Amended Complaint.pdf

                      98-20100498 MEMORANDUM IN OPPOSITION OF PRELIMINARY OBJECTIONS
              Docket
                      FILED. (FILED ON BEHALF OF TRUSTEES OF THE UNIVERSITY OF
               Entry:
                      PENNSYLVANIA)


   04-DEC-2020              MOTION FOR                                    LARKIN, E              07-DEC-2020
   09:29 PM                 RECONSIDERATION                               DANIEL                 09:03 AM
      Documents: A.P. Motion with Brief Attached -- 2020-12-04 .pdf
                             Motion CoverSheet Form

              Docket 06-20120606 MOTION FOR RECONSIDERATION OF JUDGE FOGLIETTA'S
               Entry: ORDER DATED 11/24/2020(FILED ON BEHALF OF APRIL PLOEGER)


   07-DEC-2020              MOTION ASSIGNED                                                      07-DEC-2020
   01:19 PM                                                                                      01:19 PM
              Docket 06-20120606 MOTION FOR RECONSIDERATION ASSIGNED TO JUDGE:

https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                                    11/30
6/16/22, 3:14 PM   Case 2:22-cv-02389-JHS Document 1-1
                                                     Civil Filed  06/17/22 Page 392 of 415
                                                           Docket Report

                Entry: FOGLIETTA, ANGELO . ON DATE: DECEMBER 07, 2020


   14-DEC-2020              ANSWER                                        GREENSPAN,             14-DEC-2020
   06:50 AM                 (MOTION/PETITION) FILED                       LESLIE M               09:02 AM
      Documents: Defendant Response to Plaintiff Motion for Reconsideration.pdf
                             Motion CoverSheet Form

                      06-20120606 ANSWER IN OPPOSITION OF MOTION FOR RECONSIDERATION
              Docket
                      FILED. (FILED ON BEHALF OF TRUSTEES OF THE UNIVERSITY OF
               Entry:
                      PENNSYLVANIA)


   16-DEC-2020              ORDER ENTERED/236                             FOGLIETTA,             16-DEC-2020
   01:11 PM                 NOTICE GIVEN                                  ANGELO                 01:11 PM
      Documents: ORDER_49.pdf

              Docket 06-20120606 IT IS HEREBY ORDERED THAT PLAINTIFF'S MOTION IS DENIED.
               Entry: ...BY THE COURT: FOGLIETTA, JUDGE 12/15/2020


   16-DEC-2020              NOTICE GIVEN UNDER RULE                                              17-DEC-2020
   01:11 PM                 236                                                                  09:56 AM
              Docket NOTICE GIVEN ON 17-DEC-2020 OF ORDER ENTERED/236 NOTICE GIVEN
               Entry: ENTERED ON 16-DEC-2020.


   28-JAN-2021              ANSWER TO COMPLAINT                           GREENSPAN,             29-JAN-2021
   05:07 PM                 FILED                                         LESLIE M               11:29 AM
      Documents: Defendant Answer and New Matter to Third Amended Complaint_01.28.21_final.pdf

              Docket ANSWER WITH NEW MATTER TO PLAINTIFF'S AMENDED COMPLAINT FILED.
               Entry: (FILED ON BEHALF OF TRUSTEES OF THE UNIVERSITY OF PENNSYLVANIA)


   05-APR-2021              REPLY TO NEW MATTER                           LARKIN, E              05-APR-2021
   07:09 AM                                                               DANIEL                 02:23 PM
      Documents: Reply to New Matter.pdf

                      REPLY TO NEW MATTER OF TRUSTEES OF THE UNIVERSITY OF
              Docket
                      PENNSYLVANIA FILED. (FILED ON BEHALF OF APRIL PLOEGER) ENTRY OF
               Entry:
                      APPEARANCE FILED ON BEHALF OF APRIL PLOEGER.


   04-JUN-2021              DISCOVERY MOTION FILED                        GREENSPAN,             06-JUN-2021
   05:22 PM                                                               LESLIE M               05:17 PM
      Documents: Final Defendant Motion to Compel Plaintiff Deposition_6.4.21.pdf

              Docket 26-21061026 MOTION TO COMPEL DEPOSITION. CERTIFICATION DUE DATE:
               Entry: 06/14/2021. RESPONSE DATE: 06/21/2021. (FILED ON BEHALF OF TRUSTEES
https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                                    12/30
6/16/22, 3:14 PM      Case 2:22-cv-02389-JHS Document 1-1
                                                        Civil Filed  06/17/22 Page 393 of 415
                                                              Docket Report

                         OF THE UNIVERSITY OF PENNSYLVANIA)


   04-JUN-2021              DISCOVERY MOTION FILED                        GREENSPAN,                06-JUN-2021
   05:27 PM                                                               LESLIE M                  05:18 PM
      Documents: Final Defendant Motion to Compel Plaintiff Discovery Responses_6.4.21.pdf

                      27-21061027 MOTION TO COMPEL REQUEST FOR PRODUCTION.
              Docket
                      CERTIFICATION DUE DATE: 06/14/2021. RESPONSE DATE: 06/21/2021. (FILED
               Entry:
                      ON BEHALF OF TRUSTEES OF THE UNIVERSITY OF PENNSYLVANIA)


   04-JUN-2021              DISCOVERY MOTION FILED                        GREENSPAN,                06-JUN-2021
   06:41 PM                                                               LESLIE M                  05:24 PM
      Documents: Final Defendant Motion to Compel Plaintiff Deposition_6.4.21(efiled).pdf

                      29-21061029 MOTION TO COMPEL DEPOSITION. CERTIFICATION DUE DATE:
              Docket
                      06/14/2021. RESPONSE DATE: 06/21/2021. (FILED ON BEHALF OF TRUSTEES
               Entry:
                      OF THE UNIVERSITY OF PENNSYLVANIA)


   04-JUN-2021              DISCOVERY MOTION FILED                        GREENSPAN,                06-JUN-2021
   06:47 PM                                                               LESLIE M                  05:28 PM
      Documents: Final Defendant Motion to Compel Plaintiff Discovery Responses_6.4.21(efile).pdf

                      31-21061031 MOTION TO COMPEL REQUEST FOR PRODUCTION.
              Docket
                      CERTIFICATION DUE DATE: 06/14/2021. RESPONSE DATE: 06/21/2021. (FILED
               Entry:
                      ON BEHALF OF TRUSTEES OF THE UNIVERSITY OF PENNSYLVANIA)


   07-JUN-2021              MOTION/PETITION/STIP                          GREENSPAN,                07-JUN-2021
   02:54 PM                 WITHDRAWN                                     LESLIE M                  03:40 PM
      Documents: Praecipe to Withdraw Discovery Motion_re Plt Dep_Final.pdf

              Docket 26-21061026 PRAECIPE TO WITHDRAW MOTION. (FILED ON BEHALF OF
               Entry: TRUSTEES OF THE UNIVERSITY OF PENNSYLVANIA)


   07-JUN-2021              MOTION/PETITION/STIP                          GREENSPAN,                07-JUN-2021
   02:56 PM                 WITHDRAWN                                     LESLIE M                  03:40 PM
      Documents: Praecipe to Withdraw Discovery Motion re Roggs and RFP_Final.pdf

              Docket 27-21061027 PRAECIPE TO WITHDRAW MOTION. (FILED ON BEHALF OF
               Entry: TRUSTEES OF THE UNIVERSITY OF PENNSYLVANIA)


   11-JUN-2021              MISCELLANEOUS                                 LARKIN, E                 14-JUN-2021
   08:28 PM                 MOTION/PETITION                               DANIEL                    08:54 AM
      Documents: A.Pl. v. EDL Motion to Withdraw.pdf
https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                                       13/30
6/16/22, 3:14 PM      Case 2:22-cv-02389-JHS Document 1-1
                                                        Civil Filed  06/17/22 Page 394 of 415
                                                              Docket Report
                             Motion CoverSheet Form

              Docket 92-21062492 RESPONSE DATE 07/06/2021. MOTION BY PLAINTIFF'S COUNSEL
               Entry: FOR LEAVE TO WITHDRAW (FILED ON BEHALF OF DAN LARKIN)


   14-JUN-2021              CERT MOTION IS                                GREENSPAN,       14-JUN-2021
   01:21 PM                 CONTESTED                                     LESLIE M         01:35 PM
      Documents: UOP Praecipe for Contested Discovery Motion re plaintiff dep.pdf

              Docket 29-21061029 MOTION IS CONTESTED. (FILED ON BEHALF OF TRUSTEES OF
               Entry: THE UNIVERSITY OF PENNSYLVANIA)


   14-JUN-2021              CERT MOTION IS                                GREENSPAN,       14-JUN-2021
   01:22 PM                 CONTESTED                                     LESLIE M         01:36 PM
      Documents: Praecipe for Contested Discovery Motion re discovery responses.pdf

              Docket 31-21061031 MOTION IS CONTESTED. (FILED ON BEHALF OF TRUSTEES OF
               Entry: THE UNIVERSITY OF PENNSYLVANIA)


   16-JUN-2021              MISCELLANEOUS                                 LARKIN, E        17-JUN-2021
   05:08 PM                 MOTION/PETITION                               DANIEL           08:27 AM
      Documents: Emergency motion for stay.pdf
                             Motion for stay -- Proposed Order.pdf
                             Memo of law.pdf
                             Emergency motion for stay - Exhibit A.pdf
                             Emergency motion for stay - Exhibit B.pdf
                             Emergency motion for stay - Exhibit C (1).pdf
                             Emergency motion for stay - Exhibit D.pdf
                             cert of service.pdf
                             Motion CoverSheet Form

              Docket 05-21063105 EMERGENCY MOTION FOR STAY -- PLAINTIFF'S COUNSEL HAS
               Entry: MOVED TO WITHDRAW (FILED ON BEHALF OF E. DANIEL LARKIN)


   17-JUN-2021              MOTION ASSIGNED                                                17-JUN-2021
   08:29 AM                                                                                08:29 AM
              Docket 05-21063105 MISCELLANEOUS MOTION/PETITION ASSIGNED TO JUDGE:
               Entry: JUDGE, EMERGENCY . ON DATE: JUNE 17, 2021


   17-JUN-2021              ORDER ENTERED/236                             PATRICK, PAULA   17-JUN-2021
   09:18 AM                 NOTICE GIVEN                                                   12:00 AM
      Documents: ORDER_64.pdf

              Docket 05-21063105 UPON CONSIDERATION OF THE EMERGENCY MOTION TO STAY
               Entry: FILED BY PLAINTIFF?S COUNSEL, AND THE COURT HAVING DETERMINED
                      THAT NO EMERGENCY BASIS EXISTS FOR THE RELIEF REQUESTED, IT IS
                      HEREBY ORDERED AND DECREED THAT THE MOTION SHALL PROCEED
https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                              14/30
6/16/22, 3:14 PM      Case 2:22-cv-02389-JHS Document 1-1
                                                        Civil Filed  06/17/22 Page 395 of 415
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                         THROUGH THE NORMAL COURT PROCESS. ...BY THE COURT: PATRICK, J.
                         06/17/2021


   17-JUN-2021              NOTICE GIVEN UNDER RULE                                   21-JUN-2021
   09:18 AM                 236                                                       08:52 AM
              Docket NOTICE GIVEN ON 21-JUN-2021 OF ORDER ENTERED/236 NOTICE GIVEN
               Entry: ENTERED ON 17-JUN-2021.


   17-JUN-2021              MOTION ASSIGNMENT                                         17-JUN-2021
   09:20 AM                 UPDATED                                                   09:20 AM
              Docket
                      05-21063105 REASSIGNED TO JUDGE NEW, ARNOLD L ON 17-JUN-21
               Entry:


   21-JUN-2021              ANSWER                                        LARKIN, E   22-JUN-2021
   11:16 PM                 (MOTION/PETITION) FILED                       DANIEL      09:19 AM
      Documents: Response - Interrogatories.pdf
                             Motion CoverSheet Form

              Docket 31-21061031 ANSWER IN OPPOSITION OF DISCOVERY MOTION FILED FILED.
               Entry: (FILED ON BEHALF OF APRIL PLOEGER)


   21-JUN-2021              ANSWER                                        LARKIN, E   22-JUN-2021
   11:20 PM                 (MOTION/PETITION) FILED                       DANIEL      09:20 AM
      Documents: Response -- Deposition.pdf
                             Motion CoverSheet Form

              Docket 29-21061029 ANSWER IN OPPOSITION OF DISCOVERY MOTION FILED FILED.
               Entry: (FILED ON BEHALF OF APRIL PLOEGER)


   24-JUN-2021              LISTED FOR DISCOVERY                                      24-JUN-2021
   01:01 PM                 HEARING                                                   01:01 PM
                      29-21061029 DISCOVERY MOTION FILED SCHEDULED FOR A HEARING ON
              Docket
                      JULY 12, 2021 AT 09:00 AM IN REMOTE HEARING VIA ADVANCED COMMUN.
               Entry:
                      TECH.


   24-JUN-2021              LISTED FOR DISCOVERY                                      24-JUN-2021
   01:01 PM                 HEARING                                                   01:01 PM
                      31-21061031 DISCOVERY MOTION FILED SCHEDULED FOR A HEARING ON
              Docket
                      JULY 12, 2021 AT 09:00 AM IN REMOTE HEARING VIA ADVANCED COMMUN.
               Entry:
                      TECH.


   26-JUN-2021              NOTICE GIVEN-DISCOVERY                                    26-JUN-2021
   12:30 AM                 HEARING                                                   12:30 AM
https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                         15/30
6/16/22, 3:14 PM      Case 2:22-cv-02389-JHS Document 1-1
                                                        Civil Filed  06/17/22 Page 396 of 415
                                                              Docket Report


      Documents: CLNGD_71.pdf

              Docket
                      none.
               Entry:


   26-JUN-2021              NOTICE GIVEN-DISCOVERY                                        26-JUN-2021
   12:30 AM                 HEARING                                                       12:30 AM
      Documents: CLNGD_72.pdf

              Docket
                      none.
               Entry:


   26-JUN-2021              NOTICE GIVEN UNDER RULE                                       07-JUL-2021
   12:30 AM                 236                                                           02:39 PM
              Docket NOTICE GIVEN ON 07-JUL-2021 OF NOTICE GIVEN-DISCOVERY HEARING
               Entry: ENTERED ON 26-JUN-2021.


   02-JUL-2021              MOTION ASSIGNMENT                                             02-JUL-2021
   03:42 PM                 UPDATED                                                       03:42 PM
              Docket 05-21063105 REASSIGNED TO JUDGE SHREEVES-JOHNS, KAREN ON 06-JUL-
               Entry: 21


   08-JUL-2021              MOTION ASSIGNED                                               08-JUL-2021
   02:09 PM                                                                               02:09 PM
              Docket 92-21062492 MISCELLANEOUS MOTION/PETITION ASSIGNED TO JUDGE:
               Entry: SHREEVES-JOHNS, KAREN . ON DATE: JULY 08, 2021


   09-JUL-2021              ORDER ENTERED/236                             NEW, ARNOLD L   09-JUL-2021
   03:05 PM                 NOTICE GIVEN                                                  03:07 PM
      Documents: ORDER_76.pdf

                      29-21061029 UPON REQUEST FOR A CONTINUANCE FOR THE DISCOVERY
                      HEARING IN THE ABOVE CAPTIONED MATTER BY PLAINTIFF, UNOPPOSED
                      BY DEFENDANT, IT IS HEREBY ORDERED AND DECREED THE DISCOVERY
              Docket
                      HEARING IN THIS MATTER SCHEDULED FOR JULY 12, 2021 IS HEREBY
               Entry:
                      CONTINUED AND THIS MATTER WILL BE RE-LISTED FOR A DISCOVERY
                      HEARINHG IN APPROXIMATELY THIRTY (30) DAYS. ...BY THE COURT: NEW,
                      JUDGE 07/09/2021


   09-JUL-2021              NOTICE GIVEN UNDER RULE                                       09-JUL-2021
   03:05 PM                 236                                                           03:34 PM
              Docket NOTICE GIVEN ON 09-JUL-2021 OF ORDER ENTERED/236 NOTICE GIVEN
               Entry: ENTERED ON 09-JUL-2021.
https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                                 16/30
6/16/22, 3:14 PM      Case 2:22-cv-02389-JHS Document 1-1
                                                        Civil Filed  06/17/22 Page 397 of 415
                                                              Docket Report




   09-JUL-2021              ORDER ENTERED/236                             NEW, ARNOLD L   09-JUL-2021
   03:07 PM                 NOTICE GIVEN                                                  03:07 PM
      Documents: ORDER_77.pdf

                      31-21061031 UPON REQUEST FOR A CONTINUANCE FOR THE DISCOVERY
                      HEARING IN THE ABOVE CAPTIONED MATTER BY PLAINTIFF, UNOPPOSED
                      BY DEFENDANT, IT IS HEREBY ORDERED AND DECREED THE DISCOVERY
              Docket
                      HEARING IN THIS MATTER SCHEDULED FOR JULY 12, 2021 IS HEREBY
               Entry:
                      CONTINUED AND THIS MATTER WILL BE RE-LISTED FOR A DISCOVERY
                      HEARINHG IN APPROXIMATELY THIRTY (30) DAYS. ...BY THE COURT: NEW,
                      JUDGE 07/09/2021


   09-JUL-2021              NOTICE GIVEN UNDER RULE                                       09-JUL-2021
   03:07 PM                 236                                                           03:34 PM
              Docket NOTICE GIVEN ON 09-JUL-2021 OF ORDER ENTERED/236 NOTICE GIVEN
               Entry: ENTERED ON 09-JUL-2021.


   09-JUL-2021              REFUND OF FEES/PROTHY                                         09-JUL-2021
   03:39 PM                 APPROVED                                                      12:00 AM
                      CHECK #11087 IN THE AMOUNT OF $52.68 WAS DISBURSED TO TUCKER LAW
              Docket
                      GROUP. DUPLICATE FILING CHECK #11088 IN THE AMOUNT OF $52.68 WAS
               Entry:
                      DISBURSED TO TUCKER LAW GROUP. DUPLICATE FILING


   12-JUL-2021              MOTION ASSIGNMENT                                             12-JUL-2021
   01:06 PM                 UPDATED                                                       01:06 PM
              Docket 31-21061031 REASSIGNED TO JUDGE SHREEVES-JOHNS, KAREN ON 12-JUL-
               Entry: 21


   12-JUL-2021              MOTION ASSIGNMENT                                             12-JUL-2021
   01:06 PM                 UPDATED                                                       01:06 PM
              Docket 29-21061029 REASSIGNED TO JUDGE SHREEVES-JOHNS, KAREN ON 12-JUL-
               Entry: 21


   12-JUL-2021              LISTED FOR DISCOVERY                                          12-JUL-2021
   01:08 PM                 HEARING                                                       01:08 PM
                      29-21061029 DISCOVERY MOTION FILED SCHEDULED FOR A HEARING ON
              Docket
                      AUGUST 11, 2021 AT 1:30 PM IN REMOTE HEARING VIA ADVANCED COMMUN.
               Entry:
                      TECH.


   12-JUL-2021              LISTED FOR DISCOVERY                                          12-JUL-2021
   01:09 PM                 HEARING                                                       01:09 PM
https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                                 17/30
6/16/22, 3:14 PM      Case 2:22-cv-02389-JHS Document 1-1
                                                        Civil Filed  06/17/22 Page 398 of 415
                                                              Docket Report

                      31-21061031 DISCOVERY MOTION FILED SCHEDULED FOR A HEARING ON
              Docket
                      AUGUST 11, 2021 AT 1:30 PM IN REMOTE HEARING VIA ADVANCED COMMUN.
               Entry:
                      TECH.


   14-JUL-2021              NOTICE GIVEN-DISCOVERY                                        14-JUL-2021
   12:30 AM                 HEARING                                                       12:30 AM
              Docket
                      none.
               Entry:


   14-JUL-2021              NOTICE GIVEN-DISCOVERY                                        14-JUL-2021
   12:30 AM                 HEARING                                                       12:30 AM
              Docket
                      none.
               Entry:


   26-JUL-2021              LISTED FOR SETTLEMENT                                         26-JUL-2021
   03:53 PM                 CONF                                                          03:53 PM
              Docket
                      none.
               Entry:


   26-JUL-2021              CONFERENCE DATE SET                                           26-JUL-2021
   03:53 PM                                                                               03:53 PM
              Docket
                      none.
               Entry:


   28-JUL-2021              NOTICE GIVEN                                                  28-JUL-2021
   12:31 AM                                                                               12:31 AM
              Docket
                      OF SETTLEMENT CONFERENCE SCHEDULED FOR 12-AUG-2021.
               Entry:


   12-AUG-2021              CASE RESCHEDULED BY                                           12-AUG-2021
   02:16 PM                 COURT                                                         02:16 PM
              Docket
                      none.
               Entry:


   12-AUG-2021              CASE RESCHEDULED BY                                           12-AUG-2021
   02:16 PM                 COURT                                                         02:16 PM
              Docket
                      none.
               Entry:


   12-AUG-2021              LISTED FOR DISCOVERY                                          12-AUG-2021
https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                                 18/30
6/16/22, 3:14 PM      Case 2:22-cv-02389-JHS Document 1-1
                                                        Civil Filed  06/17/22 Page 399 of 415
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   02:16 PM              HEARING                                                           02:16 PM
                      29-21061029 DISCOVERY MOTION FILED SCHEDULED FOR A HEARING ON
              Docket
                      AUGUST 25, 2021 AT 1:30 IN REMOTE HEARING VIA ADVANCED COMMUN.
               Entry:
                      TECH


   12-AUG-2021              LISTED FOR DISCOVERY                                          12-AUG-2021
   02:17 PM                 HEARING                                                       02:17 PM
                      31-21061031 DISCOVERY MOTION FILED SCHEDULED FOR A HEARING ON
              Docket
                      AUGUST 25, 2021 AT 1:30 IN REMOTE HEARING VIA ADVANCED COMMUN.
               Entry:
                      TECH


   14-AUG-2021              NOTICE GIVEN-DISCOVERY                                        14-AUG-2021
   12:30 AM                 HEARING                                                       12:30 AM
              Docket
                      none.
               Entry:


   14-AUG-2021              NOTICE GIVEN-DISCOVERY                                        14-AUG-2021
   12:30 AM                 HEARING                                                       12:30 AM
              Docket
                      none.
               Entry:


   18-AUG-2021              CASE RESCHEDULED BY                                           18-AUG-2021
   10:21 AM                 COURT                                                         10:21 AM
              Docket
                      none.
               Entry:


   18-AUG-2021              CASE RESCHEDULED BY                                           18-AUG-2021
   10:21 AM                 COURT                                                         10:21 AM
              Docket
                      none.
               Entry:


   18-AUG-2021              LISTED FOR DISCOVERY                                          18-AUG-2021
   10:26 AM                 HEARING                                                       10:26 AM
                      29-21061029 DISCOVERY MOTION FILED SCHEDULED FOR A HEARING ON
              Docket
                      SEPTEMBER 8, 2021 AT 1:30 IN REMOTE HEARING VIA ADVANCED COMMUN.
               Entry:
                      TECH


   18-AUG-2021              LISTED FOR DISCOVERY                                          18-AUG-2021
   10:26 AM                 HEARING                                                       10:26 AM
              Docket 31-21061031 DISCOVERY MOTION FILED SCHEDULED FOR A HEARING ON
               Entry: SEPTEMBER 8, 2021 AT 1:30 IN REMOTE HEARING VIA ADVANCED COMMUN.
https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                               19/30
6/16/22, 3:14 PM      Case 2:22-cv-02389-JHS Document 1-1
                                                        Civil Filed  06/17/22 Page 400 of 415
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                         TECH


   20-AUG-2021              NOTICE GIVEN-DISCOVERY                                        20-AUG-2021
   12:30 AM                 HEARING                                                       12:30 AM
              Docket
                      none.
               Entry:


   20-AUG-2021              NOTICE GIVEN-DISCOVERY                                        20-AUG-2021
   12:30 AM                 HEARING                                                       12:30 AM
              Docket
                      none.
               Entry:


   25-AUG-2021              CASE RESCHEDULED BY                           SHREEVES-       25-AUG-2021
   09:19 AM                 COURT                                         JOHNS, K        09:19 AM
              Docket
                      none.
               Entry:


   08-SEP-2021              RULE ISSUED                                   SHREEVES-       08-SEP-2021
   02:25 PM                                                               JOHNS, K        02:28 PM
      Documents: RLFIS_103.pdf

                      92-21062492 A RULE IS ISSUED TO SHOW CAUSE WHY ATTORNEY E. DANIEL
                      LARKIN ESQ. , SHOULD BE GRANTED LEAVE TO WITHDRAW AS COUNSEL
                      FOR PLAINTIFF, APRIL PLOEGER. RULE RETURNABLE VIA ZOOM VIRTUAL
                      COURTROOM VIDEO CONFERENCE SCHEDULED FOR SEPTEMBER 23, 2021
              Docket AT 10:00 AM. ALL COUNSEL AND UNREPRESENTED PARTIES SHALL APPEAR
               Entry: VIA VIDEO CONFERENCE. THE MOVING ATTORNEY SHALL PROMPTLY
                      SERVE THEIR CLIENT WITH A COPY OF THIS ORDER AND SUBMIT PROOF
                      OF SERVICE TO THE COURT(1). IT IS FURTHER ORDERED AS FOLLOWS:
                      SEE ORDER FOR COMPLETE TERMS AND FOOTNOTE. ...BY THE COURT:
                      SHREEVES-JOHNS, JUDGE 09/08/2021


   08-SEP-2021              NOTICE GIVEN UNDER RULE                                       09-SEP-2021
   02:25 PM                 236                                                           05:01 PM
              Docket
                      NOTICE GIVEN ON 09-SEP-2021 OF RULE ISSUED ENTERED ON 08-SEP-2021.
               Entry:


   08-SEP-2021              MOTION HEARING                                                08-SEP-2021
   02:29 PM                 SCHEDULED                                                     02:29 PM
              Docket
                      92-21062492
               Entry:


https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                             20/30
             Case 2:22-cv-02389-JHS Document 1-1
6/16/22, 3:14 PM                               Civil Filed  06/17/22 Page 401 of 415
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   20-SEP-2021 WITHDRAWAL OF                LARKIN, E                             20-SEP-2021
   03:12 PM     APPEARANCE                  DANIEL                                03:13 PM
      Documents: Affidavit of Fuchs, Esq. on behalf of A. Ploeger -- 2021-09-20_150353.pdf

              Docket WITHDRAWAL OF APPEARANCE OF E DANIEL. LARKIN FILED. (FILED ON
               Entry: BEHALF OF APRIL PLOEGER)


   21-SEP-2021              ACCEPTANCE OF SERVICE                         LARKIN, E          21-SEP-2021
   10:04 AM                 FILED                                         DANIEL             10:08 AM
      Documents: Affidavit of Fuchs, Esq. on behalf of A. Ploeger -- 2021-09-20_150353.pdf

              Docket SERVICE OF WITHDRAW AS COUNSEL ACCEPTED BY APRIL PLOEGER ON
               Entry: 09/17/2021 FILED. (FILED ON BEHALF OF APRIL PLOEGER)


   23-SEP-2021              MOT-FOR EXTRAORDINARY                         GREENSPAN,         23-SEP-2021
   03:02 PM                 RELIEF                                        LESLIE M           03:08 PM
      Documents: 2021.09.23 - Def Mtn for Extraordinary Relief.pdf
                             Motion CoverSheet Form

              Docket 71-21094371 RESPONSE DATE 10/04/2021. (FILED ON BEHALF OF TRUSTEES
               Entry: OF THE UNIVERSITY OF PENNSYLVANIA)


   23-SEP-2021              PRAECIPE TO                                   LARKIN, E          24-SEP-2021
   05:35 PM                 SUPPL/ATTACH FILED                            DANIEL             09:32 AM
      Documents: Praecipe to Attach and Exhibit 2021-09-23.pdf

              Docket 92-21062492 PRAECIPE TO SUPPLEMENT/ATTACH RE: MISCELLANEOUS
               Entry: MOTION/PETITION FILED. (FILED ON BEHALF OF APRIL PLOEGER)


   27-SEP-2021              STAYED BY ORDER OF                            SHREEVES-          27-SEP-2021
   10:43 AM                 COURT                                         JOHNS, K           10:43 AM
      Documents: ORDST_110.pdf

              Docket 92-21062492 IT IS HEREBY ORDERED AND DECREED THAT SAID MOTIONS
               Entry: ARE GRANTED. COUNSEL IS GRANTED LEAVE TO WITHDRAW AS
                      PLAINTIFF'S COUNSEL. WITHIN TEN (10) DAYS OF THE DOCKETING OF THIS
                      ORDER , COUNSEL SHALL FILE A PRAECIPE TO WITHDRAW AS COUNSEL
                      WITH THE OFFICE OF JUDICIAL RECORDS, ATTACHING AN AFFIDAVIT OF
                      SERVICE CERTIFYING THAT THIS ORDER HAS BEEN SENT TO THE
                      CLIENT(S) AND ALSO UPDATING THE OFFICE OF JUDICIAL RECORS WITH
                      THE ADDRESS(ES) UPON WHICH ALL FURTHER NOTICES FROM THE COURT
                      SHALL BE SENT TO THE CLIENT(S). IT IS FURTHER ORDERED AND
                      DECREED THAT PLAINTIFF SHALL HAVE SIXTY(60) DAYS FROM THE ENTRY
                      OF THIS ORDER TO SEEK NEW COUNSEL OR DECIDE TO PROCEED PRO SE.
                      IT IS FURTHER ORDERED AND DECREED THAT THIS MATTER SHALL BE
                      STAYED DURING THE ABOVE MENTIONED SIXTY (60) DAY PERIOD DURING
                      WHICH NO MOTIONS WILL BE ACCEPTED FOR FILING.IT IS FURTHER
https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                                21/30
6/16/22, 3:14 PM      Case 2:22-cv-02389-JHS Document 1-1
                                                        Civil Filed  06/17/22 Page 402 of 415
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                         ORDERED AND DECREED THAT DEFENDANTS DISCOVERY MOTIONS FILED
                         UNDER CONTROL NUMBER 21061029 AND 21061031 ARE DEEMED MOOT BY
                         OPERATION OF THE STAY IN THIS MATTER. ...BY THE COURT: SHREEVES-
                         JOHNS, JUDGE 09/23/2021


   27-SEP-2021              NOTICE GIVEN UNDER RULE                                   27-SEP-2021
   10:43 AM                 236                                                       03:24 PM
              Docket NOTICE GIVEN ON 27-SEP-2021 OF STAYED BY ORDER OF COURT ENTERED
               Entry: ON 27-SEP-2021.


   27-SEP-2021              ORDER ENTERED/236                             SHREEVES-   27-SEP-2021
   10:45 AM                 NOTICE GIVEN                                  JOHNS, K    10:45 AM
      Documents: ORDER_111.pdf

                      29-21061029 IT IS HEREBY ORDERED AND DECREED THAT SAID MOTIONS
                      ARE GRANTED. COUNSEL IS GRANTED LEAVE TO WITHDRAW AS
                      PLAINTIFF'S COUNSEL. WITHIN TEN (10) DAYS OF THE DOCKETING OF THIS
                      ORDER , COUNSEL SHALL FILE A PRAECIPE TO WITHDRAW AS COUNSEL
                      WITH THE OFFICE OF JUDICIAL RECORDS, ATTACHING AN AFFIDAVIT OF
                      SERVICE CERTIFYING THAT THIS ORDER HAS BEEN SENT TO THE
                      CLIENT(S) AND ALSO UPDATING THE OFFICE OF JUDICIAL RECORS WITH
                      THE ADDRESS(ES) UPON WHICH ALL FURTHER NOTICES FROM THE COURT
              Docket SHALL BE SENT TO THE CLIENT(S). IT IS FURTHER ORDERED AND
               Entry: DECREED THAT PLAINTIFF SHALL HAVE SIXTY(60) DAYS FROM THE ENTRY
                      OF THIS ORDER TO SEEK NEW COUNSEL OR DECIDE TO PROCEED PRO SE.
                      IT IS FURTHER ORDERED AND DECREED THAT THIS MATTER SHALL BE
                      STAYED DURING THE ABOVE MENTIONED SIXTY (60) DAY PERIOD DURING
                      WHICH NO MOTIONS WILL BE ACCEPTED FOR FILING.IT IS FURTHER
                      ORDERED AND DECREED THAT DEFENDANTS DISCOVERY MOTIONS FILED
                      UNDER CONTROL NUMBER 21061029 AND 21061031 ARE DEEMED MOOT BY
                      OPERATION OF THE STAY IN THIS MATTER. ...BY THE COURT: SHREEVES-
                      JOHNS, JUDGE 09/23/2021


   27-SEP-2021              NOTICE GIVEN UNDER RULE                                   27-SEP-2021
   10:45 AM                 236                                                       03:24 PM
              Docket NOTICE GIVEN ON 27-SEP-2021 OF ORDER ENTERED/236 NOTICE GIVEN
               Entry: ENTERED ON 27-SEP-2021.


   27-SEP-2021              ORDER ENTERED/236                             SHREEVES-   27-SEP-2021
   10:45 AM                 NOTICE GIVEN                                  JOHNS, K    10:45 AM
      Documents: ORDER_112.pdf

              Docket 31-21061031 IT IS HEREBY ORDERED AND DECREED THAT SAID MOTIONS
               Entry: ARE GRANTED. COUNSEL IS GRANTED LEAVE TO WITHDRAW AS
                      PLAINTIFF'S COUNSEL. WITHIN TEN (10) DAYS OF THE DOCKETING OF THIS
                      ORDER , COUNSEL SHALL FILE A PRAECIPE TO WITHDRAW AS COUNSEL
                      WITH THE OFFICE OF JUDICIAL RECORDS, ATTACHING AN AFFIDAVIT OF
https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                         22/30
6/16/22, 3:14 PM      Case 2:22-cv-02389-JHS Document 1-1
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                         SERVICE CERTIFYING THAT THIS ORDER HAS BEEN SENT TO THE
                         CLIENT(S) AND ALSO UPDATING THE OFFICE OF JUDICIAL RECORS WITH
                         THE ADDRESS(ES) UPON WHICH ALL FURTHER NOTICES FROM THE COURT
                         SHALL BE SENT TO THE CLIENT(S). IT IS FURTHER ORDERED AND
                         DECREED THAT PLAINTIFF SHALL HAVE SIXTY(60) DAYS FROM THE ENTRY
                         OF THIS ORDER TO SEEK NEW COUNSEL OR DECIDE TO PROCEED PRO SE.
                         IT IS FURTHER ORDERED AND DECREED THAT THIS MATTER SHALL BE
                         STAYED DURING THE ABOVE MENTIONED SIXTY (60) DAY PERIOD DURING
                         WHICH NO MOTIONS WILL BE ACCEPTED FOR FILING.IT IS FURTHER
                         ORDERED AND DECREED THAT DEFENDANTS DISCOVERY MOTIONS FILED
                         UNDER CONTROL NUMBER 21061029 AND 21061031 ARE DEEMED MOOT BY
                         OPERATION OF THE STAY IN THIS MATTER. ...BY THE COURT: SHREEVES-
                         JOHNS, JUDGE 09/23/2021


   27-SEP-2021              NOTICE GIVEN UNDER RULE                                   27-SEP-2021
   10:45 AM                 236                                                       03:24 PM
              Docket NOTICE GIVEN ON 27-SEP-2021 OF ORDER ENTERED/236 NOTICE GIVEN
               Entry: ENTERED ON 27-SEP-2021.


   27-SEP-2021              ORDER ENTERED/236                             SHREEVES-   27-SEP-2021
   10:46 AM                 NOTICE GIVEN                                  JOHNS, K    10:46 AM
      Documents: ORDER_113.pdf

                      05-21063105 IT IS HEREBY ORDERED AND DECREED THAT SAID MOTIONS
                      ARE GRANTED. COUNSEL IS GRANTED LEAVE TO WITHDRAW AS
                      PLAINTIFF'S COUNSEL. WITHIN TEN (10) DAYS OF THE DOCKETING OF THIS
                      ORDER , COUNSEL SHALL FILE A PRAECIPE TO WITHDRAW AS COUNSEL
                      WITH THE OFFICE OF JUDICIAL RECORDS, ATTACHING AN AFFIDAVIT OF
                      SERVICE CERTIFYING THAT THIS ORDER HAS BEEN SENT TO THE
                      CLIENT(S) AND ALSO UPDATING THE OFFICE OF JUDICIAL RECORS WITH
                      THE ADDRESS(ES) UPON WHICH ALL FURTHER NOTICES FROM THE COURT
              Docket SHALL BE SENT TO THE CLIENT(S). IT IS FURTHER ORDERED AND
               Entry: DECREED THAT PLAINTIFF SHALL HAVE SIXTY(60) DAYS FROM THE ENTRY
                      OF THIS ORDER TO SEEK NEW COUNSEL OR DECIDE TO PROCEED PRO SE.
                      IT IS FURTHER ORDERED AND DECREED THAT THIS MATTER SHALL BE
                      STAYED DURING THE ABOVE MENTIONED SIXTY (60) DAY PERIOD DURING
                      WHICH NO MOTIONS WILL BE ACCEPTED FOR FILING.IT IS FURTHER
                      ORDERED AND DECREED THAT DEFENDANTS DISCOVERY MOTIONS FILED
                      UNDER CONTROL NUMBER 21061029 AND 21061031 ARE DEEMED MOOT BY
                      OPERATION OF THE STAY IN THIS MATTER. ...BY THE COURT: SHREEVES-
                      JOHNS, JUDGE 09/23/2021


   27-SEP-2021              NOTICE GIVEN UNDER RULE                                   27-SEP-2021
   10:46 AM                 236                                                       03:24 PM
              Docket NOTICE GIVEN ON 27-SEP-2021 OF ORDER ENTERED/236 NOTICE GIVEN
               Entry: ENTERED ON 27-SEP-2021.



https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                         23/30
             Case 2:22-cv-02389-JHS Document 1-1
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   27-SEP-2021 ORDER ENTERED/236            SHREEVES-                             27-SEP-2021
   10:54 AM     NOTICE GIVEN                JOHNS, K                              10:54 AM
      Documents: ORDER_114.pdf

                      71-21094371 IT IS HEREBY ORDERED AND DECREED THAT THE MOTION FOR
                      EXTRA RELIEF IS GRANTED . IT IS FURTHER ORDERED THAT ALL COURT
              Docket
                      DEADLINES ARE EXTENDED BY 6 MONTHS, AND THE COURT WILL ISSUE A
               Entry:
                      NEW CASE MANAGEMENT ORDER. ...BY THE COURT: SHREEVES-JOHNS,
                      JUDGE 09/27/2021


   27-SEP-2021              NOTICE GIVEN UNDER RULE                                        27-SEP-2021
   10:54 AM                 236                                                            03:24 PM
              Docket NOTICE GIVEN ON 27-SEP-2021 OF ORDER ENTERED/236 NOTICE GIVEN
               Entry: ENTERED ON 27-SEP-2021.


   27-SEP-2021              REVISED CASE MGMT                                              27-SEP-2021
   10:55 AM                 ORDER ISSUED                                                   12:00 AM
      Documents: RVCMO_115.pdf

                      REVISED CASE MANAGEMENT ORDER - Be advised that the Case Management
                      Order issued for the above-captioned action has been revised as follows: All
                      discovery shall be completed not later than 06-DEC-2021. Plaintiff shall submit
                      expert reports not later than 06-DEC-2021. Defendant shall submit expert reports
              Docket not later than 03-JAN-2022. All pre-trial motions other than motions in limine shall
               Entry: be filed not later than 03-JAN-2022. A settlement conference will be scheduled any
                      time after 03-JAN-2022. A pre-trial conference will be scheduled at any time after
                      07-MAR-2022. It is expected that this case shall be ready for trial by 04-APR-2022.
                      All other terms and conditions on the original Case Management Order will remain
                      in full force and effect. ...BY THE COURT: KAREN SHREEVES-JOHNS, J.


   27-SEP-2021              NOTICE GIVEN UNDER RULE                                        27-SEP-2021
   10:55 AM                 236                                                            03:24 PM
              Docket NOTICE GIVEN ON 27-SEP-2021 OF REVISED CASE MGMT ORDER ISSUED
               Entry: ENTERED ON 27-SEP-2021.


   27-SEP-2021              LISTED FOR SETTLEMENT                                          27-SEP-2021
   11:09 AM                 CONF                                                           11:09 AM
              Docket
                      none.
               Entry:


   27-SEP-2021              PRAECIPE TO                                   GREENSPAN,       27-SEP-2021
   02:41 PM                 SUPPL/ATTACH FILED                            LESLIE M         02:44 PM
      Documents: Praecipe to Attach Supplemental COS.pdf


https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                                 24/30
6/16/22, 3:14 PM  Case 2:22-cv-02389-JHS Document 1-1
                                                    Civil Filed  06/17/22 Page 405 of 415
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              Docket 71-21094371 PRAECIPE TO SUPPLEMENT/ATTACH RE: MOT-FOR
               Entry: EXTRAORDINARY RELIEF FILED. (FILED ON BEHALF OF TRUSTEES OF THE
                      UNIVERSITY OF PENNSYLVANIA)


   05-OCT-2021              WITHDRAWAL OF                                 LARKIN, E               05-OCT-2021
   03:33 PM                 APPEARANCE                                    DANIEL                  03:40 PM
      Documents: Withdraw Appearance.pdf

              Docket WITHDRAWAL OF APPEARANCE OF E DANIEL. LARKIN FILED. (FILED ON
               Entry: BEHALF OF APRIL PLOEGER)


   08-OCT-2021              MOTION FOR                                    GREENSPAN,              12-OCT-2021
   05:37 PM                 RECONSIDERATION                               LESLIE M                09:55 AM
      Documents: 10.8.21 Ploeger v. UOP Reconsideration Motion_final.pdf
                             Motion CoverSheet Form

              Docket 58-21101958 MOTION FOR RECONSIDERATION (FILED ON BEHALF OF
               Entry: TRUSTEES OF THE UNIVERSITY OF PENNSYLVANIA)


   12-OCT-2021              MOTION ASSIGNED                                                       12-OCT-2021
   11:19 AM                                                                                       11:19 AM
              Docket 58-21101958 MOTION FOR RECONSIDERATION ASSIGNED TO JUDGE:
               Entry: SHREEVES-JOHNS, K . ON DATE: OCTOBER 12, 2021


   06-DEC-2021              DISCOVERY MOTION FILED                        GREENSPAN,              06-DEC-2021
   10:53 AM                                                               LESLIE M                10:57 AM
      Documents: Defendant Renewed Motion to Compel Plaintiff Discovery Responses_12.6.21 (efile).pdf

                      62-21120962 RENEWED MOTION TO COMPEL DISCOVERY RESPONSES OF
              Docket PLAINTIFF. CERTIFICATION DUE DATE: 12/13/2021. RESPONSE DATE:
               Entry: 12/20/2021. (FILED ON BEHALF OF TRUSTEES OF THE UNIVERSITY OF
                      PENNSYLVANIA)


   06-DEC-2021              DISCOVERY MOTION FILED                        GREENSPAN,              06-DEC-2021
   11:02 AM                                                               LESLIE M                11:08 AM
      Documents: Defendant Renewed Motion to Compel Plaintiff Deposition_12.6.21 (efile).pdf

                      69-21120969 RENEWED MOTION TO COMPEL THE DEPOSITION OF
              Docket PLAINTIFF. CERTIFICATION DUE DATE: 12/13/2021. RESPONSE DATE:
               Entry: 12/20/2021. (FILED ON BEHALF OF TRUSTEES OF THE UNIVERSITY OF
                      PENNSYLVANIA)


   13-DEC-2021              CERT MOTION IS                                GREENSPAN,              13-DEC-2021
   08:34 AM                 CONTESTED                                     LESLIE M                09:42 AM
https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                                     25/30
             Case 2:22-cv-02389-JHS Document 1-1
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      Documents: Ploeger - Certification to mark as contestd MTC Deposition directed to Plaintiff (efile).pdf

              Docket 69-21120969 MOTION IS CONTESTED. (FILED ON BEHALF OF TRUSTEES OF
               Entry: THE UNIVERSITY OF PENNSYLVANIA)


   13-DEC-2021              CERT MOTION IS                                GREENSPAN,                      13-DEC-2021
   08:38 AM                 CONTESTED                                     LESLIE M                        09:43 AM
      Documents: Ploeger - Certification to mark as contestd MTC Discovery Responses(efile).pdf

              Docket 62-21120962 MOTION IS CONTESTED. (FILED ON BEHALF OF TRUSTEES OF
               Entry: THE UNIVERSITY OF PENNSYLVANIA)


   14-DEC-2021              REMOVED FROM                                                                  14-DEC-2021
   02:32 PM                 DEFERRED STATUS                                                               12:00 AM
              Docket
                      none.
               Entry:


   22-DEC-2021              MOTION ASSIGNED                                                               22-DEC-2021
   11:26 AM                                                                                               11:26 AM
              Docket 62-21120962 DISCOVERY MOTION FILED ASSIGNED TO JUDGE: SHREEVES-
               Entry: JOHNS, K . ON DATE: DECEMBER 22, 2021


   22-DEC-2021              MOTION ASSIGNED                                                               22-DEC-2021
   11:26 AM                                                                                               11:26 AM
              Docket 69-21120969 DISCOVERY MOTION FILED ASSIGNED TO JUDGE: SHREEVES-
               Entry: JOHNS, K . ON DATE: DECEMBER 22, 2021


   28-DEC-2021              ORDER ENTERED/236                             SHREEVES-                       28-DEC-2021
   12:28 PM                 NOTICE GIVEN                                  JOHNS, K                        12:28 PM
      Documents: ORDER_134.pdf

                      62-21120962 AND NOW, THIS 27TH DAY OF DECEMBER, 2021 UPON
                      CONSIDERATION OF THE RENEWED MOTION OF DEFENDANT, THE
              Docket TRUSTEES OF THE UNIVERSITY OF PENNSYLVANIA, TO COMPEL THE
               Entry: DISCOVERY RESPONSES OF PLAINTIFF, IT IS HEREBY ORDERED AND
                      DECREED THAT DEFENDANT'S MOTION IS GRANTED... BY THE COURT:
                      SHREEVES-JOHNS,J. 12/28/21


   28-DEC-2021              NOTICE GIVEN UNDER RULE                                                       28-DEC-2021
   12:28 PM                 236                                                                           02:52 PM
              Docket NOTICE GIVEN ON 28-DEC-2021 OF ORDER ENTERED/236 NOTICE GIVEN
               Entry: ENTERED ON 28-DEC-2021.

https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                                             26/30
6/16/22, 3:14 PM      Case 2:22-cv-02389-JHS Document 1-1
                                                        Civil Filed  06/17/22 Page 407 of 415
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   28-DEC-2021              ORDER ENTERED/236                             SHREEVES-       28-DEC-2021
   12:29 PM                 NOTICE GIVEN                                  JOHNS, K        12:29 PM
      Documents: ORDER_135.pdf

                      69-21120969 AND NOW, THIS 27TH DAY OF DECEMBER, 2021 UPON
                      CONSIDERATION OF THE RENEWED MOTION OF DEFENDANT, THE
              Docket TRUSTEES OF THE UNIVERSITY OF PENNSYLVANIA, TO COMPEL THE
               Entry: DEPOSITION OF PLAINTIFF, IT IS HEREBY ORDERED AND DECREED THAT
                      DEFENDANT'S MOTION IS GRANTED... BY THE COURT: SHREEVES-JOHNS, J.
                      12/28/21


   28-DEC-2021              NOTICE GIVEN UNDER RULE                                       28-DEC-2021
   12:29 PM                 236                                                           02:52 PM
              Docket NOTICE GIVEN ON 28-DEC-2021 OF ORDER ENTERED/236 NOTICE GIVEN
               Entry: ENTERED ON 28-DEC-2021.


   04-APR-2022              ENTRY OF APPEARANCE                           HARRIS, MART    04-APR-2022
   09:30 AM                                                                               10:25 AM
      Documents: NoA Penn.pdf

              Docket ENTRY OF APPEARANCE OF MART HARRIS FILED. (FILED ON BEHALF OF
               Entry: APRIL PLOEGER)


   04-APR-2022              JURY TRIAL PERFECTED                          HARRIS, MART    04-APR-2022
   09:30 AM                                                                               10:25 AM
              Docket
                      12 JURORS REQUESTED.
               Entry:


   08-APR-2022              LISTED FOR SETTLEMENT                                         08-APR-2022
   09:21 AM                 CONF                                                          09:21 AM
              Docket
                      none.
               Entry:


   12-APR-2022              NOTICE GIVEN                                                  12-APR-2022
   12:30 AM                                                                               12:30 AM
              Docket
                      OF SETTLEMENT CONFERENCE SCHEDULED FOR 22-APR-2022.
               Entry:


   19-APR-2022              ORDER ENTERED/236                             SHREEVES-       19-APR-2022
   11:11 AM                 NOTICE GIVEN                                  JOHNS, K        11:11 AM
      Documents: ORDER_142.pdf

https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                             27/30
6/16/22, 3:14 PM  Case 2:22-cv-02389-JHS Document 1-1
                                                    Civil Filed  06/17/22 Page 408 of 415
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              Docket 58-21101958 IT IS HEREBY ORDERED THAT THE DEFENDANTS MOTION FOR
               Entry: RECONSIDERATION IS DENIED.. ...BY THE COURT: SHREEVES-JOHNS,
                      JUDGE 4/19/2022


   19-APR-2022              NOTICE GIVEN UNDER RULE                                        19-APR-2022
   11:11 AM                 236                                                            07:54 PM
              Docket NOTICE GIVEN ON 19-APR-2022 OF ORDER ENTERED/236 NOTICE GIVEN
               Entry: ENTERED ON 19-APR-2022.


   22-APR-2022              MOT-FOR EXTRAORDINARY                         GREENSPAN,       22-APR-2022
   10:52 AM                 RELIEF                                        LESLIE M         11:01 AM
      Documents: 2022.04.22_UOP Motion for Extraordinary Relief_final.pdf
                             Motion CoverSheet Form

              Docket 53-22043953 MOTION SUBMITTED UNOPPOSED (FILED ON BEHALF OF
               Entry: TRUSTEES OF THE UNIVERSITY OF PENNSYLVANIA)


   22-APR-2022              MOTION ASSIGNED                                                22-APR-2022
   11:49 AM                                                                                11:49 AM
              Docket 53-22043953 MOT-FOR EXTRAORDINARY RELIEF ASSIGNED TO JUDGE:
               Entry: SHREEVES-JOHNS, K . ON DATE: APRIL 22, 2022


   26-APR-2022              REVISED CASE MGMT                                              26-APR-2022
   02:42 PM                 ORDER ISSUED                                                   12:00 AM
      Documents: RVCMO_147.pdf

                      REVISED CASE MANAGEMENT ORDER - Be advised that the Case Management
                      Order issued for the above-captioned action has been revised as follows: All
                      discovery shall be completed not later than 06-DEC-2021. Plaintiff shall submit
                      expert reports not later than 06-DEC-2021. Defendant shall submit expert reports
              Docket not later than 03-JAN-2022. All pre-trial motions other than motions in limine shall
               Entry: be filed not later than 04-JUL-2022. A settlement conference will be scheduled any
                      time after 04-JUL-2022. A pre-trial conference will be scheduled at any time after
                      05-SEP-2022. It is expected that this case shall be ready for trial by 03-OCT-2022.
                      All other terms and conditions on the original Case Management Order will remain
                      in full force and effect. ...BY THE COURT: K SHREEVES-JOHNS, J.


   26-APR-2022              NOTICE GIVEN UNDER RULE                                        27-APR-2022
   02:42 PM                 236                                                            08:44 PM
              Docket NOTICE GIVEN ON 27-APR-2022 OF REVISED CASE MGMT ORDER ISSUED
               Entry: ENTERED ON 26-APR-2022.


   26-APR-2022              ORDER ENTERED/236                             SHREEVES-        26-APR-2022
   02:45 PM                 NOTICE GIVEN                                  JOHNS, K         02:45 PM
https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                                 28/30
6/16/22, 3:14 PM      Case 2:22-cv-02389-JHS Document 1-1
                                                        Civil Filed  06/17/22 Page 409 of 415
                                                              Docket Report

      Documents: ORDER_146.pdf

                      53-22043953 IT IS HEREBY ORDERED AND DECREED THAT SAID MOTION
                      FOR EXTRA RELIEF IS GRANTED. IT IS FURTHER ORDERED THAT FOR
              Docket GOOD CAUSE SHOWN AND BASED ON EXTRAORDINARY CIRCUMSTANCES
               Entry: THE DISPOSITIVE MOTION DEADLINE AND TRIAL DEADLINES ARE HEREBY
                      EXTENDED BY 240 DAYS.. SEE ORDER FOR COMPLETE TERMS?BY THE
                      COURT: SHREEVES-JOHNS, JUDGE 4/26/2022


   26-APR-2022              NOTICE GIVEN UNDER RULE                                               27-APR-2022
   02:45 PM                 236                                                                   09:38 PM
              Docket NOTICE GIVEN ON 27-APR-2022 OF ORDER ENTERED/236 NOTICE GIVEN
               Entry: ENTERED ON 26-APR-2022.


   03-MAY-2022              DISCOVERY MOTION FILED                        GREENSPAN,              03-MAY-2022
   03:04 PM                                                               LESLIE M                03:18 PM
      Documents: 2022.05.03_Ploeger v. UOP_Defendant Motion for Sanctions.pdf
                             Exhibits to MFS against Pltf. 5.3.2022.pdf

                      07-22050807 MOTION FOR SANCTIONS. CERTIFICATION DUE DATE:
              Docket
                      05/10/2022. RESPONSE DATE: 05/17/2022. (FILED ON BEHALF OF TRUSTEES
               Entry:
                      OF THE UNIVERSITY OF PENNSYLVANIA)


   10-MAY-2022              ANSWER                                        HARRIS, MART            10-MAY-2022
   02:15 PM                 (MOTION/PETITION) FILED                                               03:00 PM
      Documents: Sanctions Response.pdf

              Docket 07-22050807 ANSWER/RESPONSE IN OPPOSITION TO MOTION/PETITION.
               Entry: (FILED ON BEHALF OF APRIL PLOEGER)


   10-MAY-2022              CERT MOTION IS                                GREENSPAN,              10-MAY-2022
   02:32 PM                 CONTESTED                                     LESLIE M                03:06 PM
      Documents: 2022.05.10_Praecipe for Contested Discovery Motion (Control No. 807)_final.pdf

              Docket 07-22050807 MOTION IS CONTESTED. (FILED ON BEHALF OF TRUSTEES OF
               Entry: THE UNIVERSITY OF PENNSYLVANIA)


   19-MAY-2022              LISTED FOR DISCOVERY                                                  19-MAY-2022
   09:06 AM                 HEARING                                                               09:06 AM
                      07-22050807 DISCOVERY MOTION FILED SCHEDULED FOR A HEARING ON
              Docket
                      JUNE 01, 2022 AT 01:00 PM IN REMOTE HEARING VIA ADVANCED COMMUN.
               Entry:
                      TECH.


   21-MAY-2022              NOTICE GIVEN-DISCOVERY                                                21-MAY-2022
https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                                     29/30
6/16/22, 3:14 PM      Case 2:22-cv-02389-JHS Document 1-1
                                                        Civil Filed  06/17/22 Page 410 of 415
                                                              Docket Report

   12:26 AM              HEARING                                                           12:26 AM
              Docket
                      none.
               Entry:


   08-JUN-2022              STIPULATION FILED                                HARRIS, MART    08-JUN-2022
   07:17 AM                                                                                  01:35 PM
      Documents: 4AC Stip Signed.pdf
                             4AC to FILE.pdf

              Docket STIPULATION TO FILE FOURTH AMENDED COMPLAINT FILED. (FILED ON
               Entry: BEHALF OF APRIL PLOEGER)


   08-JUN-2022              ORDER ENTERED/236                                KENNEDY, SEAN   08-JUN-2022
   01:32 PM                 NOTICE GIVEN                                     F               01:32 PM
      Documents: ORDER_155.pdf

                      07-22050807 IT IS HEREBY ORDERED THAT THE MOTION FOR SANCTIONS
                      FILE DBY DEFENDANT, THE TRUSTEES OF THE UNIVERSITY OF
                      PENNSYLVANIA IS GRANTED. IT IS FURTHER ORDERED THAT: PLAINTIFF'S
              Docket
                      SHALL PROVIDE TO DEFENDANT'S INTERROGATORIES AND REQUEST FOR
               Entry:
                      PRODUCTION OF DOCUMENTS WITHIN 20 DAYS OF THE DOCKETING OF
                      THIS ORDER AND APPEAR FOR DEPOSITION WITHIN 40 DAYS BY
                      ZOOM...................BY THE COURT: KENNEDY, J. 06/02/2022


   08-JUN-2022              NOTICE GIVEN UNDER RULE                                          09-JUN-2022
   01:33 PM                 236                                                              10:07 AM
              Docket NOTICE GIVEN ON 09-JUN-2022 OF ORDER ENTERED/236 NOTICE GIVEN
               Entry: ENTERED ON 08-JUN-2022.


   12-JUN-2022              SETTLEMENT CONF                                  SHREEVES-       12-JUN-2022
   08:07 AM                 COMPLETED                                        JOHNS, K        08:07 AM
              Docket
                      none.
               Entry:




                                                           E-Filing System     Search Home




https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                                30/30
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                      EXHIBIT 11
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 TUCKER LAW GROUP, LLC
 Joe H. Tucker, Jr., Esquire (#56617)         ATTORNEYS FOR DEFENDANT,
 Leslie Miller Greenspan, Esquire (#91639)    THE TRUSTEES OF THE UNIVERSITY
 Dimitrios Mavroudis, Esquire (#93773)        OF PENNSYLVANIA
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 1801 Market Street, Suite 2500
 Philadelphia, PA 19103
 (215) 875-0609
 jtucker@tlgattorneys.com
 lgreenspan@tlgattorneys.com
 dmavroudis@tlgattorneys.com

 April Ploeger,                              :
                                             :   PHILADELPHIA COUNTY
                                Plaintiff,   :   COURT OF COMMON PLEAS
                                             :
       v.                                    :   MARCH TERM 2020
                                             :
 Trustees of the University of Pennsylvania, :   No: 2766
 et al                                       :
                                             :
                                 Defendants. :

                   NOTICE OF FILING OF NOTICE OF REMOVAL



To the Prothonotary:

      Pursuant to 28 U.S.C. § 1446(d), notice is hereby given that on June 17, 2022,

Defendant, The Trustees of the University of Pennsylvania, filed the attached Notice of

Removal in the United States District Court for the Eastern District of Pennsylvania to

remove the above-captioned action from this Court, where it is currently pending,
      Case 2:22-cv-02389-JHS Document 1-1 Filed 06/17/22 Page 413 of 415




to Federal Court in the Eastern District of Pennsylvania, under Civil Action Number ____.



                                         Respectfully submitted,

                                         TUCKER LAW GROUP, LLC

Date: June __, 2022                      /s/ Leslie Miller Greenspan
                                         Joe H. Tucker, Jr., Esquire
                                         Leslie Miller Greenspan, Esquire
                                         Dimitrios Mavroudis, Esquire
                                         Ten Penn Center
                                         1801 Market Street, Suite 2500
                                         Philadelphia, PA 19103
                                         (215) 875-0609

                                         Attorneys for Defendant,
                                         The Trustees of the University of Pennsylvania
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                           CERTIFICATE OF COMPLIANCE


      I certify that this filing complies with the provisions of the Public Access Policy of

the Unified Judicial System of Pennsylvania, Case Records of the Appellate and Trial

Courts that require filing confidential information and documents differently than non-

confidential information and documents.



                                                TUCKER LAW GROUP, LLC



 Dated: June __, 2022                           /s/ Leslie Miller Greenspan
                                                Leslie Miller Greenspan, Esquire
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                                CERTIFICATE OF SERVICE

       I, Leslie M. Greenspan, Esquire, hereby certify that on June __, 2022, a copy of

the foregoing was filed electronically. Notice of this filing will be sent to all parties by

operation of the Court’s electronic filing system. Parties may access this filing through

the Court’s system.



                                                  TUCKER LAW GROUP, LLC



 Dated: June __, 2022                             /s/ Leslie Miller Greenspan
                                                  Leslie Miller Greenspan, Esquire
